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EXHIBIT C

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Page 1

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JOHN DOE,
Plaintiff,
vS.
ST. JOSEPH'S UNIVERSITY
and

JANE ROE, :
Defendants. : NO. 18-2044

FRIDAY, JULY 6, 2018

CONFIDENTIAL

Videotaped deposition of WILLIAM
BORDAK, taken at the law offices of
Schwabenland and Ryan, PC, 955 Old Eagle
School Road, Suite 306, Wayne, Pennsylvania,
commencing at 10:11 a.m., before Kimberly A.
Wornczyk, a Registered Professional Reporter,
New Jersey Certified Court Reporter
(Certificate No. 30X100223500), and Notary
Public in and for the Commonwealth of
Pennsylvania.

VERITEXT LEGAL SOLUTIONS
MID-ATLANTIC REGION
1801 Market Street - Suite 1800
Philadelphia, Pennsylvania 19103

 

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§ APPEARANCES: l INDEX
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3 BY: EDWARD J. SCHWABENLAND, ESQUIRE
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eschwab@sandrlaw.com 6
6 Representing the Plaintiff, John Doe
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Represeming me Plaimi“.’ John Doe 1 1 NUMBER DESCRIP'I`ION PAGE
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13 MINTZER sAROwsz zERIs LEDVA & misconduct (ISMP/SMP),
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23 Joseph‘s University
24 24
Page 3 Page 5
1 ALSO PRESENT: 1 DEPOSITION SUPPORT INDEX
2 Marianne Schirnelfenig, Esquire 2 _ _ _
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2 (Pages 2 - 5)

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(It is agreed by and among 1 deposition. My name is Rick
counsel for the respective parties 2 Kanzinger, Jr. and I am with J.C.
that the sealing, filing, and 3 Video Productions. This deposition is
certification are hereby waived, and 4 being taken on Friday, July 6, 2018.
that all objections, except as to the 5 The time is 101 13 a.m. We're located
form of the question, be reserved 6 at 955 Old Eagle School Road, Suite
until the time of trial.) 7 306, in Wayne, Pennsylvania. Today's

- - - 8 case is John Doe versus St. Joseph's

MR. PICCERILLI: Counsel for 9 University and Jane Roe, Case Number
plaintiff and I, as counsel for St. 10 18-2004, filed in the United States
Joe's University, and counsel for Jane 11 District Court for the Eastern
Roe stipulate that all objections, 12 District of Pennsylvania. Present for
except as to the form of the question, 13 the taking of this videotape
are reserved until the time of trial 14 deposition are the witness, William
and, also, we don't waive 15 Bordak. All counsel will be denoted
certification and the Witness reserves 16 on the stenographic record. The court
the right to read and sign. Now, on 17 reporter is Kimberly Wornczyk of
objections, you want to go off the 18 ‘Veritext Legal Solutions. Will the
video record even for form of the 19 court reporter please swear in the
question or how do you want to do 20 witness.
this? 21 _ _ _

MR. SCHWABENLAND: Well, if 22 WILLIAM BORDAK, having been
you're going to object to the form and 23 duly sworn, was examined and testified
it's a simple statement, "I object to 24 under oath as follows:

Page 7 Page 9
the form," you don't have to go off. 1 _ _ _
If you want to -- 2 EXAMINATION

MR. PICCERILLI: If it is going 3 _ _ _
to be more extended, We'll go off and 4 BY MR. SCHWABENLAND:
we'll just be on the transcript. 5 Q. Could you state your full name

MR. SCHWABENLAND: If` you Want 6 for the record?
to put reasons, then we'll go off 7 A. Sure. William Steven Bordak.
camera. Just say, "Let's go off 8 Q. Mr. Bordak, my name is Ed

camera." Before we begin, we should 9
reemphasize again, as we've done in 10
all these depositions, that all 11
counsel have agreed to maintain the 12
confidentiality of these depositions 1 13
and this deposition and the court has ' 14
approved an order maintaining 15
confidentiality That applies not 16
only to the testimony but to any 17
exhibits and the contents of those 18
exhibits that will be used. So we 19
just have to have each deposition 20
reflect that. That's it. Do you want 21
to say anything else? 22

THE VIDEOGRAPHER: On the 23
record. The following is a videotape 24

Schwabenland. We met not too long ago, but we
are meeting again today. I will be asking you 1
questions. Have you ever given a deposition
before?

A. No.

Q. Okay. Let me just give you a
couple of guidelines if we could. If I ask
you a question that doesn't make sense in some
way, let me know and I'll try to rephrase it.
Fair enough?

A. Fair.

Q. I only want you to answer the
question if you feel you understood it and if
you answer the question I will assume that
you're answering truthfully, to the best of
your ability. Is that acceptable?

3 (Pages 6 - 9)

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Page 10 Page 12
A. Yes. 1 Q. And did you go to -- did you go
Q. I'll also ask you to do the 2 on for other schooling or work or both?
very thing you've been doing, waiting for me l 3 A. Both.
to either get done making a statement or 4 Q. Okay. And so what was the next
asking a question and then you respond _ 5 thing you did after Siena?
verbally. So if one person talks at a time it 6 A. I went to graduate school.
makes this young lady's life a lot easier. 7 Q. And graduate school where?
Okay? 8 A. F airfield University.
A. Understood. 9 Q. And what years were you at
Q. Finally, this is a deposition, 10 Fairfield?
so if you need to take a break, stretch your 11 A. 2003 to 2005.
legs for whatever reason, then feel free to 12 Q. And what did you -- 1 take it
exercise those options. Don't feel you have 13 you pursued a master's degree?
to sit there the whole time. Okay? We'll 14 A. Correct.
take breaks as We go along here. Do you have l 15 Q. And master's in what?
any questions before I begin asking you? 16 A. Industrial organizational
A. May 1 have a glass of water 17 psychology.
before we begin? 18 Q. I'm sorry. Say that again.
Q. Sure. 19 A. Industrial organizational
MR. SCHWABENLAND: Let's go off 20 psychology.
camera for a second. 21 Q. Okay. And just basically, What
THE VIDEOGRAPHER: Off the 22 is that?
record, 10:16. 23 A. It's organizational psychology.
_ _ _ 24 Q. Pertaining to businesses?
Page 11 Page 13
(Off the record) 1 A. Businesses, nonprofits,
_ _ _ 2 education.
THE VIDEOGRAPHER: Back on the 3 Q. Okay. And did you also work
record, 10:16. 4 there at school?
BY MR. SCHWABENLAND: 5 A. Yes.
Q. Okay. Let me ask you some 6 Q. And in what capacity?
questions about your background, if 1 could. 7 A. I was a graduate assistant in
What is your present age? 8 the student activities office.
A. Thirty-six. 9 Q. And what were your duties as a
Q. Okay. And where did you 10 graduate assistant?
originally grow up? 11 A. I advised student groups,
A. Connecticut. 12 mostly programming groups, advised the student
Q. And did you go to high school 13 senate, worked with orientation, varied sort
in Connecticut? 14 of activities-related things, evening
A. Yes. 15 programs, late night programs, weekend
Q. Where did you do your 16 programming
undergrad? 17 Q. Did you do anything with
A. Siena College. 18 handling of discipline cases involving
Q. Where is that located? 19 students?
A. Loudonville, New York. 20 A. No.
Q. And what year did you graduate? 21 Q. Did you do anything -- 1 think
A. 2003. 22 l know the answer. Did you do anything with
Q. And What was your major? 23 regard to taking courses or anything on Title
A. Psychology. 24 IX issues?

4 (Pages 10 - 13)

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1 A. No. 1 of conduct that arise within the residents'
2 Q. After Fairfield where did you 2 area involving the students that lived in that
3 go? 3 area.
4 A. I went back to Siena College 4 Q. Now, you indicated that -- it
5 and worked professionally. 5 said violation of student code of conduct that
6 Q. And how long were you working 6 arises in the resident area?
7 at Siena College? 7 A. Right. 1 was responsible for
8 A. For three years. 8 the students in that area and so the
9 Q. And in what capacity? 9 violations of policy that took place or
10 A. 1 worked in the office of 10 involved the students in that area.
11 residence life and the office of campus 11 Q. Okay. But if the violation
12 programs. 12 took place in another part of campus or just
13 Q. And what was the last one? 13 off campus, would you still be involved in
14 A. Office of campus programs. 14 those cases if the resident lived in that
15 Q. And what year Were you there? 15 area?
16 A. 2005 to 2008. 16 A. It would be up to the dean of
17 Q. Did you have a title? 17 students to assign the case, but, generally
18 A. 1 was a residence director. 1 18 speaking, yes.
19 was in two different positions during that 19 Q. Okay. Now, the types of cases
20 three years. 1 was a residence director and 20 you Were involved with, are you able to tell
21 an assistant director of campus programs. 21 me -- some are more serious than others -- are
22 Q. Now, when you were residence 22 you able to tell me what type of cases you
23 director 1 take it that was through the office 23 were involved with?
24 of resident life? 24 MR. PICCERILLI: Objection to
Page 15 Page 17
1 A. Yes. 1 form.
2 Q. And when you became assistant 2 THE WITNESS: So I was a
3 director of campus programs that was through 3 residence director and so -- there was
4 campus programming, 1 imagine? 4 a residence director in the dean of
5 A. Correct. 5 students office and so the dean of
6 Q. So how long were you a 6 students office handled the more
7 residence director, then, if you can 7 serious cases, those that could impact
8 approximate for me? 8 the student's status at the
9 A. Two and a half of those three 9 institution. So, generally, it was
10 years. 10 lower level, although not truly low
11 Q. Okay. What Were your roles and 11 level. They were more serious cases,
12 duties as a residence director, then? 12 alcohol or drug cases, noise
13 A. 1 was the master's level 13 violations, community impact, major
14 professional staff member in charge of a 14 personal confiicts, those things.
15 residential community, so a residence hall or 15 BY MR. SCHWABENLAND:
16 area in which residential on-campus students 16 Q. If the cases involved or might
17 lived. 17 cause a student to either be expelled or
18 Q. As part of your duties did that 18 suspended, would that be considered, like, a
19 entail handling or being involved with 19 more serious case?
20 disciplinary matters? 20 A. lt would.
21 A. Yes. 21 Q. And you would not have handled
22 Q. What type of disciplinary 22 them then?
23 matters were you involved with? 23 A. Not at that time, no.
24 A. Violations of the student code 24 Q. And did you handle any assault

5 (Pages 14 - 17)

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cases when you were there that you can recall?
A. Not that 1 can recall.
Q. And did you handle any sexual
assault cases?
A. No.
Q. When you say handle -- well,
I'm sorry. 1've been saying handling them.
I'm not sure if that's the correct
terminology What role would you play in
these types of-- in the cases that you did --
you were involved with there?
A. 1 Was the hearing officer and
so 1 met with the students and determined an
outcome of a violation.
Q. Okay. And 1 take it sometimes
you could work out an agreement and at other
times a hearing would have to be had and then
you'd have to make your own determination?
MR. PICCERILLI: Object to
form. '
THE WITNESS: They were all
hearings. There was no agreements
beforehand.

Page 19
BY MR. SCHWABENLAND:

Q. And would you also be the
person, as a hearing officer, to impose the --
1 call them sanctions. Would you also make
that decision too in that role?

A. Yes.

Q. Would you have -- would your
decision have been reviewed by anybody above
you, then?

A. My recollection is reviewed by
the dean of students office for process
appropriateness, but not for outcome.

Q. Okay. Now, after -- 1 take it,
then, towards the latter part of your stay at
Siena College you changed from being a
residence director to associate director of
campus program? Did1 say that correct?

A. Assistant director.

Q. Assistant director. I'm sorry.

So what did that role entail?

A. That was -- so my third year --
so the first semester of my third year 1 was
in a split position, where 1 was both a
residence director and assistant director of

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Page 20
campus programs. The institution at that time
had a combined position. Those positions
resplit and 1 stayed With the campus programs.
That was very similar to my graduate work, in
providing programming opportunities on campus,
advising student clubs, advising the senior
class counsel.

Q. Okay. And so could you explain
that in a little bit more detail? What do you
advise them on?

A. The planning of events, working
with student groups that maybe want to plan an
evening program of-- we had a series called
Late Night Sarazen, which was our student
union -- and so working with the students to
develop ideas and contracting and budgeting
and marketing of the events.

Q. Okay. 1n that role, 1 take it
you were not working or you were not involved
with the disciplining of any students?

A. Correct. 1 was not.

Q. Were you involved in any
educational programs involving violations of
student conduct?

Page 21

A. Can you repeat or rephrase?

Q. Sure. 1f a student violates --
1'm sorry. There is a code of student conduct
for the students, right?

A. Yes.

Q. And if a student violates that,
as you say, when you were residence director
you would be involved sometimes as the hearing
officer, right?

A. Yes.

Q. Now, when you became the
assistant director of campus program, you
weren't involved anymore in the disciplining
of students should they be charged with
breaking the student code?

A. Correct.

Q. But were you involved in any
way in educating groups throughout the campus
about issues concerning either sexual assault,
assaults, or violating student code?

A. 1 can't recall with any
specificity.

Q. Okay. Did you pursue any other
schooling while you were there?

6 (Pages 18 - 21)

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Page 22 Page 24

A. While 1 was at Siena? 1 A. Associate director.

Q. Yes. 2 Q. And how long were you associate

A. No. 3 director?

Q. And so when you left Siena 4 A. Approximately a year.
College in 2008, where did you go? 5 Q. Okay. And that was changed,

A. St. Joseph's. 6 What, to director?

Q. And you joined them in what 7 A. 1 served in an interim director
capacity? 8 capacity for about five months.

A. Coordinator of community 9 Q. Okay.
standards. 10 A. And then a director.

Q. I'm sorry? 11 Q. And when did you assume the

A. Coordinator of community 12 interim directorship‘?
standards. 13 A. 1 believe it's about five years

Q. Okay. We'll get into what 14 ago.
community standards is or What the purpose of ' 15 Q. So at least by 2013 you would
it is, but it's my understanding since joining 16 have been acting in a capacity of either an
them -- what, in 2008? 17 interim director and then later on as

A. Right. 18 director, right?

Q. -- you have been with St. Joe's 19 A. 1 believe so. 1 believe that
University up to the present, right? 20 2013 is correct.

A. Correct. 21 Q. Okay. And, again, 1 am not

Q. And you have been associated 22 going to hold you to the exact date.
with the office of community standards since 23 A. Thank you.
joining St. Joe's University? 24 Q. Tell me, if you could, let's --

Page 23 Page 25

A. Yes. 1 1 want to get to your duties as a director,

Q. But your title has changed 2 but 1 would like to work up to that. Tell me
along With, 1 take it, your responsibilities? 3 what your duties Were as coordinator and then

A. Yes. 4 we'll go through each one, if they changed

Q. Now, how long -- if 1 can, how 5 much. So coordinator, when you first joined
long were you a coordinator of community 6 them?
standards? 7 A. It's what the title would

A. 1 can't recall specifically. 1 8 suggest. 1 coordinated the operations of the
think a year, but -- 9 office. lt was much more administrative It

Q. Okay. 10 was kind of report, reviewing case

A. -- 1 don't know the specific 11 assignments, working with the hearing officers
time. 12 across campus for procedural issues. 1 Was a

Q. 1 am not going to hold you to 13 hearing officer, 1 did meet with students, but
an exact date. So that's an approximation? 14 the primary function was coordination

A. Approximation of a year. 15 Q. When you assumed the role of

Q. And so then What title did you 16 assistant director, how did your duties
assume then? 17 change?

A. Assistant director. 18 A. To my recollection, my duties

Q. And how long did you stay 19 did not change. The change from coordinator
assistant director, if you know? 20 to assistant director Was that-- human

A. Approximately, again, three 21 resource's decision -- the title changed,
years. 22 They were phasing out the title of coordinator

Q. And then your title was changed 23 across campus. So my job responsibilities
to what? 24 didn't change with that title change.

7 (Pages 22 - 25)

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Page 26 Page 28

Q. So your title was simply l the form.
changed from coordinator to assistant 2 THE WITNESS: Every case is
director? 3 handled differently. You're saying

A. Correct. 4 the same way --

Q. How about associate director, 5 BY MR. SCHWABENLAND:
did your responsibilities change at all? 6 Q. 1 am talking about

A. They did. In that capacity,l 7 procedurally.
was seen more and utilized more as a hearing 8 A. Okay.
officer and less in the administrative 9 Q. Let me articulate this, if 1
capacity. 10 could, If a student is charged with violation

Q. Okay. And once assuming the 11 of-- a specific action, he's notified of
role of interim director and then director, 12 that; is that correct?
how did your roles change? 13 A. Can you repeat that?

A. 1 then was director of the 14 MR. PICCERILLI: Let's go off
office, with oversight over the process as _ 15 the record,
well as the mission and vision of the office _ 16 THE VIDEOGRAPHER: Off the
on campus. ` 17 video record, 10:34.

Q. And as we talk here, the office 18 MR. PICCERILLI: 1 think When
of community standards, sometimes it might 19 you first started your line of
be easier if 1 refer to OCS. Would that be 20 questioning you were asking him about
acceptable to you? 21 when he started at St. Joe's‘?

A. Yes. 22 MR. SCHWABENLAND: Yes.

Q. Well, you mentioned that the -- 23 MR. PICCERILLI: But now it
oh, we'll come back to that in a second. 1 24 seems that you're focusing when a

Page 27 n Page 29
forgot to ask you this: When you Were at n 1 student is as opposed to when a l
Siena as a residence director and you were 2 student Was at that time.
handling discipline cases as a hearing 3 MR. SCHWABENLAND: 1 will
officer, Were all matters, including sexual 4 rephrase it.
violations, handled the same Way at Siena; in 5 MR. PICCERILLI: 1 just Wanted
other words, or was there a separate track in 6 to clarify with you --
existence at Siena then for the handling of 7 MR. SCHWABENLAND: 1 will
sexual misconduct cases? 8 rephrase it.
MR. PICCERILLI: Objection to 9 THE VIDEOGRAPHER: We are back

form. 10 on the record, 10:35.
BY MR. SCHWABENLAND: 11 BY MR. SCHWABENLAND:

Q. If you want me to repeat it, 1 12 Q. We had a discussion off the
will. 13 record, so let me try to rephrase the

A. 1 don't know the answer. 14 question, just so it's clear. 1 am trying to

Q. Okay. 15 determine, when you first joined St. Joe's

A. 1 don't recall the procedural 16 Were all matters of student violations handled
model that was used at Siena at that time. 17 procedurally through the OCS?

Q. Okay. When you first joined 18 A. Yes.
St. Joe's University working at OCS, Were all 19 Q. And was there a separate track
matters involving any type of student -- 20 for sexual misconduct allegations or charges?
violation of a student code, including sexual 21 A. No.
violations, perhaps, Were they all handled the 22 Q. And so at some point during
same way? 23 your stay at St. Joe's or your employment at

24

MR. PICCERILLI: Objection to

St. Joe's, 1 take it that St. Joe'S instituted
8 (Pages 26 - 29)

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a separate sexual misconduct policy from the
other types of charges that could be handled
by community standards; am 1 correct there?

A. I'm not sure 1 understand the
phrasing of it. 1 want to be sure.

Q. Let me rephrase. In the
student handbook, the student handbook has
down statements about, if there are charges
brought against a student the handbook tells
you that they would be advised of the charges
against them; is that correct?

A. Yes.

Q. And once you're advised of the
charges against you, the student normally -- 1
am talking about then, before you had a sexual
misconduct policy -- the student would then be
afforded a hearing before either a hearing
officer or a panel of three, something like
that?

MR. PICCERILLI: Objection to
form.

THE WITNESS: You're talking
about when 1 first started at St.

Joseph's?

Page 31
BY MR. SCHWABENLAND:

Q. Yes.

A. Yes.

Q. Okay. And that would be
afforded to all students of any type of
violation, whether sexual or nonsexual?

A. At that time, yes.

Q. Okay. And so at some point it
changed, right?

A. Yes.

Q. And it changed while you
were -- well, you tell me when it changed.

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When was the sexual misconduct policy formed‘? 13

A. The interim sexual misconduct
policy took effect in January of 2015.

Q. Okay. And then, as 1
understand it, it was revised in 2017
sometime?

A. 1 can't recall the date.

Q. Okay. When it became
effective -- let me start over again without
stuttering. When it became effective you Were
in the role of a director of OCS?

A. Correct.

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Page 32
Q. And were you on any committee
to make a decision about formulating the
sexual misconduct policy?
A. No.
Q. Did you have any input in the
formulation of any sexual misconduct policy?
A. Not formally. My supervisor
was on the committee and she would share with
me kind of some of the conversations, but 1
did not have a formal line to the committee
It was not part of any decision making.

Q. Who was your supervisor?

A. Kiersten White.

Q. And Ms. White is still there,
right?

A. Dr. White, yes.

Q. Dr. White. And Dr. White is

in -- is she with OCS or another?

A. She is not technically within
the community standards office. 1 report to
her. She is an assistant vice president.

Q. And she oversees what besides
OCS?

A. The technology operations

Page 33
within the division, student health, student
outreach and support, counseling center. 1
may be missing something

Q. And in 2015 she was the person
you reported to; is that correct?

A. Correct.

Q. And she has still been the
person you report to up to the present?

A. Yes.

MR. PICCERILLI: Let him ask
the full question, please.
THE WITNESS: 1 apologize.
BY MR. SCHWABENLAND:

Q. Mr. Anderson was here not too
long ago for a deposition. What does he do in
relation to What you do? That's a bad
question.

A. Yeah.

Q. Do you do any reporting to
Anderson?

A. My supervisor reports to Dr.
Anderson.

Q. Dr. Anderson.

A. 1 report to Dr. White who

9 (Pages 30 - 33)

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reports to Dr. Anderson. So there's a layer
in between.

Q. And so is he responsible in his
capacity for the operations of OCS?

A. That's a difficult question to
answer. He's responsible for all of student
life as the vice president of student life. 1
am responsible for the administrative
operation of community standards,

Q. And Kiersten White again Would
be responsible for what?

A. Responsible for ensuring that
my responsibility in the office of community
standards has been met.

Q. Okay. But in terms of primary
responsibility, that would lie with -- I'm
sorry. Primary responsibility for the
operation of OCS, that would lie with you, as i
the director? 1

A. Correct.

MR. PICCERILLI: Objection to
form.
BY MR. SCHWABENLAND:
Q. Now, you said that your role as

Page 35
director7 if 1 understand correctly -- and I'm
paraphrasing What 1 think you just said -- to
ensure that the mission and the vision of OCS
is properly performed?

A. Right.

Q. Okay. Tell us now, what does
OCS do and What is its mission and vision
within the university complex? 1f that's a
complex question, 1 will be glad to boil it
down to one. 1 just want to know, what does
OCS do?

A. Right. So we are -- we are
very intentional with our name, as the office 1
of community standards, and not student l
conduct or policy enforcement, because we do a
lot more than that. The way we frame it to
students is that there are standards for our
community that are agreed upon, that are
important in sustaining our community. So at
its core the office of community standards
sustains the community by enforcing the
standards for that community.

Q. And do those standards apply
only to the standards of students, student

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Page 36
conduct, or does it apply to faculty, staff,
and anybody within the university?

A. My office is only responsible
for student conduct.

Q. Okay. What office would be
responsible for any misconduct or alleged
misconduct on the part of staff or faculty?

A. 1 can't answer that.

Q. And the community standards for
students would be, again, within --
articulated in the code of conduct in the
handbook; is that correct?

A. Yes.

Q. And it would also be, as of
2015 , articulated in the sexual misconduct
policy?

A. Correct.

Q. Would community standards
include anything else other than the two
things 1 just indicated?

A. Well, community standards
includes a lot of policies, one of which is
the sexual misconduct policy. So it would

include various other policies.

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Q. And can you identify them for
me?

A. 1 can't exhaustively.

Q. Well, 1 am not asking for
exhaustive Tell me what you can recall now
as you sit here,

A. Violation of the alcohol
policy, violation of drug policy. Those are
the only two that 1 right now with confidence
can give you the policy names without
reference.

Q. Those policies are articulated,
as 1 understand it, in the student handbook,
right?

A. Yes.

Q. Are there any additional
policies that are not articulated in the
student handbook that you can recall that
Would apply?

A. Not that 1 can recall.

Q. Okay. Is there a manual at OCS
for the handling of misconduct charges?

A. What do you mean? Can 1 ask
what you mean by a manual?

10 (Pages 34 - 37)

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Page 38 Page 40
Q. Sure. There are different 1 provides the mechanics of our system, what to
people that come in and out of OCS. Is there 2 click and where to save things and so purely
a manual there that instructs as to how 3 from an operational standpoint it provides
charges should be handled, what are the 4 those guidelines for hearing officers.
procedural steps to dealing with this? 5 Q. And is there a name given to
MR. PICCERILLI: Objection to 6 this -- 1 will either call it a manual or a
form. 7 pamphlet, whatever we've been talking about
THE WITNESS: The procedural 8 here?
steps are outlined in the handbook. 9 A. We ca11 it a manual.
The handbook is our process. So that 10 Q. Manual?
outlines the process. We do have a 11 A. Hearing officer manual.
manual that speaks more theoretically 12 Q. Does that manual also apply to
about how to engage in conversations 13 now that -- let me start over again. Now that

With students and we use that as a
training document and that is a
document heavily modeled off of the
association of student conduct
administration's model manual.
BY MR. SCHWABENLAND:
Q. Okay. And could you say that
again?
A. Association of student conduct
administration
Q. And is that an outside source?

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1s the association of student conduct
administration part of the university or is
that an outside source?
A. That is a professional --
outside source. 1t's a professional
association, nationwide association,
Q. You mentioned training in the
sense of how to, what, approach students or
what?
A. How to engage in the
conversation when meeting with students.
Q. And so this would be Within
your office?
A. Correct.
Q. And is it a big book? 1t's not
a multi-volume book or anything like that, 1
take it?
A. No. 1t's about -- and 1 would
be guessing -- a 20- to 30-page Word document.
Q. Other than recalling that it
refers to instructing a person from OCS on how
to engage with the student, can you recall any
other instructions that it provides?
A. The appendix of that document

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the university has a sexual misconduct policy
where -- and it's my understanding that the
16 sexual misconduct policy does not assign a
17 hearing officer to a student's case; am 1

18 correct?

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19 MR. PICCERILLI: Objection to
20 form.
21 THE WITNESS: We assign an
22 investigator, which is the hearing,
23 and so they are a hearing officer
24 investigator. So same concept, we
Page 41
1 assign an investigator.
2 BY MR. SCHWABENLAND:
3 Q. 1 understand that, So you are
4 saying that the investigator conducts his or
5 her own hearing?
6 A. The investigator conducts the
7 investigation, Which is the hearing.
8 Q. Okay. What is your definition

9 of a hearing? 1 guess 1 need to know that,
10 MR. PICCERILLI: Objection to
11 the form.

12 THE WITNESS: Where an

13 opportunity for a student to respond,
14 to understand -- to respond to the

15 situation and we do that in an

16 administrative hearing, a board

17 hearing, and an investigative hearing.
18 BY MR. SCHWABENLAND:

19 Q. Let me just pursue that a

20 little bit more, if 1 could,

21 A. Sure.

22 Q. 1 am talking about a nonsexual
23 thing, such as assault. An assault can be

24 nonsexual; is that correct?

11 (Pages 38 - 41)

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A. Correct. 1 exclusively. If we saw an incident as

Q. So if it is nonsexual it 2 more serious, because of the nature of
doesn't fall within the sexual misconduct 3 that we might schedule a prehearing
policy, right? 4 meeting as well.

A. Right. 5 BY MR. SCHWABENLAND:

Q. And if an assault took place on l 6 Q. 1f it's a drinking charge for
campus where one student is accusing another 7 beer or maybe smoking marijuana, that would
student of, 1 will say, beating him up, that 8 not be in the serious category, 1 take it?

happens on occasions, right?

A. Yes.

Q. The student being charged, 1
will call him the -- he would be called the
respondent; is that correct?

A. Yes.

Q. And the student making the
claim against the respondent would be the
complainant, right?

A. Yes.

Q. And Would both receive notice
of the charge of assault against the
respondent?

A. Yes.

Q. And would that identify --
would that -- 1 will call it a charge letter.

 

Page 43
Would that --

A. Charge notice, charge letter.

Q. A charge notice would be issued
from OCS, right?

A. Yes.

Q. And the student would be
told -- I'm sorry. Would be that charge
notice, since this deals with an assault,
advise of some type of prehearing meeting?

A. 1t Would depend. That's not an
automatic. 1n the handbook we say that for
more serious cases a prehearing meeting shall
be scheduled and so if we saw it as a more
serious incident we would schedule a
prehearing meeting.

Q. And the more serious incident
Would be things -- charges or violations that
would subject to -- a respondent, if found to
be responsible, subject that respondent to
either suspension, termination, or, you know,
suspension or termination?

MR. PICCERILLI: Objection to
form.
THE WITNESS: Yes. Not

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That by itself would not place it in the
serious category?
MR. PICCERILLI: Objection to
form.
THE WITNESS: 1f a student had

a concerning disciplinary history, it

may.
BY MR. SCHWABENLAND:

Q. I'm sorry?

A. If a student had a concerning
disciplinary history, it may. 1f we are
talking about the first alcohol violation or
are we talking about the sixth alcohol
violation? The sixth, we might treat that as
more serious of an isolation, though, in the
context of a disciplinary history maybe.

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Q. Well, let's assume it's the
first or the second in that type of context.
Normally, you Wouldn't schedule a prehearing
meeting with him?

A. Right.

Q. So let's talk, if it's a
serious thing would a prehearing meeting be
scheduled?

A. Yes.

Q. What would be the purpose of a
prehearing meeting?

A. To discuss the process and so
that the student understood fully the process
before entering that hearing.

Q. Okay. And the process -- is
there a form that the student -- that is
reviewed with the student in discussing the
process and you ask the student to sign off on
a checklist?

A. Yes.

Q. And there's also a checklist
used for -- in a context of an alleged
violation of sexual misconduct policy; is that
correct?

12 (Pages 42 - 45)

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A. Yes. 1 for both nonsexual as well as sexual matters?
Q. Is the checklist in a nonsexual 2 A. Yes.
but serious offense similar to the type of 3 Q. So -- and 1 forgot to ask you
checklist that is used in a sexual misconduct 4 this. Today -- 1 am jumping forward here. 1
policy? 5 will try to keep it clear. 1n 2018, 1
MR. PICCERILLI: Objection to 6 understand that you were the director -- I'm
form. 7 sorry -- for the school year 2017 into 2018,
THE WITNESS: It is similar in 8 which just ended in May of this year?
the purpose, but the language is 9 A. Right.
different, because the sexual 10 Q. You're the director of OCS,
misconduct policy form for the 11 right?
pre-investigation meetings pulls 12 A. Yes.
language from the sexual misconduct 13 Q. 1t's my understanding that
policy. 14 Emily Forte was with OCS but she just
BY MR. SCHWABENLAND: 15 transferred over to someplace else.
Q. And they talk about an 16 A. Yes.
investigator in that policy? 17 Q. So did she remain with OCS up
A. Right. 18 until the end of the school year?
Q. But does the form -- again, in 19 A. No.
a nonsexual context of a fairly serious 20 Q. Did she switch over to another
offense like an assault, would that talk about 21 job assignment or office sometime in April of
the scheduling of a hearing before a hearing 22 2018?
officer? l 23 A. 1 don't recall the date, but
A. Yes. It would talk about the 24 April sounds right.
Page 47 Page 49
process for that alleged conduct. 1 Q. So sometime during this last
Q. And would you, in addition to 2 semester she switched over?
advising that student -- and, again, I'm just 3 A. Yes.
in the context of a nonsexual serious offense 4 Q. And what does she do now?
and dealing with the process -- in addition to 5 A. She's the assistant director of
advising the student of the specific charge 6 student success.
against him or her, what that student can do 7 Q. I'm sorry. Student --
to prepare for the hearing? 8 A. Student success.
MR. PICCERILLI: Object to the 9 Q. And who heads up that office?
form. 10 A. Daniel McDevitt is the director
THE WITNESS: 1 can't recall ll of student success.
With specificity everything that's on 12 Q. And how long has that office
that checklist. 13 been around?
BY MR. SCHWABENLAND: 14 A. 1 can't answer that,
Q. When was the last time you 15 Q. Has it been around for several
presented a checklist to a student? 16 years or just formulated?
MR. PICCERILLI: Objection to 17 A. Several years.
form. 18 Q. What is the role of office of
THE WITNESS: 1 can't recall. 19 student success?
BY MR. SCHWABENLAND: 20 A. 1 can't tell you exhaustively.
Q. Would it have been this year? 21 Q. 1 don't want that,
A. Yes. 22 A. 1 can tell you as 1 interact
Q. And would it have been this 23 with them what they're -- because 1 can't
year that you would have presented a checklist

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pretend to know all that they do. But they do
13 (Pages 46 - 49)

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what exactly their office purports to do and
it's work with students on their success, So
if a student is not doing well in the
classroom and maybe it's flagged by a faculty
member, they may facilitate a follow-up with
that student, If the student is not adjusting
well, if a student did poorly their first
semester, they have a program to sort of
rebound into the second semester. So it's
truly about the student's success inside and
outside the classroom.

Q. And does that office of student
success, if you know, does that interact with
the office of student disabilities? 1 am not
sure 1 am saying that office correctly.

MR. PICCERILLI: Objection to
form.

THE WITNESS: lthink it's
student disability services. 1 don't
know, 1 can't answer how they
interact.

BY MR. SCHWABENLAND:

Q. Okay. Your office, OCS, you

sometimes interact with the office of student

 

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disabilities; is that correct?
MR. PICCERILLI: Object to the
form.
THE WITNESS: Yes.
BY MR. SCHWABENLAND:
Q. And would that be primarily to
see what accommodations might be necessary for
a student with a disability?
A. I'm never in a position to
determine what accommodation might be needed
or necessary or appropriate. lf a student is
registered with the office and they go to the
office, we are notified by the office that
these accommodations are being offered or put
in place. I'm not in a position to do that,
Q.
Mr. Doe's case --
MR. SCHWABENLAND: And, by the
way, 1 have to do one thing off the
record, if 1 may.
THE VIDEOGRAPHER: Off the
record, 10:57.
MR. SCHWABENLAND: 1 need this
on the steno. 1 didn't want to ask

I'm jumping ahead. 1n

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you this on the camera here, We've
said this with the other witnesses
too. 1n order to protect the names of
the plaintiff here and the individual
defendant, the plaintiff is John Doe
we'll be referring to and the
individual defendant is Jane Roe.
When 1 say those names you know who 1
am referring to; is that correct?
THE WITNESS: Yes.
MR. SCHWABENLAND: So that's
acceptable, that you won't feel
confused as to who these two people
are, then?
THE WITNESS: That's
acceptable,
MR. SCHWABENLAND: Thank you.
Go back on the camera here.
THE VIDEOGRAPHER: Back on the
record, 10:58.
BY MR. SCHWABENLAND:
Q. 1n this present case, John Doe,
did you learn at some point that he was
registered with the office of student

Page 53
disabilities?

A. 1 don't know that 1 learned
that he was registered. 1 can't recall the
specifics.

Q. Okay. And that's all 1 am
asking you. Do you have any knowledge that he
was registered with the office of student
disabilities?

MR. PICCERILLI: Objection to
form.
THE WITNESS: At some point

after the outcome 1 engaged in a

conversation with our director of

student disability services about an
accommodation request to review

documents. So in that sense 1 did

learn that he was engaged with the

disabilities office,
BY MR. SCHWABENLAND:

Q. Okay.

A. 1 don't know whether
technically 1 Would say 1 knew that he was
registered or not registered. 1 knew that he
was engaged at that point with the office,

14 (Pages 50 - 53)

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Q. Who is the director of that 1 BY MR. SCHWABENLAND:
office? 2 Q. And, if 1 can, 1 just want to
A. Christine Mecke. 3 complete that thought. 1 take it the policy
Q. I'm sorry. What's her first 4 is that the student can only review documents
name? 5 at that point, right?
A. Christine. 6 MR. PICCERILLI: Objection to
Q. Just so it's clear, your 7 form.
conversation with her would have been after 8 THE WITNESS: 1n that meeting,
the investigation, the findings, and the 9 yes.
outcome meeting that -- you were present at 10 BY MR. SCHWABENLAND:
the outcome meeting, right? ' ll Q. Okay. And 1 could accompany
A. I was. ' 12 Mr. Doe as an adviser, but 1 was not permitted
Q. And 1 take it you did not do 13 to review the documents as an adviser, right?
the investigation on this claim involving John 14 A. Correct.
Doe, right? 15 Q. Although we could take breaks
A. Right. 16 and 1 could walk out with him and talk outside
Q. And that was done by 17 the room; is that correct?
Ms. Malloy, an outside counsel? 18 A. Yes.
A. Correct. 19 Q. And in order for you to
Q. So sometime after the outcome 20 maintain the integrity of those documents,
meeting the student was afforded an 21 that's why you had to sit in that room; is
opportunity to what, to review documents? 22 that right?
A. Right. 23 A. Yes.
Q. Okay. 24 Q. But the accommodation that you
Page 55 Page 57
A. Right. 1 afforded him was that he could have Whatever
Q. And he asked -- if 1 understand 2 time he needed to review these documents and
correctly, he asked for some type of 3 if he needed to come back again he would
accommodation and that's when you would 4 certainly be permitted to come back?
have -- in the reviewing of those documents 5 A. Yes.
and that's when you had a conversation with 6 Q. So that's -- just before that
the director of student disability? 7 meeting, 1 take it, that would be around the
A. Right. Right. 8 same time that you, what, spoke with the

Q. And what accommodation did you
provide him with?

A. Extended time. And so when he
came in to review the documents, I cleared my
calendar for the day and made sure that there
was no rush and that there Was an extended
time to review.

Q. And 1 was there with him. 1s
that when 1 first met you?

A. Yes.

Q. And 1 was acting in the
position of what the university would term
adviser to John Doe; is that correct?

MR. PICCERILLI: Objection to
form.
THE WITNESS: Yes.

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director of student disability just to confirm
that some accommodation would be necessary?

A. Right.

Q. Did the director of student
disability indicate that he had been afforded
accommodations academically?

MR. PICCERILLI: Objection to
form.

THE WITNESS: No, that was not
pertinent to What we needed to

discuss, which was accommodations for

the record inspection.

BY MR. SCHWABENLAND:

Q. So even with that discussion,
you didn't learn that he had signed up or
registered with that -- With the office of

15 (Pages 54 - 57)

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student disability -- 1 objection to the form of the question,
MR. PICCERILLI: Objection to 2 THE VIDEOGRAPHER: We're back
form. 3 on the record, l 1:15.
BY MR. SCHWABENLAND: 4 BY MR. SCHWABENLAND:
Q. -- for accommodations early on? 5 Q. We are back on the record.
MR. PICCERILLI: Objection to 6 A. 1 wasn't sure.
form. 7 Q. We read the question 1 just
THE WITNESS: No. 8 posed before We broke. So go ahead.
BY MR. SCHWABENLAND: 9 A. Yes.
Q. Okay. Do you know What 10 Q. And what are they told?
disability or learning difference Mr. Doe Was 11 A. 1 don't know the exact language
claiming to the office of student disability? 12 without referencing the document.
A. 1 don't from the office of 13 Q. What would you tell them?
student disability. 1 know that he put it in 14 A. 1 don't go off of the checklist
some of the appeal communications to the 15 script and so we actually go through the
office, but 1 don't recall what those were. 16 language that's in the checklist. We read the

That was not any formal notice from disability 17
office of any -- nor would we. We Would just 18

be told that this student is afforded this 19
accommodation for this purpose, but not the 20
disability that resulted in that 21
accommodation 22
Q. 1 arn jumping around here, Has 23
OCS in the last five years, 1'11 say, given 24
Page 59

students accommodations who have learning 1
disabilities? 2
MR. PICCERILLI: Objection to 3

the form. 4
THE WITNESS: 1 can't recall a 5

time, but 1 don't want to say that we 6
haven't. 7

BY MR. SCHWABENLAND: 8

Q. Okay. 1f a student is advised, 9

say, at a pre-investigation meeting, whether 10
it be a sexual misconduct charge or a 11
nonsexual misconduct charge but serious in 12
nature to have a pre-investigation meeting, is 13
the student advised on that checklist that 14
accommodations can be given? 15
(Cell phone ringing) 16

MR. PICCERILLI: Excuse me, 17

THE VIDEOGRAPHER: Off the 18
record, 11:05. 19
- - - 20
(Whereupon, the court reporter 21
read back from the record.) 22
- - - 23

MR. PICCERILLI: Just note my 24

language that's in the checklist with the
student, So 1 don't editorialize on that
checklist.
Q. And 1 take it if the student
has any questions of you then you would answer
those questions?
A. Yes.
Q. Okay. So in the checklist, for

Page 61
the accommodation, does that tell the student
what he or she has to do to get that
accommodation?

A. Yes.

Q. And so what -- if they want it,
what do they do?

A. They need to contact or they
should contact the director of student
disability services.

Q. And then, what, student
disability services gets in touch with OCS?

A. Right.

Q. Okay. So if the student said
to you or somebody conducting the
pre-investigation that, "Oh, yeah, 1 need some
accommodation, 1 need some help," you
wouldn't -- by you, I'm sorry -- OCS wouldn't
take it upon themselves to get in touch with
the director -- get in touch with the office
of student disability, right?

A. Right.

Q. Okay. And in that vein has, if
you know, has any student ever asked for an
accommodation of OCS to allow assistance from

16 (Pages 58 - 61)

 

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someone in taking notes, note taking? 1 THE WITNESS: Right. But this
A. Not that 1 can recall. 2 is hypothetical. We Would have to at
Q. Okay. 3 that instance see whether that
A. Outside of this instance where 4 accommodation was appropriate for our
the request was for a note taker. 5 process, it was appropriate to be
Q. And did John Doe ask for a note 6 offered. Like, institutionally we
taker? 7 would have to make the decision on
A. For the review of the documents 8 whether that was a reasonable
after the outcome 9 accommodation in our process, that
Q. Okay. And was that provided to 10 didn't substantively change our
him? 1 1 process.
A. 1t was not. 12 BY MR. SCHWABENLAND:
Q. And do you know why -- and did 13 Q. So the first decision to see,
you make the decision on that? 14 then, again, if one was made -- let me speak
A. 1 did not. 15 English. 1f a request for a note taker was
Q. Who made the decision on that? 16 made, the first decision would be to determine
A. The director of disability 17 if that is reasonable or necessary in light of
services. 18 the student's, 1 will call it a disability or
Q. And what did she say as to her 19 a learning difference, right?
reason why this was not afforded him? 20 MR. PICCERILLI: Objection.
A. She did not. She just said, 21 Objection to form.
"Here are the accommodations that are 22 BY MR. SCHWABENLAND:
afforded" -- 23 Q. Right?
Q. So -- 24 A. Right. Yes.
Page 63 Page 65
A. -- and wouldn't answer or 1 Q. But then there'S a Second
articulate reasons why others were not. 2 aspect that would have to be decided.
Q. Okay. So what do you recall 3 Assuming that the director at student
her saying were the accommodations? 4 disabilities would say yes -- he -- 1 Will use
A. Extended time 5 the term he, generically -- he should be
Q. But if she had said yes, an 6 entitled -- he Should be afforded the
adviser could take notes for him, would that 7 opportunity to have a note taker with him,
have been an accommodation then you would have 8 then you have to -- then OCS would have to
provided? By you I mean OCS. 9 decide, well, are you at liberty, because of
MR. PICCERILLI: Object to the 10 your protocol that were set up, to allow this
form. 11 to happen?
THE WITNESS: 1 don't see why 12 A. Right. 1 think at that point
we would not, as long as it was 13 we would engage in conversation with our
something that was from the 14 general counsel to see the application of that
disabilities office 15 accommodation within our process, so as not to
BY MR. SCHWABENLAND: 16 change our process substantively.
Q. But then the adviser in that 17 Q. So 1 take it from our
role or -- I'm using the term adviser as a 18 discussion that you don't recall as you sit
person who accompanies -- who would accompany 19 here ever having to make that decision Whether
him to take notes, would be the person, then, 20 or not to afford -- to permit a note taker to
to review the documents with the student; is 21 be involved With a student?
that correct? 22 A. Right. Yes.
MR. PICCERILLI: Objection to 23 Q. Okay. We Were at the point of
form. 24 the example of a nonsexual but serious

17 (Pages 62 - 65)

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offense

MR. PICCERILLI: Can we we go
off the video record and off the
record?

THE VIDEOGRAPHER: Off the
record, 11:21.

(Off the record)

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THE VIDEOGRAPHER: Back on thel 10

record, 11:25.

BY MR. SCHWABENLAND:

Q. Again, we are in a setting -- 1
will get back to that setting. 1 forgot to
ask you something. Since coming to St. Joe's
University, I know your work schedule, but
have you gone on to any additional educational
pursuits?

A. Yes.

Q. Okay. And when did you do that
and what area have you pursued?

A. So understanding your question
of what you mean by educational pursuits.

Q. Yes. In other words, you have

 

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gone from having a master's? Are you pursuing
any other certification, doctorate, anything
like that?

A. Yes. Yes, lam currently in
the educational leadership doctoral program
and 1 started that in the fall of 2016.

Q. And how long a course -- well,
I'm sorry. How long is that program?

A. 1t's three years straight of
coursework and then additional time after
that, that can range

Q. And where are you taking that,
at the university?

A. At St. Joseph's University.

Q. And is that a continuous three
years, if you know?

A. Yes.

Q. Okay. And you said after the
three years what happens?

A. 1t's not a prescribed time
After that three years of coursework there is
dissertation preparation and defense, which
can take a range of time

Q. You haven't started your

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dissertation yet, have you?

A. No.

Q. Do you have any idea what
subject you are going to pursue?

A. Not concretely.

Q. Okay. What is -- tell me, how
would you describe this educational leadership
doctoral program?

A. 1t's a blend -- it's
interdisciplinarian. So there are classmates
of mine working in higher education,
classmates working in nonprofit, and
classmates working in K/12 education systems.
So it's not exclusively higher education, And
it's administrative 1t's leadership. There
is classes on financing and budgeting and
planning

Q. Regardless of What department
you're in or where you Work?

A. Right.

Q. Okay. Does the program have
anything to do with the disciplining of

students or the handling of discipline cases?

A. There is a course on law and

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policy.

Q. On what?

A. Law and policy, with at least
one class Within that course on student
discipline on a theoretical level.

Q. And have you taken that course?

A. Yes.

Q. And does that course include

applications of Title IX?

A. Yes.

Q. So it Would include the
handling or the -- the handling of sexual
misconduct claims?

A. 1t was a really high-level
review of federal statutes and so it was more
about what Title IX is and what Title IX
requires of institutions, but not specifics of
disciplinary grievance procedures.

Q. So when you say high level, who
presented it? Do you know?
The faculty.
I'm sorry?

The professor of the course
But who is the professor?

18 (Pages 66 - 69)

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A. Dr. Anderson, Cary Anderson. 1 Q. Good. Okay. And so you're

Q. Dr. Anderson? 2 pursuing your doctorate Have you gotten any

A. Yes. l 3 additional certifications since your master's?

Q. So he presented issues on Title 4 A. Testing my memory here
IX, then? 5 There's a couple that 1 do. 1 don't know if

A. Yes. 6 I'd call them certifications in a traditional

Q. And then you said it was 7 sense 1t's not that it comes with any
presented as to this is what Title IX is? 8 licensure But 1 did work with the

A. Along with other -- 9 Anti-Defamation League for facilitating

Q. Statutes? 10 diversity dialogues on campus and that was a

A. -- statutes and constitutional 11 full, 1 think, two weeks of training for that.
rights afforded. 1t was a very high-level 12 More recently, 1 received a certificate in the
review of federal statutes in one course 13 application of restorative justice on Catholic

Q. 1 am not sure what you mean by 14 colleges and universities, focusing on
high level. Can you explain? 15 community and community impact.

A. Not in depth, right. 1t was -- 16 Q. Focusing on what?

Q. An overview? ` 17 A. Community and community

A. An overview of statutes. 18 impacts.

Q. And at the time that this was 19 Q. The Anti-Defamation League, for
done, 1 take it, at least at the university, 20 your participation you received a thank you
the sexual misconduct policy was in place; is 21 and a certificate of --
that correct? 22 A. Yes.

A. Yes. 23 Q. -- participation, 1 would

Q. Did Dr. Anderson do any 24 imagine?

Page 71 Page 73
discussions or presentation on the sexual 1 A. Yes.
misconduct policy at the university? 2 Q. And was it a one-time

A. No. 3 presentation?

Q. And that particular course was 4 A. lt was a week-long, almost
how long? 5 train-the-trainer program.

A. Six weeks. 6 Q. Okay.

Q. In the process of that being 7 A. There was a group of us that
presented, do you recall -- I'm sorry. Let me 8 were trained to facilitate these dialogues on
go back. For that course were you given any 9 our campus.
pamphlets concerning the curriculum? 10 Q. And so have you gone on to use

A. We received a course syllabus 1 1 that at all, that training?
and two texts that went along with the course 12 A. 1 did. This was years ago and

Q. So would you still have that, 13 at that time, in the years following the
in terms of What was presented at that 14 training 1 did.
particular course? 15 Q. The Anti-Defamation League --

A. 1t didn't go into specifics of 16 I'm sorry -- would be any type of defamation,
what was presented at that course It was 17 because of sex, religion, color, things like
what day what content would be presented, was 18 that?
the syllabus. 19 A. 1t was more about understanding

Q. Okay. Were you handed out any 20 our own identities and identities of others
papers concerning applicable laws? 21 and creating a welcoming community, but not

A. Not that 1 can recall. 22 specific on prohibited or protected

Q. Okay. Did you get an A? 23 categories.

A. 1 did. Q. And 1 am not sure what you mean

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19 (Pages 70 - 73)

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1 by application of restorative justice What 1 Q. What is that?
2 is that? 2 A. Association of Student Conduct
3 A. Sure. That is a principle of 3 Administrators. 1 have gone to conferences
4 understanding -- and even outside. It wasn't 4 and sessions and took advantage of those
5 a specifically community standards training. 5 professional development opportunities that
6 There were folks from across student 6 were afforded to me
7 affairs -- 7 Q. Okay?
8 Q. Okay. 8 A. And truly relying on my
9 A. -- outside of the university. 9 colleagues to help me understand as it
10 And it's more about understanding what makes 10 pertains to community standards, including
11 up a community, and when something happens ` 11 general counsel.
12 that disrupts the community the importance of 12 Q. Okay. And so your colleagues
13 having the community be a part of that 13 would be whom?
14 response and understanding the harm and what 14 A. Dr. Anderson and Dr. White, Dr.
15 the follow-up would be. 15 Perry, Mary-Elaine Perry, who is our Title IX
16 Q. Did any of that have to deal 16 coordinator.
17 with sexual misconduct offenses within a 17 Q. Now, she is leaving, I'm told.
18 community? 18 1s that your understanding?
19 A. A small portion of it, yes. 19 A. 1 don't know the specifics.
20 Q. Any other types of 20 Q. Okay. But right now she's
21 certifications that you may have received? 21 there?
22 And, again, 1 know you said, "1'm not sure" -- 22 A. She is.
23 A. No. 1 am not sure And 1 23 Q. Okay. And she's the Title 1X
24 would note that the restorative justice 5 24 coordinator?
Page 75 Page 77
1 happened this summer, so it was after the 1 A. Yes.
2 matter in question 2 Q. 1 know you said -- we spoke
3 Q. Okay. Let me ask you this: ' 3 about one of the courses in your doctoral
4 Did you ever receive any type of, 1 will call 4 program you had On the law and that involved
5 it certification or licensing or anything in 5 some aspect of Title IX; is that correct?
6 counseling? 6 A. Yes.
7 A. No. 7 Q. But 1 take it you've taken
8 Q. Do you hold -- do you consider 8 other conferences or attended other
9 yourself to be a Title IX authority or 9 conferences where the issue concerning Title
10 coordinator? 10 IX or the handling of sexual misconduct has
11 A. 1 am not a coordinator. ll been an issue discussed?
12 Q. Okay. 12 MR. PICCERILLI: Objection to
13 A. 1 am well-versed in Title IX as 13 form.
14 it pertains to my job. 1 wouldn't call myself 14 THE WITNESS: Yes.
15 an authority. 15 BY MR. SCHWABENLAND:
16 Q. Okay. And you say you are 16 Q. And Would you be able to tell
17 well-versed. How did you become well-versed? 17 me -- I'm sorry. Would you have a list -- let
18 A. Through experience through 18 me start over again, Do you have a resumé?
19 working in the office for over ten years, 19 A. Yes.
20 taking advantage of my professional 20 Q. And would this resumé talk
21 development, ASCAs, resources, and 1 have gone 21 about not only your educational background and
22 to conferences 22 work history but it would also talk about the
23 Q. I'm sorry. AS -- 23 courses that you have attended at least over
24 A. ASCA. 24 the last ten years or so?

20 (Pages 74 - 77)
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A. No. l 1 1've sat through those, conversations with

Q. Do you have a list of what 2 colleagues that 1 would consider training,
courses you have attended over the last ten ` 3 when we are discussing policy and practice
years or five years? 4 implementation, best practices.

A. No. 5 Q. And that conversation, the

Q. If you wanted to find out what 6 colleagues you identified were Dr. Anderson,
courses you took involving Title IX, would you 7 Dr. White, Dr. Perry, counsel for the
be able to find out? 8 university?

A. No. 9 A. Counsel.

Q. Are you able to tell me how 10 Q. Anybody else who would be
many courses you took involving Title IX? 11 included in that?

A. You're using the word courses. 12 A. Not that 1 can name now.

1 would use the word sessions at a conference 13 Q. And what do you mean by best

Q. Okay. 14 practices'? What does that mean?

A. And so it's much -- in higher 15 A. What other institutions might
education it's in that vein, right, and so 1 16 be doing. You know, if you look at, even
go to a conference and there is breakouts and 17 outside of Title IX, if there is something
this one happens to be on Title IX or this one 18 that other institutions or many institutions
happens to be on getting students to attend 19 are doing or interpreting things a certain
programs, right. 1 mean, it's a breakout. So 20 way, 1 guess, generally speaking that's best
1 don't know over the course of over a decade 21 practice. That's kind of a loaded term, but
what sessions 1've gone to about What, That's 22 it's used in every industry of what's the best
not something that's cataloged in my resumé. 23 practice, what are folks doing out there that

Q. So what you're talking about 24 are facing the same challenges.

Page 79 Page 81
is, you would attend a day conference or maybe l Q. Okay. Have you yourself
a two-day conference? 2 written any articles or memos about procedural

A. Yes. 3 best practices?

Q. And you would see what sessions 4 A. No.
are being offered and then you pick and choose 5 MR. PICCERILLI: Let me just
Which ones you would like to go to, right? 6 object to the form. 1 am not so sure

A. Yes. 7 what areas you were referring to.

Q. Would you have a list someplace 8 MR. SCHWABENLAND: Okay.
at least of what conferences you have 9 BY MR. SCHWABENLAND:
attended, say, each year? 10 Q. Have you yourself done any

A. 1 don't have a list. 11 studies on what practices have been at other

Q. 1s there any requirement with 12 teaching institutions of higher learning?
regard to your position or your job that you 13 MR. PICCERILLI: Objection to
have to attend so many continuing education 14 form.
courses or conferences? 15 THE WITNESS: With regards to?

A. No. 16 BY MR. SCHWABENLAND:

Q. So 1 guess my question to you 17 Q. Well, with regard to either the
is: What training have you received in Title 18 handling of-- well, 1 will do it one at a
IX over the years? 19 time. With regards to sexual misconduct

A. There's been these conference 20 charges.
sessions, attending pretty frequent webinars 21 A. Can you repeat what the
through our association, that association of 22 question was?
student conduct administrators, those 23 Q. Sure. I Wish 1 could, but 1'll

try. Have you yourself done any research

webinars, the Clery Center hosts webinars, so

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21 (Pages 78 - 81)

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1 yourself on what the practices at any other 1 then you had to become involved as to how you
2 institution of higher learning involving 2 are to apply this in your department at OCS?
3 sexual misconduct charges? 3 A. Yes.
4 A. No. 4 Q. And how did that go about? Who
5 Q. How about involving Title 1X 5 taught you and what was taught?
6 violations? 6 A. 1 can't recall the specifics.
7 A. Not that 1 can recall. 7 Q. Can you recall anything?
8 Q. Okay. How about involving any 8 A. No. We're talking over three
9 type of student misconduct, whether sexual or 9 years ago for policy implementation, 1 don't
10 nonsexual? 10 remember the specific meetings regarding the
11 A. Yes, but 1 would explain what 1 11 implementation
12 mean by my understanding of your use of the 12 Q. Do you recall any meetings
13 word "research." This is not institutional 13 concerning going from a hearing officer to now
14 review board research. This might be an email 14 a single investigator model?
15 out to colleagues regionally to see what are 15 MR. PICCERILLI: Objection to
16 folks doing about hoverboards and should they 16 form.
17 been in the residence halls, right. 1 : 17 THE WITNESS: 1 don't recall
18 consider that to be research into what is best l 18 specific meetings. 1 don't recall
19 practice, but it's not research in a 19 specific meetings, but that's not to
20 traditional sense of research. But nothing in 20 say that they did not take place.
21 the Title IX or -- on sexual misconduct, but 21 BY MR. SCHWABENLAND:
22 certainly within the application of codes on 22 Q. Take away the meeting, do you
23 campuses. 23 recall discussions with anyone else?
24 Q. The sexual misconduct policy 24 A. Yes. 1 mean, there had to have
Page 83 n Page 85 n
1 that came into existence at St. Joseph's, 1 i 1 been discussions about putting this into
2 had started to ask you questions concerning 2 practice. This wasn't where it was a document
3 that, Were you yourself, as the director then . 3 on my desk that it was now 1 needed to move
4 of OCS, were you involved in any of the 4 forward. There were discussions
5 wording within that policy or the formulation : 5 Q. Prior to the implementation of
6 of any wording, such as you review drafts and 6 that -- when it became effective, the sexual
7 make recommendations, anything like that? 7 misconduct policy, Were you acquainted with
8 A. No. 8 the single investigator model?
9 Q. When did you first learn of the 9 A. Yes.
10 policy, when it became effective, 1 mean, when 10 Q. And how did you become
11 it was finalized and saying, "This is what we 11 acquainted with that?
12 are going to do. 1t's going to be effective"? 12 A. That was gaining popularity, if
13 MR. PICCERILLI: Object to the ' 13 you will, within the sort of best practices
14 form. l 14 and so attending at conferences or seeing on
15 THE WITNESS: 1 don't recall 15 various listserves that institutions were
16 exactly, but it would not have been ' 16 moving towards or thinking about an
17 the day that it became effective. l 17 investigative model.
18 There was notification I was 18 Q. And in becoming acquainted with
19 involved prior to effective in terms l 19 these issues of Title IX were you acquainted
20 of operationalizing the policy into 20 with Dear Colleague letters?
21 our practice, 21 A. Yes.
22 BY MR. SCHWABENLAND: 22 Q. And that would be from the
23 Q. So once the wording of the 23 Office of Civil Rights; is that correct?
24 policy was finalized but not made effective 24 A. Right.

22 (Pages 82 - 85)

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Q. And were you aware of the Q&As 1 BY MR. SCHWABENLAND:
put out by the Office of Civil Rights with 2 Q. I'm just asking what you know,
those Dear Colleague letters? 3 A. What 1 know is that 1 didn't
A. I'm aware of it. 4 have any reason to suspect that we were -- to
Q. And is this something that you 5 make any changes based on the 2017 Q and A's
would routinely review over the years? 6 or documents Our Title IX coordinator, our
A. 1 am having trouble with your 7 general counsel, and my supervisor, 1 trust,
wording, routinely. 8 were more engaging in those conversations 1
Q. Okay. Well, it's not issued 9 was not a part of.
every year, right? Do you know when the last 10 Q. So you didn't participate in
one was issued, the Dear Colleague letter and ll any such conversations?
the question and answer? - 12 A. Not formal conversations, no.
A. There was an issuance in 2017, 13 Q. Or how about informal?
1 do know that, 14 A. We are -- we care about our
Q. And did you review that 15 work and so when something comes out we are
material? 16 going to talk about it. So 1 don't want to
A. 1 did. 17 minimize a two-minute conversation about,
Q. And did you review it -- did 18 "Hey, this new document, did you see it" kind

you talk with anybody at the university about 19 of thing. But there were no substantive,

the recommendations of that Dear Colleague 20 "Let's talk about what We should be doing or
letter? 21 aren't doing." Like 1 said, 1 have no reason

A. 1 can't recall specific 22 to think that we are not-- that changes
meetings, but I imagine 1 did talk with my 23 should have been made and that we weren't in
supervisor about it or Title 1X coordinator 24 compliance with what we should have been.

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about it. 1 Q. 1 will tell you, the sexual

Q. Your supervisor would have been 2 misconduct policy, a copy that 1 have -- and 1
Dr. White? 3 can show it to you later on -- but the -- that

A. Yes. 4 is -- it became effective as of 2015, 1 think

Q. And your Title 1X coordinator 5 June -- 1 think June -- and then it was
would have been Dr. Perry? 6 revised in 2017. ls that your understanding

A. Dr. Perry. 7 or you don't --

Q. Do you know if any studies were 8 A. Yes. l
made -- I'm sorry. Do you know if anybody at 9 Q. Okay. Do you know what the l
the university assumed responsibility to 10 revisions were in 2017?
review the recommendations made by that Dear 11 A. 1 can't give you an exhaustive

Colleague letter and the questions and answers 12 account. One thing that 1 do know was an
in 2017 and compare it to what was going on at 13 intention within the policy was to provide for
the university then? 14 more gender-inclusive language. So 1 know
MR. PICCERILLI: Can 1 hear 15 that there was review of many of our policies
that question back, please? 16 at that time to make sure they were inclusive
- - - 17 for gender.
(Whereupon, the court reporter 18 Q. What do you mean by gender -- 1
read back from the record.) 19 think 1 know what you mean, but since 1 am
- - - 20 asking you the question, what do you mean by
THE WITNESS: 1 don't want to 21 gender inclusive?
speak to what others were responsible 22 A. Really removing the binary

for.

24

23 "he/she" and changing it to "theirs" to be
24 welcoming to our students that don't identify

23 (Pages 86 - 89)

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on a binary of male/female ; 1 A. It is part of their job

Q. Okay. So anything else that 2 responsibilities 1t is all of the
you can recall about the revision? 3 professional staff members who work in the

A. 1 can't recall any other 4 office of residence life and the staff members
specifics 5 in community standards So this isn't where

Q. But what sticks in your mind is 6 we put a notice out -- it's not that we put an
that you wanted to make it more gender 7 open invitation for somebody to volunteer to
inclusive? 8 be it. 1t's part of their responsibilities to

A. Right, and that sticks in my
mind because we were doing that with other
policies and that was taking place at other :
institutions, sort of taking a look at all the
policies We did the same thing within our
community standards process in the handbooks,
so that's why 1 remember that piece.

Q. Let's go back to the example
1 am jumping back now. The example of
nonsexual charges against a student of a
serious nature that would Warrant a
pre-investigative meeting -- I'm sorry -- a
prehearing meeting, what would be the next
step that that student would be told --

MR. SCHWABENLAND: Objection.

Page 91 d
BY MR. SCHWABENLAND:

Q. -- after the prehearing
meeting?

A. At the prehearing meeting?

Q. Yes.

A. They would be -- through that
prehearing meeting they would be told about
the process and what to expect and that they

are scheduled for an administrative or board
hearing.

Q. Okay.

A. That will be the next piece.

Q. Now, the person who does the
checkoff list, can that person still be -- can

that person also be the hearing officer?
A. Yes.
Q. And so how is the hearing
officer selected, then?

A. 1t's assigned by the community
standards office,

Q. Okay. Do you have a list of
qualified people?

A. We do.

Q. And what makes them qualified?

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serve as an administrative hearing officer.

Q. Do they need any special
certification to act as the hearing officer or
is this internal training?

A. 1nternal training.

Q. So is there a course -- I'm
sorry. Is there training courses or meetings
set up that someone who is willing to be a
hearing officer must complete before he or she
can be a hearing officer?

A. Yes.

Q. And would that be in that
manual? I'm sorry. The manual we talked
about was instructions on how to engage
students, right?

A. Correct.

Page 93

Q. Would there be a training
manual for hearing officers?

A. 1t's essentially the same
manuals So we'll pull out pieces of that
manual over the course of the training
workshops and over the course of the year.
1t's not a one-time training

Q. Have you yourself conducted the
training courses?

A. Yes.

Q. And who else conducts the
training courses?

A. Well, the assistant director in
the office of community standards, so this
past year Emily was a part of those trainings
for the hearing officers; the director of
residence life; we invite the Title IX
coordinator to come in and share perspective
on Title 1X. But, again, these folks aren't
hearing anything sexual misconduct. 1t's more
for their professional understanding of Title
1X. We might invite other campus partners to
come in our counseling center to talk about,
you know, kind of considerations through a

24 (Pages 90 - 93)

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hearing. l A. Yes.

Q. Okay. But before the sexual 2 Q. Would the student also know
misconduct policy became effective in 2015 3 that in the event that he or She does not Want
hearing officers would also hear sexual 4 to appear you can write something out and hand
misconduct charges? 5 it in and ask that it be considered?

A. Those hearing officers would 6 A. Yes.
not, because we did not-- we are talking 7 Q. Sometimes the complainant
again about some of them being what l was when 8 doesn't want to show up, so the complainant
I was at Siena College hearing lower-level 9 would ask to submit a statement; is that
community cases So those folks who were 10 correct?
assigned sexual misconduct cases before the 11 A. Yes.
investigation model were very well trained 12 Q. And the same Would be true for
within community standards, maybe the director 13 the respondent, right?
of residence life, so not everyone, because we 14 A. Right.
saw that as the needing of additional 15 Q. And would the student, whether
training, 16 a complainant or a respondent, be entitled to

Q. Let's get back to this 17 see any physical evidence, such as pictures or
nonsexual serious offense after the checklist 18 any statements prior to the hearing?
is done. By that time the student would know 19 A. They would be able to see what
what he or she is charged with, right? 20 we had at that time.

A. Could you repeat that? 21 Q. So if you had a statement from

Q. Sure. By that time, after he 22 the other side, if you had pictures, if you

got the notice letter, had the
pre-investigative -- I'm sorry -- prehearing

Page 95
meeting where a checklist is reviewed, by that
time the student would know what he or she is
charged with, right?

A. They would know the policies
implicated, right.

Q. Would they know the offenses
that they are charged with? 1 am talking
about the nonsexual offenses

A. Yeah, they would know the
policies implicated, which is the offense. So
they would know they are charged with
violating the drug policy.

Q. And if it is an assault they
would be charged with an assault, right?

A. That's not what We ca11 it.

Q. What do you ca11 it?

A. There is an expectation, ca11
it abusing, threatening, or endangering
others, is what we ca11 it. So we are not
charging with assault. Assault is a legal
definition.

Q. Would the student also know
that he or she can bring witnesses to the
hearing?

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had an incident report, either student could

avail themselves -- either could avail himself

Page 97
or herself of reviewing that in order to
prepare for the hearing?

MR. P1CCER1LL1: Objection to
form.
THE WITNESS: They could.
BY MR. SCHWABENLAND:

Q. Okay. Do they usually do that?

A. 1 don't want to say usually or
not usually. Some did. Some didn't.

Q. Okay. But, nevertheless they
had that opportunity in order to prepare for
their presentation at the hearing?

A. Yes, if they wished.

Q. Let's stick with the procedure
now. At the hearing each person can bring,
what, one adviser?

A. Right.

Q. Can the adviser take notes at
that hearing?

A. Yes.

Q. Would the adviser be able to
see the physical evidence or is that something
only the party can see?

A. Only the students can see that,

25 (Pages 94 - 97)

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The advisers cannot. l be, you know, a conflict between two students

Q. Okay. You used the term 2 that was loud and they Were swearing at each '
hearing officer, Is it always only one 3 other in the lobby and institutionally we are
hearing officer or sometimes can it be, like, 4 saying that it's not in the students' -- it is
a panel of three or something? 5 in the students' interest that we resolve this

A. We have two boards that can be 6 without formal charges and so we would resolve
utilized. 7 that alternatively that way, But if it's a --

Q. And who would be on these 8 Q. 1f it's a serious nonsexual
boards? | 9 offense --

A. We have one board for a lower 10 A. Yes. We are not going to
level, low- to mid-level incidents That's a 11 have an alternative --
peer review board and it's all students 1t's 12 MR. PICCERILLI: Let him finish
a pretty competitive, high selection interview 13 the question,
process for them. Then we have what's called 14 MR. SCHWABENLAND: 1 was
a community standards board. 1t's students, 15 finished.
faculty, and staff. The students on that 16 THE WITNESS: Does that make
board are drawn from the peer review board and 17 sense?
the faculty and staff are -- they are 18 BY MR. SCHWABENLAND:
voluntary. They are choosing to be on that 19 Q. It does
board. 20 A. It's not an option for the

Q. Okay. Before getting to the 21 students to choose, "I want this to be
hearing is there an opportunity for the 22 resolved alternatively."
students if they want to have something 23 Q. So, depending on the
alternative to actually going to a hearing, if 24 seriousness of the offense, whether it's a

Page 99 Page 101
they can work out an alternative -- 1'11 1 first time or repeated, there is a number of
phrase it as -- 1 don't know if you have 2 factors for, 1 will say, OCS or the hearing
anything like this -- an alternative 3 officer -- I'm sorry -- OCS to decide if this
resolution of a dispute? 4 would qualify for some type of alternative
MR. PICCERILLI: Objection to 5 handling?
form. 6 A. Right.
THE WITNESS: That's not a 7 Q. 1 take it at the hearing
choice of the students We have 8 usually both the complainant and the

alternative resolutions where we

institutionally are choosing to

resolve it without formal charges

But a student can't come in and say "1

want to do this this way." Once we

proceed with a hearing, the hearing

will take place.

BY MR. SCHWABENLAND:

Q. So is that decision -- is that
possibility of alternative resolution really
only available up until the time that a formal
notice of charge goes out?

A. Right. 1t's not even an
opportunity to students It is one of the
assignment options for the office of community
standards So an alternative resolution could

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respondent shows up, the complainant and the
respondent shows up?
MR. PICCERILLI: Objection to

form.
BY MR. SCHWABENLAND:

Q. Again, I'm in the nonsexual
offenses of a serious nature.

A. That's not the case and, in
fact, that's rarely the case.

Q. That's rarely the case?

A. Where they are both in the same
room.

Q. Could you conduct a hearing
with one in one room and one in the other and
go back and forth?

A. We could, We also are not

26 (Pages 98 - 101)

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confined by it taking place at the same time.
The hearing officer might meet with the
complainant on Tuesday and the respondent on
Thursday and we'll consider that a
continuation of the hearing.

Q. And when you pick a hearing
officer -- by you 1 mean your office -- 1 know
you said you have a list of people, is there
any guidelines that you follow to first -- I'm
sorry. Let me start over again without
stuttering. ls there any guidelines that you
follow to make sure that a prospective hearing
officer doesn't really know one party as
opposed to another party, you know, not to
have any bias or anything?

A. We don't out of process, like,
review every student and every hearing officer
for every case. We couldn't do that. We rely
on the student to -- the student's notified
who that hearing officer is going to be in
their notice and if the student had an issue
with that hearing officer then they can voice
that to community standards and we would

review that concern. When it's more serious

Page 103
right, there is the obvious -- 1 mean, we
expect our hearing officers and we actually go
through in our training of, don't go down that
path by scheduling the hearing with a student
if you do have that connection with one. And
so we talk about what the appearance of--

Q. Impropriety?

A. -- impropriety could be, even
if there was absolutely no impropriety,
appearance of such. And so if a hearing
officer was advising a student group and the
student was a president of the student group,
that's not a situation currently, but we would
just not have that hearing officer hear that
case.

Q. Okay. So, if 1 understand
correctly, you advise each student who the
hearing officer is and you want to hear from
them if they have any objection, right?

A. Right.

Q. And what do they do, have, like
have 24 hours to object?

A. 1 don't know specifically what
we say in the handbook. But we have had

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Page 104
students who have, you know, contacted the
office of community standards and said, "1
prefer not to meet with this person."

Q. Said what?

A. Said, "1 prefer not meet with
this person." 1t rarely comes up. And we
rely on our professional staff, and they are
solid professionals to say "1'd rather not
meet with this person based on the connection
that 1 have With him or her."

Q. And then you honor that?

A. And we honor that,

Q. And if somebody on that list
would indicate that he or she might feel
uncomfortable in dealing with one of those
students or the situation, then you would
honor that also?

A. We would.

Q. Have you in the last five
years has -- and, again, nonsexual serious
offenses in the last five years have you
had any -- have you had students object to the
hearing officer that's been assigned, that you
can recall as you sit here?

Page 105

A. Not that 1 can recall as 1 sit
here,

Q. So any objection, assuming that
it took place in the last five years would
have been a rare occasion, as far as you can
remember?

A. Yes.

Q. Then after the finding is made
on these nonsexual serious cases, have you had
students appeal, claiming that the hearing
officer Was biased in some way?

A. Yes.

Q. And how often does that occur?

A. Frequently with an appeal
students frame it as a bias when it's really a
disagreement with the decision and they have
not articulated a true bias But that is a
place where we find students say, "1 am not
happy with this outcome. There was bias by
this person, this person, this process." So
we do see that in appeals

Q. Have you ever had occasion in
the last five years that you can recall where
on appeal a claim of bias is made and for any

27 (Pages 102 - 105)

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Page 106 Page 108
reason the appeal board agreed with them and 1 way?
gave a new hearing? 2 A. Sometimes.

MR. PICCERILLI: Objection. 3 Q. And who then Would be assigned
THE WITNESS: Yes. 4 to investigate that matter, somebody in OCS?
BY MR. SCHWABENLAND: 5 A. No -- well, it could be. We
Q. How often has that happened? 6 have a public safety and security investigator
A. 1 arn recalling one instance, 7 who serves a formal investigative role. But
but that doesn't mean there's only been one. 8 if you are looking at a broad definition of
Q. And the one that you recall, l 9 investigation, we might -- OCS or a hearing
can you tell me when that occurred and what 10 officer or somebody in residence life might
the circumstances of that were? 1 don't want 11 follow up with a student for some clarifying
you to name names bu -- 12 points or follow up with an RA who wrote a
A. So when it occurred -- I am 13 report for some clarifying points You could
doing the math in my head -- probably four 14 see that within the spirit of investigation,
years ago. 15 but we don't ca11 that -- them investigating
Q. Okay. That's your best 16 per se, but we have a public safety
estimate? 17 investigator who might truly in a traditional
A. Best estimate. And it was 18 investigative approach.
again, what 1 was talking about, 1 actually 19 Q. You said public safety. Do
don't remember the nature of the case, but 1 20 they write reports?
do remember it was a conflict between two 21 A. They do.
parties And, to my example earlier, there 22 Q. And these would be submitted to
was a student who was advised by the hearing 23 OCS, then?
officer at the time and that was learned 24 A. Yes.

Page 107 l Page 109
through the appeal and the appeal panel said, 1 Q. But after the formal notice of
"You know what, we are better off. Let's have 2 a charge or charges come out then starts the
a new hearing officer take a look at that 3 process to go to a hearing, right?
outcome." 1 don't know the specifics of it, 4 A. Right.
but 1 do recall there was one instance -- and 5 Q. Once a hearing is conducted, if
the board did not determine that there was a 6 you as the hearing officer -- again, in this
bias They determined that there was 7 scenario, again, nonsexual serious offenses --
sufficient information raised to warrant 8 if you as a hearing officer felt that
another hearing officer take a look at things 9 additional investigation or testimony was

Q. In all faimess, right? 10 necessary, would you have that freedom?

A. 1n that instance 11 A. Yes.

Q. I forgot to ask you one thing. 12 Q. And then 1 take it a hearing
Again, I'm looking at the protocol or 13 officer then has to write a report?
procedure for nonsexual claims that are 14 A. No.
serious enough to warrant some type of pre-- 15 Q. I'm sorry. After the hearing
I'm sorry -- prehearing meeting, fair enough? 16 takes place does the hearing officer render

A. Yes. 17 findings?

Q. When a claim is made in these 18 A. Yes.
circumstances but before the formal notice of 19 Q. And, again, 1 think you would
charge against them comes out, is anybody in 20 apply the preponderance of evidence and more
OCS or at the university assigned to 21 likely than not to have either occurred or not
investigate the matter to see what really went 22 occurred or you can't determine, right?
on here and see maybe whether you want to go 23 A. Yes.

24 Q. So it's a possibility of three

forward to a notice or handle it some other

28 (Pages 106 - 109)

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decisions either responsible, undetermined,
or nonresponsible, right?

A. Yes.

Q. Do you then have an outcome
meeting with -- does the hearing officer then
have an outcome meeting with both the
complainant and respondent at different times?

A. Not always

Q. Okay. 1f it's favorable, that
the respondent is culpable in some way, what
is the next step then?

MR. PICCERILLI: Objection to
form.
THE WITNESS: Right. I
wouldn't call it favorable --
BY MR. SCHWABENLAND:

Q. 1'm sorry.
A. -- in any sense.
Q. 1 meant responsible Thank

you. 1 wouldn't call it favorable either.
A. Can you repeat that question?
Q. Sure. Let's start over again,

1f the findings are -- if the hearing officer

concludes that the respondent is

Page 111
responsible -- 1 think 1 said that right --
what is the next step?

A. Well, a hearing officer would
enter a private deliberation to determine what
the appropriate sanctions are and then deliver
those sanctions and that outcome to the
respondent,

Q. Would the hearing officer be
the decider of responsibility as well as --
and if the respondent is responsible then
appropriate sanctions?

A. Yes.

Q. 1s that reviewed by anybody in
OCS if you're not the hearing officer?

A. We review it not in terms of
approving outcome or decision. We review
every case that's been closed by a hearing
officer for procedural review, to make sure
that the process was followed and the
appropriate letters were sent to the students
but we don't review for approval.

Q. So once the hearing officer
makes the decision, then, as to responsibility
and in the case of responsibility then

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Page 1 12
appropriate sanctions then that's not
reversed, then, by anybody in OCS?
MR. PICCERILLI: Hold on a
second. Can 1 hear that question
back, please?
(Whereupon, the court reporter
read back from the record.)
MR. PICCERILLI: Objection to
form.
BY MR. SCHWABENLAND:

Q. Can you answer that or do you
want me to rephrase it?

A. Yes. We would not reverse any
decision made by another hearing officer.

Q. And then the appeal process
assuming that you find responsibility, what
would be the grounds that that student would
have to appeal in that type of case?

A. 1 don't want to misstate them.

1 don't have the appeal process committed to
memory.

Q. Okay.

Page 113
A. But there are grounds outlined
within the handbook of an appeal submission
Q. 1t's my understanding there's
two grounds
A. Again, 1 don't have them
committed to memory.
Q. Okay. Do any of those grounds
consist that -- of the fact that the
respondent if found responsible cannot appeal
on the grounds that there was insufficient
evidence to support that finding, or it can?
A. Again, 1 don't want to --
without reviewing it -- if you have the
appeals process, 1 arn happy to look at it, but
1 don't have it committed to memory.
Q. Fair enough. 1 will show it to
you. l am not trying to hold it back,
A. Okay.
MR. SCHWABENLAND: Why don't we
take a break'?
THE VIDEOGRAPHER: This
completes DVD number one. The time is
12:15. We're going off the record.

29 (Pages 110 -113)

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(Off the record) 1 Q. Okay.
_ _ _ 2 A. Beyond that, Idon't know.
THE VIDEOGRAPHER: On the 3 Q. Do you know if she spearheaded
record, Beginning ofDVD number tWo. 4 it or she was just the person involved in
The time is 12:32. Beginning the 5 that?
questioning. 6 MR. PICCERILLI: Objection to
BY MR. SCHWABENLAND: 7 the form.
Q. Mr. Bordak, ljuSt have a 8 THE WITNESS: She was just a
couple of follow-ups here, You mentioned that 9 person involved She did not
sometimes there is a single hearing officer, 10 spearhead it.
other times there is a panel of three, whether 11 BY MR. SCHWABENLAND:
it's board or faculty and -- I'm sorry -- 12 Q. And do you know if Dr. Perry
whether it's student -- I'm sorry -- whether 13 was?
it's peer, board, or whether it's composed of 14 MR. PICCERILLI: Was what?
faculty and Students. Did 1 Say that 15 MR. SCHWABENLAND: 1nvolved in
correctly? 16 putting that together.
A. Yes. 17 THE WITNESS: 1 can't say with
Q. 1n the case of three people 18 certainty.
hearing it, hearing the evidence and then 19 BY MR. SCHWABENLAND:
making a decision, does the decision have to 20 Q. Okay. Do you have any belief
be unanimous or can it be a split two-to-one 21 one way or another?
vote, if you know? 22 MR. SCHWABENLAND: Objection to
A. 1 don't want to misspeak, so 1 23 form.
don't know with certainty. 24 THE WITNESS: 1 believe that
Page 115 Page 117
Q. Okay. But that would be in the 1 she would be in her capacity as Title
manual for -- 2 IX coordinator.
A. That would be in the manual or 3 BY MR. SCHWABENLAND:
the handbook. 4 Q. And Dr. Anderson, would he have
Q. Okay. Let me ask you this: 5 been involved in that capacity?
Have you known in a panel of three one to 6 A. I'm not sure.
dissent? 7 Q. And then there is counsel for
A. Yes. 8 the university Would she have been involved?
Q. Okay. 9 A. 1 do not know,

A. But there is -- so on the peer
review -- 1 don't want to misspeak what the

community standards were, but the peer review
board 1 do know that it's not unanimous They

are a three-person board, so a two-to-one
would be an outcome.
Q. Okay. You said with regard to

the sexual misconduct policy, the formation of

it, you weren't involved in putting that
together, right?

A. Correct.

Q. Do you know who was involved in
putting that together?

A. 1 know for certain that my
boss Dr. White, was.

10 Q. Okay. So, other than Dr.

11 White, you can't state anybody else was?
12 A. Not with certainty.

13 Q. Okay. Can you tell me when it
14 started to be discussed about either the need
15 or the decision to formulate a sexual

16 misconduct policy, how that arose?

17 A. 1 can't answer that,

18 Q. Okay. Let me ask you some

19 cases here, if 1 can. Are you familiar with
20 the Harris case?

21 A. 1 am.

22 Q. And Harris that was in suit --
23 that's my phone going off. 1 apologize to

24 everybody. Let me turn that off here, Do you

30 (Pages 114 -117)

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recall what year that was? 1 MR. PICCERILLI: Objection to

A. 1 do not. 2 form.

Q. And that was in suit. Do you 3 THE WITNESS: In terms of the
know if it is still in suit or you don't know? 4 institutional --

A. 1 don't know. 5 BY MR. SCHWABENLAND:

Q. 1 take it you weren't involved 6 Q. Responsible, not responsible?
in giving any testimony in that suit? 7 A. 1 know that he was found

A. Iwas not. 8 responsible,

Q. Okay. The Harris case, how are 9 Q. Do you know what -- he was
you familiar with it? 10 found responsible for what?

A. 1 knew that it happened. 1 11 A. 1 do not know.
knew that there was a matter that was sexual 12 Q. Did the Harris case cause your
in nature, sexual -- it was not sexual 13 office or you or your office to review the
misconduct policy. That's really all. 1 was 14 procedures which were carried out?

 

not an administrative hearing officer 15 A. No.
investigator for that. 16 MR. PICCERILLI: Can we go off
Q. Did you say it was or it wasn't 17 the video record for one moment?
under the sexual misconduct policy? 18 THE VIDEOGRAPHER: Off the
A. 1t was not under the sexual 19 video record, 12:38.
misconduct policy as an investigator. 20 MR. P1CCER1LL1: 1 know that
Q. Do you know what the offense 21 this to some extent is a matter of
was claimed? 22 public record, There are FERPA
A. 1 don't. 23 concerns here. You are using the name
Q. You weren't involved with the 24 and we know that the name has been
Page 119 Page 121 l
investigation of it, were you? 1 used in litigation But 1 just wanted
A. 1 was not. 2 to alert you to the fact that we are
Q. Do you know if it went to a 3 not waiving any FERPA-related type of
hearing? 4 issue that might apply here.
A. 1 believe that it went to a 5 MR. SCHWABENLAND: That's fine.
hearing. 6 Let me say this that 1 am acting
Q. And do you know who the hearing 7 under our agreement of all counsel as
officer was on the case? l 8 well as the court-approved order that
A. 1 do not know. 9 everything is to be kept confidential,
Q. Did you have any part to play 10 so --
in reviewing the decision of the hearing l 11 MS. SCHIMELFENIG: 1 am going
officer? 12 to speak on behalf of the university
A. No. 13 here, not Bill Bordak. My client, the
Q. Do you know if the office of 14 university, has an obligation under
community standards was involved with that 15 FERPA. The only reason that the
case at all? 16 university is not objecting to the use
A. 1 can't say With certainty. 17 of the name of the student in this
Q. Do you know what the claim was 18 matter is, A, because it's a matter of
by Harris in the lawsuit? 19 public record to the extent that
A. 1 do not know, 20 matters are addressed in the federally
Q. Do you know that Harris made an 21 filed complaint and, B, to the extent
investigation -- I'm sorry -- do you know what 22 they relate to that complaint there
the finding was against Harris whether it was 23 will be no objection But, as counsel
for or against him? in this case has said, that if there

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31 (Pages 118 -121)

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is any kind of FERPA morph over, if
you will, to areas that are not a
matter of public record the university
will ask its outside counsel to assert
an objection to that area of inquiry,
regardless of the confidentiality of
this record. That is not the
determinative factor. The
determinative factor is the prior
written consent of the student whose
name is being used. The university
cannot waive that. You cannot waive
that, Mr. Bordak cannot waive that.
1 just want to be clear on that,

MR. sCHWABENLAND; Except '
Harris gave his own name,

MS. SCHIMELFENIG: We agree. 1
mean, both outside counsel agrees I,
as general counsel for my client, the
university, agrees But we just
thought it was important as a matter
of record that you understand where we
won't agree.

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MR. SCHWABENLAND: Okay. And 24

Page 123 '
if need be we can just ca11 the judge.
MS. SCHIMELFENIG: 1 certainly
hope not. 1t's pretty

straightforward Thank you.

THE VIDEOGRAPHER: Back on

video record, 12:40.

BY MR. SCHWABENLAND:

Q. 1f the office of community
standards didn't do the investigation who
did, then?

A. 1 am not saying that the office
of community standards didn't. 1 was not
director at the time. 1 was not involved with
it. So 1 can't speak to the specifics

Q. Okay. And 1 am jumping ahead
here. 1 had asked you earlier that for the
2017 up until April of 2018, it was you and
Emily Forte in the office of community
standards right?

A. Can you repeat the dates that
you said?
Q. Sure. For the school year 2017

to around April of 2018, when Emily left, it
was you and Emily Forte in the office of

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community standards?

A. Correct.

Q. Has anybody since come into the
office of community standards?
Yes.
And who has come in?
Her name is Courtney Laganke.
How do you spell her --
L-A-G-A-N-K-E.
And has she assumed Emily's
role?
1t's a revised role.
And what's her title?
The community standards

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manager.
Q. And what does she do as
community standards manager?
A. 1t's more operational. So
she's a hearing officer, but she manages the
operations of the office, 1t's a split
position, where she also works for residence
life.
Q. 1s there anyone else involved
With -- or has there been anybody else

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involved with community standards since 2017
school year?

A. Our administrative assistant,
on the secretarial level.

Q. Clerical?

A. Clerical, yes

Q. And 1 think 1 may have asked
you this 1 need to know. As a result of the
claim or the Harris case and the subsequent
lawsuit, do you know if anybody investigated
the procedures to see if things were done
right or wrong?

MR. PICCERILLI: 1 am going to

object to that to the extent it might

be attorney/client privilege or

attorney work product.
BY MR. SCHWABENLAND:

Q. 1 don't want what the attorney
said to you or anything else. 1 just want to
know if there's been any evaluation at the
university that you're aware of to evaluate
whether or not there was some basis to that
claim or whether certain standards should be
changed at all?

32 (Pages 122 - 125)

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A. Not that 1 am aware of. 1 what we said before regarding the

Q. Did anybody say to you at the 2 Harris case, that applies as well to
university that they needed -- that the school ' 3 the Powell case. We can go back on.
needed to look at the activities in the Harris 4 THE VIDEOGRAPHER: Back on the
case to determine if any changes need to be 5 video, 12:45.
made? 6 BY MR. SCHWABENLAND:

A. Not to my knowledge 7 Q. Were you involved with the

Q. Powell, are you familiar with 8 Powell case at any stage, either to
the Powell case? 9 investigate it-- 1 know you weren't the

A. Yes. 10 hearing officer, but the evaluation of the

Q. And how are you familiar with 11 findings or the outcome or any appeal process?
that? 12 A. Administratively, as the

A. 1 am director of the office of 13 director of community standards, I ensured

community standards so I'm familiar with that
case.

Q. Okay. And so you're familiar
with it. What about that case are you
familiar with?

A. I'm familiar with him having
matters before the office of community
standards as violations of policy and the
ultimate outcome of the most recent case was
an expulsion from the university,

Q. Expulsion. He was expelled?
Page 127

A. Right.

Q. And were you the hearing
officer on the case?

A. 1 was not.

Q. Do you know who was?

A. Yes.

Q. And who was it?

A. The assistant director at the
time, Lori Egan.

Q. Lori what?

A. Egan, E-G-A-N.

Q. Assistant director --

A. Of community standards

Q. 1'm sorry?

A. Of community standards

Q. Okay. And When about was this?

A. A few years ago. 1 don't know
exactly when

Q. Was --

MR. PICCERILLI: Let's go off
the record.

THE VIDEOGRAPHER: Off the
video record, 12:44.
MR. PICCERILLI: Just repeating

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that we were true with process on those
pieces but 1 was -- the assistant director --
there was an investigator who investigated the
conduct and the assistant director, Ms. Egan,
issued the sanction The assistant director,
Ms. Egan, issued the sanctions So 1 didn't
play those roles but administratively 1 was
involved in it.

Q. What was he found responsible
for, what violation?

A. 1 can't recall specifically.

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Q. Was it a sexual misconduct
charge?

A. Again, 1 can't recall
specifically

Q. ls Ms. Egan still there at the
school?

A. She is not.

Q. And do you know whereabouts she
lives?

A. 1 do not know,

Q. When did Ms. Egan leave?

A. 1 can't recall specifically.
Two years ago, three years ago, maybe

Q. 1f 1 wanted to find out or see
the documentation pertaining to the procedure
that was followed, the findings, how would I
go about finding that information?

A. You would not have access to
that information as it's part of a student
record, The student would, so --

Q. But 1 have subpoena power.

A. 1 would advise anyone looking
for that to contact our general counsel about
access to it.

33 (Pages 126 - 129)

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Q. But the documents themselves
would they be on file in the office of
community standard?
A. Within the student record, We
maintain the student disciplinary records
Q. Okay. Do you know if that case
was handled as a sexual misconduct policy?
A. Yes. Yes, it was investigated
Q. But do you have any
understanding that he wasn't found responsible
under the sexual misconduct policy but it was
under some type of anti-harassment policy?
A. Again, 1 can't speak to the
specifics
Q. Okay. As a result of that case
and ultimate matter now in trial, now in
litigation did your office seek to evaluate
or examine or review the procedures that were
followed in that case?
A. No, not directly related to
that matter.
Q. Are you familiar with claims
made about the girls' softball team, claims
made against the girls' softball team at St.

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Joe's University?

A. Can you be more specific?

Q. Sure. There was a claim of
improper activity going on among the girls'
softball team, perhaps involving the coaches
perhaps not involving the coaches but claims
of sexual activity and/or harassment?

A. Yes. lam aware

Q. Okay. So when did you become
aware of that?

A. 1 can't recall specifics We
are talking a couple of years ago.

Q. Okay. 1s that during the time
period that the sexual misconduct policy has
been in effect?

A. That was as 1 recall, during
the time that the interim sexual misconduct
policy was in effect.

Q. So who was making those claims
against the girls' softball team?

A. Again, 1 can't recall specifics
years later.

Q. Can you recall anything?

MR. PICCERILLI: Let me just

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caution -- under FERPA let me just

caution the witness that the names of

those complainants have not been

revealed, even in the litigation

so -- or if there was litigation and

so he should respect that and not

disclose their names if he should

know,

MR. SCHWABENLAND: Okay.
BY MR. SCHWABENLAND:

Q. 1'll represent to you that
there is a Jane Doe 1 and a Jane Doe 2 against l
the university, So we'll call them Jane Doe l
and Jane Doe 2. Are you familiar with the
fact that there were several complaints l
made -- there were complaints made by several
of the girls on the softball team about the
actions of its coaching staff as well as its
girls players?

A. 1 was not specifically aware of
allegations against coaching staff, that's not
under the purview of my office, but against l
other students yes. l

Q. Okay. So did you or anybody l

Page 133 l
else from your office investigate this matter?

A. Yes.

Q. Who investigated it?

A. Again, this is a couple of
years ago and 1 want you to understand that
it's hard to remember details with specificity
years later. As 1 recall, there was an
investigation by our public safety
investigator and then there was a subsequent
investigation for conduct implicated by the
sexual misconduct policy, really the
recollection 1 have in terms of the
investigation

Q. Who was the public safety
investigator who investigated?

A. 1 don't recall.

Q. Did the public safety
investigator report his or her findings to
your office?

A. Yes.

Q. And so there would be an
incident report?

A. Yes.

Q. And would there be more than

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one incident report? 1 Q. Do you know if it was in
A. 1 Can't recall. 2 connection with the claims that were being
Q. Do you know if that Was based 3 made and her management or not management of
upon interviews of the various girls on the 4 the team?
team? 5 A. 1 do not.
A. Yes. 6 Q. So you don't know if she was
Q. Do you know how many girls were 7 penalized? You just know that at some point,
interviewed? 8 what, she either resigned or was discharged?
A. 1 do not knoW. 9 MR. PICCERILLI: Objection.
Q. But the incident report would 10 THE WITNESS: l just know that
reflect whatever interviews were conducted? 11 she's not
A. Yes. 12 BY MR. SCHWABENLAND:
Q. Do you know if any of the 13 Q. So let's get back to -- you
Coaching Staff Was interviewed by the public 14 know you have a public safety report. Do you
Safety? 15 know if you have more than one or just one?
A. 1 do not know, 16 A. 1 do not know.
Q. And as you sit here you don't 17 Q. Okay. But all this would be on
know, if there's a claim against an employee 18 file at the office of-- at your office,
of the school or somebody on staff, you don't 19 right?
know how that's handled? 20 A. Yes.
A. No, not specifically 21 Q. And who, then, investigated it l
Q. How about not specifically? 22 from your office?
A. NO. 1 mean -- 23 A. Nobody in our office '
Q. Generally? 24 investigated it.
Page 135 Page 137
A. There's a range of conduct and 1 Q. Okay. So who followed up with
some might be handled at the department level, 2 the investigation after public safety issued
some might be handled at the divisional level, 3 the report?
some might be through the human resources 4 A. AS 1 recall, there was an
1t's not my responsibility to manage that 5 administrative hearing for nonsexual
process, so I'm not totally familiar with what 6 misconduct policy violations that 1 was the
it is 7 hearing officer for. 1 don't recall specifics
Q. Okay. The name of the coaching 8 on that.
staff or the coaches at the time, what were 9 Q. Okay. So you were the hearing
they? What were those names? They are not 10 officer and it was placed into the
students, so you can reveal them. 11 nonsexual --
A. So the only one that 1 know was 12 A. There were two simultaneous
the head coach, Terri Adams and 1 only know 13 tracks One was -- because there was multiple
her name from knowing the head coaches of the 14 conduct, as 1 recall, that was complained. So
teams on campus 15 the sexual misconduct related conduct was
Q. Did you ever meet Ms. Adams? 16 addressed through the sexual misconduct policy
A. 1 did. 17 and the nonsexual misconduct policy violations
Q. Do you know if Ms. Adams is 18 were addressed through an administrative
still there? 19 hearing officer, which was myself So we had
A. She is not. 20 concurrent processes very independent,
Q. And do you know when she left? 21 separate processes happening at once
A. 1 do not. 22 Q. So who was the investigator on
Q. Do you know why she left? 23 the sexual misconduct policy charges?
A. 1 do not. 24 A. 1 don't want to misspeak, so

 

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1'm not sure. 1 redact any names of students, but --

Q. Who do you think it is? 2 do you want to go ahead and talk to

MR. PICCERILLI: Objection. 3 counsel?

That's asking for a guess 4 MR. PICCERILLI: l don't know
BY MR. SCHWABENLAND: 5 that we have an agreement today, but

Q. 1 don't want you to guess 6 we will get back to you on this I

A. 1 can't Say With certainty, So 7 mean, we don't have them here today,
1 prefer not to say. 8 in any event, so --

Q. How many people form that 9 MR. SCHWABENLAND: I know, but
possibility? 10 they have been asked for.

A. Three or four at the time. 11 MR. PICCERILLI: l don't know

Q. Was Emily Malloy involved with 12
the investigation of that? 13
A. At that time, Elizabeth Malloy 14
was 15
Q. I'm sorry. 1 said Emily. 1 16
apologize 17
A. 1 can't say with certainty on 18
the spot right here, two years later, having 19
not looked at these files who the investigator 20
was 21
Q. Okay. What things fell within 22
the category of sexual misconduct policy? l 23
A. Again, 1 can't -- 24
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MR. PICCERILLI: I'm sorry. 1
Objection to form. 2

THE WITNESS: Again, 1 can't 3
say with certainty what those 4
violations were and 1 don't want to 5
speak on the record, 6
BY MR. SCHWABENLAND: 7
Q. Well, there is -- sexual 8
misconduct policy has certain violations that 9

falls within that umbrella, right? 10
A. Yes. 11

Q. One would be sexual abuse? 12

A. 1 don't know that we define it 13

that way. I'd have to look at the actual 14
policy. Again, 1 don't have these documents 15
committed to memory, so 1 don't know exactly 16
what the language is 17
Q. But you're the only one 1 can 18

find out these documents from, so -- 19
A. Right. But 1 don't have them 20
committed to memory. I'd be happy to -- 21
MR. SCHWABENLAND: Counsel, d022

we have an agreement that you will 23

turn over these documents? You can 24

what there is.
MR. SCHWABENLAND: Do you want
to go talk to counsel? Go ahead.
MR. PICCERILLI: Are we on the
video record? We shouldn't be
THE VIDEOGRAPHER: Off the
record, 12:56.
MR. PICCERILLI: Let me go talk '
to counsel. l
(Whereupon, a recess was held
from 12:56 p.m. to 1:01 p.m.)

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MR. PICCERILLI: 1 am not
prepared to enter into some sort of
agreement as we sit here today, Ed. I
will consider this 1 will determine
whether or not we can produce anything
further. You have to understand that
we are talking here about a very
defined group of female students who
have not waived in any respect
anything that FERPA may protect as
private So 1 will consider this and

1 will get back to you on it.

MR. SCHWABENLAND: Do you know
when because --

MR. PlccERILLI; when what? l

MR. scHwABENLAND; -- we have '
asked for this material from the very l
beginning l

MR. PICCERILLI: And we l
objected.

MR. SCHWABENLAND: And We |
talked about this

MR. PICCERILLI: We talked
about --

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MR. SCHWABENLAND: Let me
finish.

MR. PICCERILLI: Okay.

MR. SCHWABENLAND: And it's
very clear it goes to how these
investigations were handled and so we
need to know that. There's also a
list that your office gave me, a list
of cases, without identifying the
specific students handled from 2015
to 2018, just with the results but we
don't know the underlying information
about what was the claim about, Now,
we asked for information on that also,
to say just identify each student case
by numerical number, don't identify
the student, and that way we get to
know what the investigation was about
and the underlying circumstances
without identifying anybody. We've
asked for that. Mr. Bordak is very
kind for coming here today, but he
doesn't have too much information
about that and this can only be gotten

 

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in the files So 1 need to -- it's
one thing to say, "Well, we'll
consider it," but when are you going
to get back to me on that? Is it,
like, Monday, is it --

MR. PICCERILLI: lt could be
I'm not sure. 1 have to consult with
counsel about that. 1 also have to
determine what's in the documents and
whether or not the documents could be
appropriately redacted to protect
identifying information Another
thing, not only are there FERPA
protections here, but there are also
issues here of relevancy 1 mean,
you're talking about the statistics --
let me finish, 1 let you finish -- the
statistics list that we had provided
to you, because we provided that in
terms of, you know, which students
were investigated, which
investigations were handled by
Elizabeth Malloy, and what the
outcomes were and we gave that to you

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for those reasons 1 don't know that
every particular circumstance that was
involved in those cases is in any way
relevant here, In fact, this is a
litigation of this case, not of those
cases And you may think that it's
appropriate to go back to analyze all
of the facts in those cases to try to
litigate this case, but 1 have to
disagree with that conclusion

MR. SCHWABENLAND: Well, it's
pretty hard for you to disagree with
it, with all due respect, since you
have no idea what's in these files or
what they show. And you can't just
object on the grounds of irrelevant
because you have no idea whether or
not it's relevant or not relevant
until you look at these documents and
also 1've had a chance to examine
these documents That's why it's
producible in discovery That's why
it's under a promise of
confidentiality That's why 1 said

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you don't have to identify them by
name But at least we have an
opportunity to review the underlying
facts concerning those cases and how
it was handled and compare to it
what's been going on. So 1 am going
to ask you this 1 arn going to ask
for -- 1've asked for a number of
things I'm going to ask you to let
me know Monday sometime about these
documents 1 would like to see them,
because, as you know, 1 have
depositions of Ms. Malloy and
Ms. Perry and some other depositions
next week after we depose Ms. Roe on
Monday and sooner or later 1 have got
to have these documents 1f not, then
we'll call the judge on Monday about
this And that's the only way 1 can
see how to proceed. 1 can't just rely
upon you to say, "Yeah, 1'11 get back
to you," in all fairness

MR. PICCERILLI: You have
stated what you have to say, 1 still

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don't see what the relevance of all of
these other matters are -- is, excuse
me. And I also want to restate what
has been stated before, that
regardless of the confidentiality
agreement in this case, that does not
override FERPA and its protections
MR. SCHWABENLAND: Just so it's
clear, FERPA protects -- allows
confidentiality with regard to student
identification and information right?
Or you'd rather not say?
MR. PICCERILLI: 1 would rather
not say right now.
MR. SCHWABENLAND: Fair enough.
MR. PICCERILLI: Plus the
other thing is that, in
circumstances -- if there's going to
be a question of a disclosure of
student information you have to have
consent from the student or at least
they have to be consulted at the
get-go.
MR. SCHWABENLAND: Okay. Let's

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go back on.
THE VIDEOGRAPHER: Back on the
record, 1:07.
BY MR. SCHWABENLAND:
Q. 1 think 1 was about to show you
the sexual misconduct policy. 1 don't have to
identify it by exhibit. But the sexual
misconduct policy --
MR. PICCERILLI: You don't have
the Bates stamped copy?
MR. SCHWABENLAND: 1 can find
1t.
MR. PICCERILLI: Well, 1 would
rather have the Bates because it
would be easier to refer to certain
pages I'm sorry. Are we off the
video record?

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MR. SCHWABENLAND: Let's go off 18

the camera.
THE VIDEOGRAPHER: Off the
record, 1:08.

(Off the record)

19
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THE VIDEOGRAPHER: Back on the
record at 1:20.
BY MR. SCHWABENLAND:
Q. Mr. Bordak, we took a break.
And 1 started to say we'll take a look at the
SMP, we will call it. And the sexual
misconduct policy has a list of potential
violations 1 will read it for the record:
Sexual assault, sexual harassment, sexual
exploitation domestic violence, dating
violence, or stalking. Did 1 read that

correctly?
A. Yes.
Q. 1s there any other type of

sexual offense that would be included in that
sexual misconduct policy that you're aware
that is not on there?

A. 1 think -- 1 don't know that
the title is meant to be exhaustive There's
conduct defined within the policy.

Q. Okay. So then we get back to
the girls' softball team at the university
You said it took two tracks One was the SMP
and the other was the nonsexual offenses that

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you handled as a hearing officer?

A. Yes.

Q. Okay. So 1 had asked you who
did the investigation for the SMP and you
indicated you weren't sure or you didn't know?

A. Correct.

Q. Can you boil down to one of two
or three people at that time?

A. 1t's my recollection we were
working with Elizabeth Malloy, Andrew Shapren, l
and somebody named Rose, 1 forget her last
name,

Q. And Andrew and Rose, were they l
in the same firm as Ms. Malloy?

A. They were

Q. Do you know what firm they were
associated with at the time in 2015?
Buchanan Ingersoll.
Did you know Ms. Malloy?
Professionally, yes
That's what 1 meant.
Yes.
I'm sorry. Had she reviewed

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cases -- when did she start reviewing cases

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1 for the university, if you know?

2 A. 1 don't know the first, but it

3 would have been shortly after the

4 implementation of the policy in January of
5 2015.

6 Q. Okay. So was she the primary
7 one to do this work as an investigator on

8 behalf of the university?

9 MR. PICCERILLI: Objection to
l 0 form.
11 THE WITNESS: 1 don't know that
12 1 would use the word "primary." She
13 was the -- our primary contact. 1
14 don't know that I'd call -- we
15 certainly don't call her the primary
16 investigator. She is one of them.
17 She's the one that we contact to see
18 which investigator will investigate a
1 9 matter.
20 BY MR. SCHWABENLAND:
21 Q. Had you played any part in
22 selecting Ms. Malloy?
23 A. 1 did not.

Q. Do you know who selected

24

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1 Ms. Malloy?

2 A. 1 do not.

3 MR. SCHWABENLAND: Let's go off
4 camera one second.

5 THE VIDEOGRAPHER: Offthe

6 video record, 1:24.

7

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9

(Off the record)
10 MR. SCHWABENLAND: Iwill have
ll this marked.
12 _ _ _
13 (Whereupon, Exhibit Bordak-l
14 was marked for purposes of
15 identification.)
16 _ _ _
17 THE VIDEOGRAPHER: Back on the
18 record, 1:25.
19 MR. SCHWABENLAND: We have just
20 marked as Bordak-l four pages with
21 Bates stamp from the university 131,
22 132, and then 133 and 134 is the exact
23 same thing as 131 and 132 except it

24 has handwriting of "EM" on the side,

 

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Page 152 n
which, as 1 understand it, refers to
cases managed by Elizabeth Malloy,
Fair enough?
MR. PICCERILLI: 1 just want to
correct you. 1 think you have the
document numbers wrong. You said 131.
The first one is 1331, the second one
is 1332, the third one is 1333, and
the fourth one is 1334.
MR. SCHWABENLAND: Idid
misstate it. Thank you.
MR. PICCERILLI: You're
welcome
BY MR. SCHWABENLAND:

Q. Let me deal with -- if we can
let's use 1333 and 1334. Okay. That has "EM" l
on the side of it. That goes from the -- l
first of all, at the very top it has
"Respondents in sexual misconduct" and then in
parentheses it has "ISMP/SMP." 1 take it the
"I" stands for interim sexual misconduct
policy?

A. Yes.

Q. The effectiveness of the

 

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policy, it became effective June 15, 2015; is
that correct? 1f you look at -- if you look
at the one marked 1175 Bates stamp. So -- but
the -- while it is being finalized and
becoming effective as of June 2015, would that
ISMP, the interim, essentially mean that
sexual misconduct cases as of the beginning of
2015 were under a sexual misconduct policy?

A. Yes.

Q. Okay. Now, the names of the
students, student respondents are not on
there, but it does indicate their gender. Do
you see that column?

A. Yes.

Q. And am 1 correct that the only
two cases involving a female respondent are on
the first page, 1333, and is number six and
seven in that list. Do you see it there?

A. Yes.

Q. Okay. And the rest are all
males Take your time and look that over and
see if you can confirm that.

A. Yes.

Q. All right, The female ones

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were handled by Ms. Malloy in May of 2015 and 1 officer in any of them?
they were found not responsible under her 2 A. 1 don't recall.
investigation; am 1 correct there? 3 Q. Are there -- in the time that
A. Yes. 4 you have been there can you tell whether or
Q. And do you know if these 5 not there has been -- and, again, up until
females are the same females that Were charged 6 January of 2015 do you know if there have been
in the girls' softball team under a sexual 7 more than five women charged or less than five
misconduct policy? 8 Women charged, if you know? And I don't want
A. I don't know for certain. 9 you to guess.
Q. Do you know of any other 10 A. That's difficult to answer.
females that have been charged under a sexual 11 Q. Would you have that information
misconduct policy other than the matters 12 available should counsel want it, counsel for
involving the girls' softball team? 13 the university?
A. Prior to the interim sexual 14 A. If it is within the student
misconduct policy, yes. After the interim 15 record, yes.
sexual misconduct policy, no, as 1 reference 16 Q. Okay. So how far do your
this document, l 17 student records go back, then? By your 1 mean
Q. Okay. Do you know when you 18 OCS.
would have handled the hearing as a hearing 19 A. It depends on the students. So
officer handling the matter involving 20 records are maintained -- we have a record
violations with regard to the girls' softball 21 retention policy that's student driven. So
team? 22 when the student is no longer at the
A. Like I said, it's a couple of 23 institution for seven years that record is |
years ago. 1t very well could have been 24 expunged, except for expulsion records, which
Page 155 Page 157
spring of 2015 . I don't recall specifics. 1 we keep permanently. So it's not consistent
Q. Okay. Prior to -- and 1 think 2 across situations. 1t's student driven.
you may have stated that, but 1 am not sure 3 Q. So by "student driven" you mean
what you just said, Prior to the enactment of 4 from the date the student is no longer
the sexual misconduct policy or any matters in 5 associated with the university then you go
2015, prior to January 2015 if there were any 6 seven years forward?
claims of sexual misconduct that Would be 7 A. Correct.
handled as any other violation under the 8 Q. And if a student were to come
policies affording students a right to a 9 back for a master's, Would that record be
hearing and -- under a hearing officer; am 1 10 maintained then?
correct? 11 A. Yes.
MR. PICCERILLI: Objection to 12 Q. So what happens if you -- 1 am

form

THE WITNESS: They would be ' 14

addressed as all other violations, 15
yes. 1 6
BY MR. SCHWABENLAND: 17
Q. As all the others. Okay. And 18
did you say you recall females being charged 19
With sexual misconduct prior to 2015? 20
A. Yes. 2 1
Q. And do you know how many? 22
A. I don't. 23
Q. Did you act as a hearing 24

13 just making this up -- if you graduate from

undergrad and then ten years later you come
back for your master's, your previous record
is no longer there?

A. 1f there's been seven years
since you've last attended, yes, it's
expunged

Q. But information regarding
whether or not there were other females prior
to January of 2015 who Were charged with
sexual violation and what those findings would
be, that would best be looked for in OCS,

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1 assuming that they haven't been destroyed or 1 1 am continually being asked for details of a
2 done away with? 2 situation a couple of years ago and 1 don't
3 A. Yes. 3 know the answer.
4 Q. Let's get to the girls' 4 Q. So what did you find, either
5 softball team. Do you know what the claims -- 5 responsible or not responsible?
6 do you know what the charges of 6 A. 1 really can't recall. We have
7 sexual misconduct were against -- first of 7 a lot of cases and to understand the details
8 all, do you know how many girls Were charged 8 of a case from a few years ago that hasn't
9 with sexual misconduct? 9 been revisited in my mind, 1 really don't
10 A. 1 don't recall. 10 remember.
11 Q. How about, do you know how many 11 Q. How many cases a year do you
12 girls were charged with violation of nonsexual 12 handle?
13 things that you acted as hearing officer? 13 A. My office handles quite a few.
14 A. 1 don't recall. Again, this is 14 Q. So what's quite a few?
15 asking for details of a matter that was a few 15 A. Again, 1 would be making up the
16 years ago, so I really don't recall. 16 number, but it's enough that when a case and a
17 Q. But the girls' softball team 17 matter is concluded we move on to the next and
18 issue created a serious accusation against the 18 we are not caught up with remembering the
19 university around that time period, right? 19 details of every case.
20 MR. PICCERILLI: Objection to 20 Q. But don't you have to submit
21 form. 21 statistics every year?
22 THE WITNESS: Perhaps. 1 mean, 22 A. We do. 1 don't have those
23 1 handled my process. 1 Was 23 committed to memory.
24 independent of that in the community 24 Q. Okay. And where would 1 find
Page 159 Page 161 l
1 standards office and so the complaint 1 those statistics?
2 against the university was totally 2 A. We report in an annual security
3 separate from -- 3 report what's required by Clery.
4 BY MR. SCHWABENLAND: 4 Q. That's under the Clery Act?
5 Q. I understand 5 A. Yes.
6 A. So 1 really -- 1 don't know, to 6 Q. But the Clery Act statistics
7 be honest, what the complaint against the 7 don't always gel with the statistics from your
8 university -- 8 office for sexual misconduct or other things,
9 Q. So what did you do, then, as a 9 right?
10 hearing officer? 10 MR. PICCERILLI: Objection to
11 A. I had a hearing for students 11 form.
12 who were potentially or allegedly in violation 12 THE WITNESS: Potentially.
13 of nonsexual misconduct policy violations, 13 BY MR. SCHWABENLAND:
14 Q. More than one student? 14 Q. 1 am not criticizing it. 1t's
15 A. More than one, yes. 15 just a different purpose, right?
16 Q. More than ten? 16 A. Sorry. I wouldn't say that
17 A. No. 17 it's a different purpose, but the parameters
18 Q. More than five? 18 with Which we are required to report
19 A. No. 19 information under Clery does not capture all
20 Q. So more than one but less than 20 violations, you're correct.
21 five? 21 Q. That's what 1 meant to say,
22 A. Yeah. 1 mean, it's just really 22 You said it much better than 1 could ever say.
23 hard for me to remember details from a 23 So where do you keep these statistics? 1
24 situation a couple years ago when 1 feel like mean, is it a report each year that you keep

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on file?
A. For some data points we

maintain longitudinal documents For others

it's a report drawn from our system when
asked.

Q. 1 am jumping around here, Did
you ever give a speech about -- let me back

up. Did you or, to your knowledge, anybody

else at the university ever give a speech to

students, other faculty members claiming that
the opinion was that sexual misconduct charges

are underreported?
A. I can only speak for myself. 1
can't speak for others. And 1 have given

presentations and shared the national trend of
underreporting of sexual assaults, yes.

Q. What is the national trend?

A. That it is an underreported
crime.

Q. Are you able to say to what

degree, what percentage?

A. No.
Q. Do you know what that is based

upon? You said nation trend. 1 take it there

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is some report or something?
A. 1've presented material

prepared by our student outreach and support

office, which had that information. So I
can't cite here today where that is drawn
from. But it is something that I hear
regularly at conferences and sessions that I
might attend that sexual assault is
underreported.

Q. I'm just wondering how people
come up with that criteria to determine that.
If it's underreported that means it hasn't
been reported, so --

MR. PICCERILLI: Objection to

form. 1 don't think that's a

question,

MR. SCHWABENLAND: Iknow.

BY MR. SCHWABENLAND:
Q. So can you help me out on that?
A. No.
Q. Okay. So let's get back to the
case against the -- or cases against the
girls' softball team, Your focus was as a
hearing officer on nonsexual charges against

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1 students on the softball team, right?

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A. Correct, as well as the team

itself. We did address the team itself as
potentially in violation of policy.

Q. So did you hear -- did you hear

decisions against the team?

A. 1 did.
Q. And so did you make a ruling on

that against the team?

MR. PICCERILLI: Hold on a
second. I'm going to object to this
to the extent it's protected by FERPA.
Let's go off the video record,

THE VIDEOGRAPHER: Off the
video record, 1:39.

MS. SCHIMELFEN1G: So 1 am
going to step in as the counsel for
the university, apart from this case
but responsible for its compliance
with FERPA. Because the softball team
is a discrete identifiable group of
students who are entitled to privacy
under FERPA regarding their education
records of which this kind of

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proceeding is part of, 1 am not going
to on behalf of the university --
well, let me put it this way: 1 am
going to ask outside counsel for the
university to preclude further inquiry
that goes into personally identifiable
information which relates to a team
which is an identifiable unit in this
deposition without the prior written
consent or a court order that says
that the interest of justice requires
regarding the team aspect of this
matter. That's an objection that the
university is asking to be endorsed or
put on the record by counsel in this
matter.

MR. PICCERILLI: So 1 do put it
on the record, And that, to the
extent you're asking him questions
about the team, that is, persons that
is identifiable, we have to under
FERPA object to the disclosure of that
information and we will instruct the
witness not to answer those types of

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1 questions 1 officer against more than one player from the
2 MR. SCHWABENLAND: Let's call 2 team and less than five players from the team?
3 the judge. 3 ls that your best estimate?
4 MS. SCHIMELFENIG: As to the 4 A. Yes.
5 team. 5 Q. Okay. Did you hear the claims
6 MR. SCHWABENLAND: Let's ca11 6 against them all at once or separately?
7 the judge. 7 A. 1 am not sure what you mean by
8 _ _ _ 8 "all at once or separately."
9 (Off the record, Time noted, 9 Q. Sure. You scheduled a hearing
10 1:40 p.m. to 2: 14 p.m.) 10 for them to come in and at which time they can
11 _ _ _ 11 hear the evidence against them and present
12 MR. SCHWABENLAND: We just had12 evidence; is that correct?
13 a discussion with the judge's law 13 A. Correct.
14 clerk, who may be attempting to speak 14 Q. And so were they -- did they
15 with the judge. Whether or not we get 15 have a hearing all one hearing or Was each
16 a callback on a Friday afternoon is 16 afforded a separate hearing where only one
17 unclear. Depends on the judge's 17 respondent shows up at a time?
18 availability. So the real objection, 18 A. They were individual hearings.
19 which we explained to the judge's 19 Q. So, essentially, if-- 1 am
20 chambers, was the university's 20 just saying, if there were three players that
21 instruction of the witness not to 21 you were a hearing officer on, you would have
22 answer any questions concerning any 22 had three hearings; is that correct?
23 inquiries as to the softball team or 23 A. Yes.
24 the investigation against the softball 24 Q. Do you know if the person or
Page 167 Page 169
1 team as a unit, as I understand it. 1 persons complaining against these individuals,
2 So With that in mind, since it's 2 if they appeared at the hearing?
3 pending and we are waiting to hear 3 A. 1 can't recall.
4 back from the judge, 1 am not going to 4 Q. Do you know what your findings
5 ask any questions about the softball 5 were against those individuals?
6 team as a unit. 1 will ask questions 6 A. 1 can't recall.
7 about individuals and 1 assume that's 7 Q. So as you Sit here you don't
8 okay and l don't waive my right to ask 8 even know if you found them to be responsible
9 questions about the softball team 9 or not responsible or it was undetermined?
10 until We hear from the judge. 10 A. Truly, l can't recall.
11 MR. PICCERILLI: Let's proceed 11 Q. Do you ever recall talking with
12 and we will take it step by step, but 12 the investigator who was handling the sexual
13 as a general principle 1 think we are 13 misconduct claims?
14 in agreement. 14 A. I don't recall.
15 MR. SCHWABENLAND: Okay. Thank 15 Q. How many times have you put
16 you. Let's go back, if we could. 16 something like this on a co-equal tracks, that
17 THE VIDEOGRAPHER: Back on the 17 is, you act as hearing officer or somebody
18 record, 2:18. 18 acts as a hearing officer for the nonsexual
19 BY MR. SCHWABENLAND: 19 and an investigator handles the sexual
20 Q. In your handling of the case 20 misconduct?
21 involving -- l will say involving the softball 21 A. I Can't give you an exact
22 team but individuals here and yourself acting 22 number of how many times that's happened, but
23 as a hearing officer and, again, your best 23 it has happened more than this occasion.
24 estimate, it was -- you acted as the hearing 24 Q. But When you Say -- l don't

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1 want an exact number, because 1 know you can't 1 alcohol policy. There could be general
do it. 2 disrespect or hazing or something like that.
A. Right. 3 Again, 1 don't know with specificity the
Q. 1s it less than five, more than 4 charges at that time.
five? 5 Q. Well, the bulk of the
A. 1 am not sure. 1 am not l 6 complaints, at least in -- on the -- at least
comfortable putting an exact number on it, but 7 on the complaint would indicate ongoing
1 know there is more than this matter. 8 hazing.
Q. 1n the last three years do you 9 THE VIDEOGRAPHER: Off the
know how many? 10 record, 2:24.
A. Idon't know. 11 _ _ _
Q. But since 2015 , when this Was 12 (Off the record)
on a multiple -- two tracks, parallel tracks, 13 _ _ __
have there been any other that have taken the 14 MR. SCHWABENLAND: The court
parallel tracks? ' 15 reporter is now ready, your Honor.
A. 1 can't recall. 16 JUDGE DIAMOND: Would the
Q. But you would have this 17 lawyers please identify themselves and
information available in your office? 18 their clients? '
A. I Would, as long -- presuming 19 MR. SCHWABENLAND: Yes. Ed
it's in the student files. 20 Schwabenland on behalf of the
Q. What was the nature of the 21 Plaintiff, John Doe.
nonsexual charges that you were addressing 22 MR. MIRABELLA: John Mirabella,
against each of the three individuals or one 23 also on behalf of the Plaintiff, John
or more -- I'm sorry, 1 said each of the 24 Doe.
Page 171 Page 173
three, that's not right -- against those 1 MR. PICCERILLI: Albert
individual players? 2 Piccerilli, on behalf of St. Joseph's
A. Again, 1 don't know with - 3 University and William Bordak.
specificity, so 1 hesitate to share a charge 4 MS. SCHIMELFENIG: Marianne l
if that, in fact, wasn't -- 5 Schimelfenig, general counsel, St. l
Q. But don't you have a general 6 Joseph's University.
idea? Was it harassment? Was it assault? 7 MS. MCREYNOLDS: Holly
Was it-- there is an allegation that girls 8 McReynolds on behalf of Defendant,
may have been forced to simulate manual sex 9 Jane Roe.
over their clothes or things like that or to 10 JUDGE DIAMOND: Okay. As my
simulate oral sex with a wine bottle, at least 11 clerk has explained it to me -- who is
that's on the complaint Were any of those 12 the deponent, by the way?
allegations handled by you or is that sexual 13 MR. PICCERILLI: The deponent
in nature? 14 is William Bordak, who is the director
A. 1f it Were conduct implicated 15 of community standards, the office of
by the SMP, it would not be addressed by me, 16 community standards at St. Joseph's
it would be addressed by the investigator. 17 University.
Q. So 1'm trying to determine, so 18 JUDGE DIAMOND: As my clerk has
were you handling harassment? Were you 19 explained it to me, the plaintiff is
handling -- what were you handling? 20 seeking to inquire of the deponent as
A. As 1 recall, again, this is 21 to the university's investigation of
not-- 1 don't have full memory, but 1 think 22 charges made against certain members
at least one occasion there Was alcohol 23 of the women's -- is it the softball
present, so there could be a violation of the 24

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team?

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MR. SCHWABENLAND: Yes. 1
MR. PICCERILLI: Your Honor, if 2

1 might? 3

JUDGE DIAMOND: Hold on. 4

Charges made by members of the 5

softball team against other members of 6

the softball team; is that right? 7
MR. SCHWABENLAND: Yes, sir. 8
JUDGE DIAMOND: And how recent 9

was this? 10
MR. SCHWABENLAND: 2015. 11
JUDGE DIAMOND: And how many 12

members of the softball team were 13

accused -- the misconduct is both 14

sexual and nonsexual in nature, the 15

alleged misconduct; is that right? 16
MR. SCHWABENLAND: Yes. It was 17

placed on a parallel track -- 18
JUDGE DIAMOND: Just answer my 19

questions, please. Sexual and 20

nonsexual in nature; is that right? 21
MR. SCHWABENLAND: That's 22

correct. 23
JUDGE DIAMOND: And Ms. Malloy_ 24

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did the investigation for the 1

university; is that correct? 2
MR. SCHWABENLAND: Yes. 3
JUDGE DIAMOND: And how many 4

members of the team were accused? 5
MR. SCHWABENLAND: Mr. Bordak 6

does not know. His end of it, it was 7

more than one but less than five. We 8

don't know about Ms. Malloy -- 9
JUDGE DIAMOND: Wait. More 10

than one but less than five. And how 11

many members of the softball team were 12

there in 2015? 13
MR. PICCERILLI: Probably 14

between 12 and 16. 15
JUDGE DIAMOND: 12 and 16. 16
MR. PICCERILLI: Not sure, but 17

probably in that range. 18
JUDGE DIAMOND: 1n that range. 19

So no more than a third of the -- top 20

edges of a third of the 15 or if it 21

was a smaller team, five out of the 22

12? 23

MR. SCHWABENLAND: Yes, sir. 24

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MR. PICCERILLI: But, Your
Honor, if 1 may, what the issue is --

JUDGE DIAMOND: No, you may
not. Just let me ask my questions
then you can say What you want. St.
Joe's is objecting on certain grounds
because the members of the team might
otherwise be identifiable even if they
are not named and, indeed, even if, as
we now hear from the deponent, he
doesn't even know how many there Were,
but there were no more than five? Is
that the objection, that you ask it to
remain confidential and the identities
of the accused might be -- might
somehow be revealed through some
investigation?

MR. PICCERILLI: Your Honor,
this is Albert Piccerilli. The
objection is that plaintiffs counsel
is asking regarding the team as a
whole. We are not objecting as to
specific unidentifiable people, women
on the people.

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JUDGE DIAMOND: 1 don't
understand What do you mean, asking
as a whole? As 1 understand it, he
wants to ask about steps of the
investigation, the nature of the
investigation and so forth.

Ms. sCHIMELFENIG; YourHonor, '
this Marianne -- I'm sorry. Pardon
me.

JUDGE DIAMOND: Wait. Ireally
wish people would stop interrupting
me. Mr. Schwabenland, what do you
Want to know?

MR. SCHWABENLAND: Two things.
One is -- and counsel does not object
to that-- that 1 can ask questions
about individual players as long as we
don't identify them and what happened
to them and that's fine. And what
prompted my telephone call to your
chambers -- and 1 apologize for having
to bother you on Friday afternoon --
but Mr. Bordak said he was the hearing
officer as to those individuals

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charged nonsexually and there was more
than one, less than five, but he was
also the hearing officer with regard
to whether any sanctions should be
imposed against the girls' softball
team. We get didn't get into that
because he was then instructed not to
answer any questions about what he did
as a hearing officer concerning the
softball team itself.

JUDGE DIAMOND: So the question
is whether or not he imposed sanctions
on the whole team?

MR. SCHWABENLAND: Yes, because
he raised that. He said it Was not
only those girls but he was the
hearing officer as to what sanctions
should be imposed, if any, as to the
team, such as you suspended them or do
Whatever.

MS. SCHIMELFENIG: There were
charges --

JUDGE DIAMOND: Wait, please.
lf a sanction Was imposed wouldn't it

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be public knowledge?

MS. SCHIMELFENIG: No.

JUDGE DIAMOND: If the team was
suspended fi'om play, that wouldn't be
public knowledge?

MS. SCHIMELFENIG: Your Honor,
this is Marianne Schimelfenig. The
entire team was not suspended from
play,

JUDGE DIAMOND: Well, you're
telling me what the sanction was,
aren't you? You're telling me what
the sanction was not. I'm sorry. Is l
he going to have to guess? This to me
seems to be a frivolous objection, '
unless you can put more meat on it. 1
think the team as Whole -- individuals
are not being singled out in any way,
1 don't see how the statute protects
it. And, in any event, if 1 order you
to do it the statute protects the
university. What am 1 missing?

MR. PlCCERILLI: Your Honor,
the line of questioning that we are

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objecting to are the inquiries
regarding the team as a whole. The
team as a whole --

JUDGE DIAMOND: 1 know that.
How does that trigger the statutory
protections as to individuals?

MR. PICCERILLI: lt invokes it
because the team as a whole is an
identifiable group of female students
who were on the team at the time.

JUDGE DIAMOND: Your objection
is overruled. I am directing the :
witness to answer -- l

MS. SCHIMELFENIG: Your
Honor --

JUDGE DIAMOND: -- unless you
have another ground to object.

MS. SCHIMELFENIG: Well, your
Honor, this is Marianne Schimelfenig.

I deal with FERPA pretty regularly, as
you might imagine, in my job. But the
law under FERPA is that if the Court
orders a university, as you are doing
here, to disclose education records

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without the prior written consent of

the students whose identity will

become known that the Court has to
include in its order, to protect the
university, that the interest of

justice requires that the disclosure

be made without the prior written

consent of the students whose identity
will be disclosed.

JUDGE DIAMOND: 1 am certainly
prepared to order that, although it
seems to me this -- just What 1 knew
about this dispute yesterday, it seems
to me the university was on notice
that this could well have been an area
of inquiry and could have contacted
the students or their parents,
whatever the statute requires, but no
matter. 1 so find. There will be a
written order issued. 1 am in Vermont
right now, but 1 will ask a colleague
of mine to sign on my behalf`. My
Written order will make such a
finding. Is there anything else?

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1 MR. SCHWABENLAND: No, sir. 1 five, right?
2 JUDGE DIAMOND: Thank you. 2 A. Yes.
3 MR. PICCERILLI: Nothing else, 3 Q. But you also acted as hearing
4 Your Honor. 4 officer in evaluating the charge against the
5 MR. SCHWABENLAND: Thank how 5 whole softball team?
6 Your Honor. 6 A. As an entity, yes.
7 _ _ m 7 Q. Okay. And what did you
8 (End of telephone conference) 8 conclude?
9 _ _ m 9 A. 1 don't recall.
10 MR. PICCERILLI: We have just 10 Q. Have you acted as a hearing
11 had a conference, as the court 11 officer since being at -- since being at the
12 reporter has taken down, a conference 12 university, at St. Joe's, where you evaluated
13 with Judge Diamond regarding the 13 a sports group as an entity?
14 objection, the FERPA objection to 14 A. Yes.
15 questions about the softball team as a 15 Q. And this would be as to
16 whole. We all stated our positions. 16 nonsexual claims of misconduct?
17 The judge has ordered and he has 17 A. Yes.
18 indicated that he would order or sign 18 Q. And are you able to tell me in
19 a Written order that in the interest 19 your association in your time with the
20 of justice no prior notice to be given 20 university how many times that occurred?
21 by the university to students 21 A. Not with exactness,
22 regarding this particular matter, 22 Q. I don't want exactness, but can
23 students who were on the softball 23 you approximate for me?
24 team. Off the record. 24 A. At least a few times every
Page 183 Page 185
1 _ _ _ 1 year.
2 (Off the record) 2 Q. Okay. And the nature of these
3 _ _ _ 3 would be what, acting up or --
4 MR. PICCERILLI: Let me add 4 A. It could be a range of conduct,
5 this: Even to the extent that the 5 from hazing to violations of the alcohol
6 information that may be inquired about 6 policy.
7 constitutes education records under 7 Q. Have you ever imposed sanctions
8 FERPA or personally identifiable 8 against a sports team at the university
9 information is involved. 9 whereby you either suspend their activity or
10 _ _ _ 10 restrict their activity?
11 (Whereupon, a recess Was held 11 A. I can't recall.
12 from 2:37 p.m. to 2:42 p.m.) 12 Q. Have you ever imposed sanctions
13 _ m w 13 against a sports team Where you would impose a
14 THE VIDEOGRAPHER: Back on the 14 requirement that they have to do some
15 record, 2:42. 15 additional studies or to learn how to behave
16 BY MR. SCHWABENLAND: 16 correctly or something?
17 Q. Mr. Bordak, thanks. You've 17 A. Yes.
18 been patient. We had some matters to clear up 18 Q. Have you ever suspended the
19 with the Court. So it's now resolved. Can 19 activities of a sports team because of a
20 you -- let me go back, You indicated that you 20 finding of misconduct?
21 not only acted as hearing officer with regard 21 A. 1 can't recall.
22 to evaluating nonsexual charges against some 22 Q. It seems to me that that would
23 members of the softball team, which Was 23 be something you should recall.
24

24 perhaps more than one member but less than

A. 1 truly, honestly cannot
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recall. 1 have ~- whether it's restriction of 1 MR. SCHWABENLAND: Katie Bean.
individual members of the team or the team as 2 BY MR. SCHWABENLAND:
an entity, like, 1 can't remember whether -- 3 Q. Ms. Bean was just deposed
that would be a higher end of the sanction, so 4 Tuesday and she indicated that she would
that's not something that's regular. 1 can't 5 normally in years past talk to sport teams
recall whether 1 have done that. 6 about alcohol and drugs and to stay away from

Q. You don't recall your findings 7 it, but she was specifically asked after the
when you acted as hearing officer against the 8 incident with the softball team to go and talk
softball team, the girls' softball team, 9 to them about hazing. Do you recall that at
findings against them, whether it was 10 all?
responsible, not responsible, or undetermined? 11 MR. PICCERILLI: Objection to

A. 1 really can't remember. 12 form.

Q. So you don't know if you 13 THE WITNESS: I don't recall
imposed any sanctions whatsoever? 14 that.

A. 1 know that there were 15 BY MR. SCHWABENLAND:
sanctions imposed. 1 don't know whether they 16 Q. Do you recall Ms. Bermey going
were team sanctions, individual sanctions, and 17 and talking with the softball team about
what individual students those related to. 18 harassment?

Q. Do you know what sanctions were 19 A. 1 don't recall that. l
imposed? 20 Q. But the information concerning

A. 1 know that at some level there 21 the handling of this would be, again,
was restriction in performance, in 22 available in the file in your office, right?
competition Again, 1 don't know whether that 23 A. Yes.
was the specific individuals or Whether it was 24 Q. Do you know how many --

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team related. We are talking a couple of 1 Exhibit-1 just identifies those individuals
years ago, three years ago, and a lot has 2 who were charged with sexual misconduct; is
happened since then, 1 can't remember. 3 that correct?

Q. Can we agree that there were at 4 A. Or interim sexual misconduct, i
least some restrictions imposed as to 5 Q. Or interim? l
individual team members at least? 6 A. Correct. |

A. 1 don't know that there was 7 Q. But starting as of January of |
restrictions imposed on individual team 8 2015?
members. 9 A. Yes.

Q. But if you impose restrictions 10 Q. Interim just means that the
on a whole team then that would also be 11 softball team policy became effective as of
imposed on individuals, right? 12 June, but for those months prior to June 2015

A. Said that way, 1 would agree, 13 it was still handled under sexual misconduct,
that by nature of being on a team a 14 right?
restriction on the team would restrict 15 A. The interim sexual misconduct
individual people. 16 policy, as 1 understand it, Was in

Q. Ms. -- 1 forget the young 17 place because it did not-- the difference
lady's name who was just deposed on Tuesday. 18 between the interim sexual -- one of the major
Do you recall? 19 differences between the interim sexual

MR. PICCERILLI: Yes, 1 do. 20 misconduct policy and the sexual misconduct

MR. SCHWABENLAND: Would you! 21
share that with me? 22
MR. PICCERILLI: 1 think you're 23
talking about Katie Bean. 24

policy is that the interim did not cover
nonstudent respondents, yet that was still
going through, as I understood it, in
conversations with university council, since

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it was a campus-wide involving nonstudents,
the sexual misconduct policy then, when it
became effective in June, covered nonstudents.

Q. Okay.

MR. PICCERILLI: 1f1 just
might state, council is spelled
C-O-U-N-C-I-L.

BY MR. SCHWABENLAND:

Q. As a result of you acting as
hearing officer on the matters involving the
allegations against the girls' softball team
or some of the players on the team, did you --
did your office change anything to do with the
procedure or protocol either in investigating,
charging, conducting hearings, anything?

A. Not in response to anything
involving the softball matter, no.

Q. And how about on the other
parallel track of the sexual misconduct? You
know What the results Were on that, right? 1
mean, you did know what the results were on
that?

A. At the time. 1 can't recall
the results now.

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Q. Okay. Well, assuming that the
only women were the two found not responsible,
those two Would have been the investigator's
finding of nonresponsibility, right?
MR. PICCERILLI: Objection to
form.
THE WITNESS: Well, 1 don't
know with certainty that the two
mentioned here are the two in question
for the softball.
BY MR. SCHWABENLAND:
Q. No. 1 understand But there
is no other -- again, sexual misconduct track
would be by an investigator, right?
A. Right.
Q. This was around 2015 and in

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2015 the only two women on this were found not 17

responsible in May of 2015, Did 1 read that
correctly?

A. 1t was March.

Q. I'm sorry. March is the date
of the incident, right?

A. Right.

Q. Oh. I'm sorry. The date of

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Page 192 n
the incident Was March 24, 2015 , right?

A. Right.

Q. And what's the date where it
says created, 5/21/15?

A. That's when the report was
created on our end, like, within our system.

Q. Okay. So that the findings
Would have been concluded by then; is that
correct?

A. Presumably. 1 don't know when
the outcome was reached

Q. 1 don't see any other Women
there. So the -- would it be fair to assume
that those two were probably from the girls'
softball team?

A. Yes, but it would be an
assumption

Q. 1 understand

A. Yes.

Q. Can you recall anything that
Elizabeth Malloy said to you about her

investigation about the girls' softball team?
A. 1 cannot recall.
Q. But at some point would you

Page 193
have known what the findings were?

A. Yes.

Q. And if this says the findings
of the two girls on the sexual misconduct
thing was not responsible, then the sexual
charges against them was found to be not
responsible, right?

MR. PICCERILLI: Objection to
form.
THE WITNESS: Yes.
BY MR. SCHWABENLAND:

Q. Okay. Have you been involved
with any investigations involving -- and 1
don't need to know the student's name --
charges of impropriety or violations of
student conduct who's related to either
anybody on staff or the board of trustees or
anybody associated -- employed by the
university?

MR. PICCERILLI: Can we hear
that question back?

(Whereupon, the court reporter
read back from the record)

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- - - 1 reframe your question so that it

MR. PICCERILLI: Note my 2 reflects those broad categories, that

objection to the form of the question 3 Would make it better, that would make
BY MR. SCHWABENLAND: 4 your question better.

Q. Can you answer that? 5 MR. SCHWABENLAND: Okay. Let'S
A. Yes. 6 go back on the record and 1'11 try.
Q. Okay. 7 THE VIDEOGRAPHER: Back on

MS. SCHIMELFEN1G: 1 Want to -- 8 record 2:57.
can we go off the record? 9 BY MR. SCHWABENLAND:

THE VIDEOGRAPHER: Off the 10 Q. Okay. Let me try to rephrase
video record, 2:53. 11 the question, if 1 can, 1 am not sure 1 will

(Off the record)
THE VIDEOGRAPHER: Back on the
record, 2:55.
BY MR. SCHWABENLAND:
Q. We are at the point where you
just said yes, you have known of a case or
cases involving discipline proceedings against
a student who may be related to someone at the '
university, whether trustees or whatever; is
that correct?
MR. PICCERILLI: Read the

 

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question again And, also, what Were
the categories, because "whatever"
makes it -- 1 object to the form of
"whatever." 1 object to the form of
the question,

MR. SCHWABENLAND: Do you want l
to go off the camera?

MR. PICCERILLI: Yes.

THE VIDEOGRAPHER: Off the
record, 2:55.

MR. PICCERILLI: 1 know you are
trying to get this done, but 1 object
to the form of the question, You said
trustees, whatever. So l think you
need to state who is in the broad
category.

MR. SCHWABENLAND: Fair enough.
What he said yes to, read that
question,

(Whereupon, the court reporter
read back from the record)

MR. PICCERILLI: lf you can

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be doing it justice, but let me try. 1
believe you said you've had occasion to -- by
you 1 mean OCS -- had occasion to deal in
disciplinary proceedings involving students
who were in some way either related to a
member of the university, faculty, staff, or
board of trustees; is that correct?

A. Yes.

Q. And how often have you had that l
responsibility? l

A. 1 don't want to give a number, |
but it's somewhere between -- sometimes in '
regular there is faculty that have students on

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campus -- their children on campus, staff
members have children on campus and they're a
student like any other student that come
through our office, Sometimes 1 know there is
a connection Sometimes 1 don't.

Q. And would these all have been
nonsexual related offenses?

A. Both.

Q. And have those -- and who
decides whether it's placed into the sexual
offense category, under the sexual misconduct
policy, or the nonsexual, under the community l
standards policy?

A. Right. According to the policy
there is an initial review where the Title 1X
coordinator or deputy Title IX coordinator
will make that determination in consultation
with community standards

Q. So are all decisions made by
the Title IX coordinator, Dr. Perry?

A. Correct, in consultation with
community standards,

Q. And you Would be the one she
consults with?

50 (Pages 194 - 197)

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l A. Most often, yes, 1 Q. Okay. Do you know John Doe?
2 Q. Okay. And if you're not 2 A. In this matter?
3 available she would consult with whom? 3 Q. Yes.
4 A. The assistant director. 4 A. Yes.
5 Q. Okay. But more often than not 5 Q. And did you know him before the
6 this was in consultation with you? 6 matter came up -- was raised by Jane Roe about
7 A. Correct. 7 him?
8 Q. And so what criteria is used as 8 A. No.
9 to whether or not it should be placed into 9 Q. So that's the first time you

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which category?

A. The definitions of conduct
precluded by the policy. So We're looking at
the sexual misconduct to see what conduct is
covered and whether the allegation or
complaint met the definitions or approached
those definitions of conduct, then it would go
to the sexual misconduct policy.

Q. Now, have you had other cases
involving claims of sexual misconduct where
the couple is, 1 am going to use the word
"just," but just kissing?

A. Yes.

Q. And how many of those have you
had in the last year or two?

Page 199

A. 1 can't put a number on it.
Q. Can you give me a range, an
approximation?

A. There have been some in the
past, but 1 can't give you a range.

Q. Are we talking less than five,
more than five?

A. Over the course of-- what was
the time frame?

Q. Well, 1 Will go with three,
four years.

A. 1 would say less than five, but
that would be an answer based on my current
recollection, which is not -- I'm not saying
that it's the specific number,

Q. And would that be handled by
the investigator, then?

A. Yeah. Any conduct that's
covered by the SMP would be handled by the
investigator.

Q. Have you ever had occasion
where you're uncertain which category to place
it in?
A. No.

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10 came to know him, his involvement in this
11 matter, right?

12 A. Yes.

13 Q. And when did you first meet

14 him?

15 A. 1 believe it was the outcome

16 meeting.

17 Q. You were not involved in the

18 investigation or the fmdings; is that

19 correct?

20 A. Correct.

21 Q. Would you have been involved in

22 the initial referral by Dr. Perry?

23 A. The initial review?
24 Q. Yes.
Page 201
1 A. Yes.
2 Q. And the initial review would be
3 Where -- When?
4 A. Well, 1 don't have a date, but
5 between the complaint being filed and the
6 assignment to the investigator was the initial
7 review.
8 Q. Okay. And did you know Jane

\O

Roe or do you know Jane Roe?

10 A. 1 don't recall meeting her

11 prior to this matter either.

12 Q. So when you first met her it
13 would have been when, at the outcome?
14 A. 1 believe so.

15 Q. So did you have a separate

16 outcome meeting to advise Jane Roe?

17 A. Yes.
18 Q. And did you ever meet Jane Roe
19 before that?

20
21

A. 1 don't believe so.

Q. Okay. Because she works in
that office with Ms. Bean.

A. So now -- 1 may have met her in
terms of a Worker within the building, but

51 (Pages 198 - 201)

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Page 202
there are many workers within the building and
so 1 don't have any preexisting relationship
or have -- knew her much before.

Q. Okay. Jane Roe was a freshman
in September 2016 and she worked on a
part-time basis in the office with Ms. Bean in
the same building where you're at, right?

A. Yes.

Q. But you have no recollection of
having met her or having any conversation that
sticks out in your mind?

A. Now that you mention that, as
an employee in another office 1 probably met
her, knew who she was7 just like the other 20
employees within the office,

Q. Okay.

A. But 1 don't know that 1 have,
like, met her or had prolonged conversation
with her outside of her context of an
employee.

Q. Okay. Your role in the

accusation -- the investigation of the
accusation was -- as 1 understand it, it came
into -- the complaint came into your office
Page 203

through Dr. Perry; is that correct?

A. Correct.

Q. And she would have generated a
report?

A. Correct.

Q. And was a report also generated
by public safety?

A. 1 believe so, yes,

Q. And so those two items would
have come into your office, right?

A. 1 did not receive the public
safety report.

Q. Okay. Well, assuming that it
came into your office, how would it come in?

MR. P1CCER1LL1: 1 am going to
object to the form of the question,

He has testified about that report.

Had no recollection of it, but

MR. SCHWABENLAND: Okay.
BY MR. SCHWABENLAND:

Q. But assuming that public safety
would send a report, how would it come in?
Would it come in hand delivered, by computer?

A. Through email.

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Page 204

Q. Now, we know in this case here
Emily Forte conducted the pre-investigation
meeting. Is that your understanding?

A. Yes.

Q. And what was your involvement
up until then?

A. Assisting Emily procedurally
with the -- it may have been, and 1 don't have
specific recollection, but when these matters
take place 1 would help the assistant director
with either coordinating the scheduling or
creating the documents for the meeting. We do
that collaboratively, so 1 don't recall who in
this instance did that.

Q. Okay. What documents need to
be prepared for the meeting?

A. The checklist and the letter,
which is the notice and invitation to the
meeting.

Q. So the notice and invitation to
meet Would have been the first letter to go
out; is that correct?

A. Correct.

Q. And that's basically a standard

 

Page 205
letter that's sent out, just changing the
name -- just changing the place and the date
as to where the action occurred, right?
MR. PICCERILLI: Objection to
form.
THE WITNESS: There is -- it's

a template, but it may be more than

just that. 1t's a case by case.
BY MR. SCHWABENLAND:

Q. So when you said you assisted
her, that's a two-page letter, right?

A. About that. 1 don't know the
specifics

Q. And so when you say you would
have assisted her in preparing this, is this,
What, you would have reviewed it after she
worked it up?

A. Or did it for her and on her
behalf created it. 1mean, this is -- it's a
two-person office, that we do things
collaboratively, So 1 would have -- 1 could
have helped with her in this instance in the
administrative pieces.

Q. Did you make any determination

52 (Pages 202 - 205)

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thing called Memorandum of Understanding with 23
Community Partners dated February 23, 2017. 24

CONFIDENTIAL
Page 206 page 208
as to whether or not this case should be 1 For the record, they are Bates stamped 1056 to l
placed into the sexual misconduct track or the 2 1064. Then there is the Memorandum of
other track? 3 Understanding with Campus Partners, the same
A. 1t was not my determination to 4 date, February 23, 2017 and for the record
make, but through the initial review and 5 1'11 represent that they are Bates stamped
consultation 1 agreed with the decision to go 6 1065 to 1085. Now, you don't have them in
sexual misconduct policy. 7 front of you. l will pull them out. First of
Q. So did you -- so do you 8 all, do you remember those two memorandums of
actually recall making that determination? 9 understanding?
A. The determination was not mine 10 A. I member them being shared with
to make, but 1 -- 11 me, but I was not a part of any composition or
Q. 1 know -- 12 creation of them.
MS. SCHIMELFENIG: He wasn't 13 Q. Do you recall being a signatory
finished 14 to those documents, though?
MR. PICCERILLI: Let him l 15 A. Yes.
finish. 16 Q. And so when they were shared
THE WITNESS: You're asking if 17 with you when were they shared with you, on
1 remember making the determination 18 the date you signed them or before?
1 am saying, the determination was not 19 A. l can't recall.
mine to make. 20 Q. Who shared them with you?
BY MR. SCHWABENLAND: 21 A. 1 can't recall specifically.
Q. So you didn't make any 22 Q. ls this -- is this, like, at a
determination, then, or you did? 23 specific meeting to say, "Let's review this
A. 1 did not. 1 Shared in 24 Memorandum of Understanding" or either one or
Page 207 Page 209
consultation my thoughts with the Title IX 1 is this, "Hey, we finished these Memorandums
coordinator. 2 of Understanding, just so you know, Here's a
Q. The Title IX -- Dr. Perry? 3 copy. Take a look at it"? Do you recall
A. Dr. Perry, correct. 4 anything like that?
Q. So you told her you agreed with 5 A. 1 don't recall a specific
her? 6 meeting, but 1 also don't recall it being as
A. Yes, my recollection 7 casual as "Here's the document." 1 don't know
Q. Did she ask your opinion? 8 specifically.
A. l don't know that it was a 9 Q. Now, in those memorandum OCS is
conversation like that, asking my opinion lt 10 identified here; is that CorreCt?
was a review of the complaint in terms of the 11 A. 1 arn not Sure. 1 don't have
policy and the conduct 12 the documents committed to memory.
Q. And so the complaint would be 13 Q. 1 Will go through that. 1 was
what? 14 trying to speed this along here. What was
A. The initial complaint, so what 15 your understanding as to the purpose of those
was the -- 16 two documents? Again, this is February of
Q. Dr. Perry's report? 17 2017.
A. Dr. Perry's report. 18 A. 1 actually don't know, So 1
Q. Okay. l am jumping back a 19 would like to see the documents and form that
second There are certain documents that -- 20 response.
bear with me a second here. l'll represent to 21 Q. Okay.
7 you -- and we have the documents -- there is a 22 MR. PICCERILLIZ Let'S go off

the video record, please.
THE VIDEOGRAPHER: Off the

53 (Pages 206 - 209)

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Page 210 Page212|
1 video record, 3:11. 1 __ _ _
2 _ _ _ 2 (Deposition adjourned Time
3 (Off the record) 3 noted, 3;16 p.m.)
4 4
5 MR. SCHWABENLAND: We had a 5
6 discussion off the record All 6
7 counsel have agreed to continue this 7
8 deposition Counsel for the 8
9 university has to leave at 3:15, now. 9
10 Counsel for Ms. Roe has to leave at 10 1
11 4:00. Counsel f`or the university has 11
12 agreed to reproduce Mr. Bordak, 12
13 hopefully at a soon time -- 13
14 soon-to-be-scheduled time, because we 14
15 are on a short time schedule. 15
16 THE VIDEOGRAPHER: We're back 16
17 on the record, 3:15. 17
18 MR. SCHWABENLAND: Mr. Bordak, 18
19 we have taken a lot of breaks because 19
20 there's been some logistical issues 20
21 that all counsel had to work out and 21
22 so we were not able to get your 22
23 deposition done today and certain 23
24 counsel have to leave at 3:15 and 4:00 24
Page 211 Page 213
1 andit's now3:15. So all counsel § CERfI-FICATE
2 have agreed to conclude your 3 . . _
3 deposition for today, with the §
4 understanding that we are going to try 6 Ido hereby certify that l am a
5 to reschedule this as soon as possible Netalv Publie in good Stattding, that
6 and We,ll bring you back in an d 7 Lhef aforesaid testimony Was taken
e ore me, pursuant to notice, at the
7 conclude your deposition So 1 thank 8 time and place indicat€d; that said
§ y]')ou for your patience and that's fine. 9 g;;’;;‘:§t §:S“E’gorl:§gly :::m to ten :
0 yOll -- nothing but the truth; that the
10 MR. PICCERILLr Tho only other 10 ;§:emcflnyr§:§§§§dd;§’§;§iI‘;’;‘S
1 1 thing 1 Wanted tO I`lOt€ 1S that We ll shorthar>i/d by me and thereafter
12 started this deposition at about 10:00 transcribed .““der my St‘p‘irvisi°“ With
_ _ 12 computer-aided transcripnon; that the
13 today and 1t's now 3:15. The Witness dooosiiion is a true and correct
14 has not had an opportunity for lunch. 13 ’°F°rd lime testimony given by the
15 We have had some breaks, mainly, and 14 :§;I:i:sesi::;ii::ia:ol B;:l::;,eirnosfaid
16 the longest break was to consult with action, hot interested in the euteeme
17 the judge 011 a Pal'ticular issue 50 i; there\ii/fiTNEss my hand and official
18 it was certainly no doing of the Seal this llth day Of July 2013-
19 witness's that We had those breaks §§
20 MR. SCHWABENLAND: No, not at 19 ,<{/,,_¢“3(4, WAM,HA
21 all. He's been very patient. §(1)
22 THE VIDEOGRAPHER: The time is 22 mozyk
23 3:16. We're now going off the video 23 N°““y P“b“°
24

record 24

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Page 214 n _ Page 216-l
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- - - 2 ACKNOWLEDGMENT OF DEPONENT;
INSTRUCTIONS TO WITNESS 3 - - - '
- - - 4 I, WILLIAM BORDAK, do hereby certify
5 that I have read the foregoing pages l to 212
Please read your deposition over 6 and that the same is a correct transcription
carefully and make any necessary corrections 7 of the answers given by me to the questions
You should state the reason in the appropriate 8 therein propounded, except for the corrections
space on the errata sheet for any corrections 9 or changes in form or substance, if any, noted
that are made. 10 on the attached Errata Sheet.
After doing so, please sign the 1 1 _______________________
errata sheet and date it. 12 DATE
You are signing same subject to the 13 SIGNATURE
changes you have noted on the errata sheet, 14
Which will be attached to your deposition 15 Subscribed and sworn to
It is imperative that you return the 16 before me this ______ day of ______
original errata sheet to the deposing attorney 17 _ _ _, 20_ '
within thirty (30) days of receipt of the 18 '
deposition transcript by you. If you fail to 19 My commission expires:
do so, the deposition transcript may be deemed 20 ___________
to be accurate and may be used in court. 21
22 ___________
23 Notary Public
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APPEARANCES:
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EXHIBITS
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8 SSeel-lt§ lesrc%?l 7 dc?&A on Campus 401
9 9/22/17 Dear Colleague Letter 401
10 og{‘?§ibited Conduct, SJU001180- 426
11 Report, SJU000335 426

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367 5 Coursebook information
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QUESTIONS MARKED:
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BY MR. MlRABELLA:

Q. Mr. Bordak, this is the
continuation of your deposition that was
started last week. 1 think Mr. Schwabenland
did the questioning. In fact, I am certain he
did, because 1 sat next to him. I am going to
be doing the questioning today. 1 understand,
speaking with your counsel off the record, you
wanted to clarify an answer or testimony you
gave in that deposition.

A. Yes.

Q. And 1 will say that you're free
to do so. You're also free to do so in
response to answers you give me up until the
time we close the record as well. Anyway,
please proceed.

A. Okay. l can clarify it now.

Q. Oh. As to the earlier matter,
I would prefer you do that now, since I don't
know what it is.

A. Yes. Sorry. I misunderstood.
So, as l recall, a question last Friday came
up during the first deposition about allowance

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(It is agreed by and among
counsel for the respective parties
that sealing, filing, and
certification are hereby waived, and
that all objections, except as to the
form ol' the question, be reserved
until the time of trial.)

THE leEOGRAPl-lER: This is the
continuation of the videotaped
deposition of William Bordak taken on
Friday, July13th, 2018 and at this
time the court reporter will swear in
the witness.

WILLIAM BORDAK, having been
duly swom, was examined and testified
under oath as follows:

THE leE_ocaAPHER; You may

begin the questioning. We are on the
record at 8:28.

ExAlwlNATloN

224

for advisers to review documents and whether
it was my recollection that that had ever
happened. At that time on Friday it was true,
my recollection that it had not, but through
the production of documents requested by you
all that 1've produced those documents and in
preparation of those documents I did see that
there was one instance where there was an
allowance for an adviser to review documents.

Q. And that would be in the
documents that were produced in connection
with some of the other SMP documentation of
investigations that was produced?

A. Correct. Correct.

Q. And was that an
investigation - can you identify that
particular case in any general way so l can -

A. lt was -
MR. PlCCERILLl: Do you know
the number --

BY MR. MlRABELLA:

Q. l certainly don't mean the
name. I meant in terms of either the
allegations -

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A. I would be guessing, but if l
took a look at that list I might narrow it
down in terms of a year or time frame. lt
certainly wasn't this academic year. l know
with certainty that it wasn't this academic
year. We have already looked at that list.
Q. Sure.
MR. MIRABELLA: Now, do you
have the Bates label? The list is
331, I think, 332, or 361, 362'.’
MR. PlCCERILLI: I don't have
it, no. l don't have any documents
with me.
MR. MIRABELLA:
some. Bear with mejust a second. l
will pull up that list for you.
MR. PlCCERILLI: Can we go off
the video record?
MR. MIRABELLA:
that we can get to it quickly. See if
I'm proven right or wrong. Good
suggestion. Let's go off the video.
THE V]DEOGRAPHER: Off the

record, 8:3|.

l may have

l am optimistic

227

documents. Can you tell me what documents you
looked at following the deposition and before
you arrived today other than that particular
document?

A. That particular document, so l
looked at the summary of findings of fact,
determinations of outcome -- l‘m not recalling
the title correctly - but those documents
that were produced, those are the ones that I
looked at.

Q. Did you look at any other

documents?

A. No.

Q. Did you review your deposition
testimony?

A. No.

Q. Did you do any research‘.’

A. No.

Q. Having seen that in the
documentation it refreshes your recollection
that there was a circumstance where an adviser
was permitted -- what was the adviser
permitted to see in that case?

A. As I recall, it was the

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(off t_h; r;cord)

THE leET)cRAm-maz we are on

the record, 8:32.
BY MR. MIRABELLA:

Q. If need be, we can attach and
mark this as an exhibit, but I'm going to give
you pages 1361 and 1326 of SJU’s production,
which I think has the list. Just take a peek
at that and let me know which one you believe
it is.

A. l believe -- and I'm going to
clarify it with, [ am not certain, but l
believe -- you wanted the number or -

Q. Yes.

A. 68252.

Q. That's the StarRez number?

A. Yes, the StarRez number, what
we call our incident report number. l believe
based on this, but I can't be certain without
names.

Q. Understood. Now, you mentioned
that that came as a result of reviewing

228

investigative report.

Q. And at what point in the
proceedings?

A. lt was - I believe -- I am not
certain at what point, but it was after an
outcome, because there was an investigative
report, and it may have even been after the
appeal period concluded, but I can't be
certain.

Q. And do you know why in that
instance the adviser was permitted to see it?

A. I do not.

Q. Was the adviser affiliated
directly with SJU or not?

A. No.

Q. Who gave the adviser authority,
consent, permission or whatever to access to
the investigative report?

A. It was through a conversation
with counsel that the decision was reached.
With our general counsel the decision was
reached to afford the opportunity for the
adviser to see the documents.

Q. All right. So it was at the

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direction of general counsel'.’

A. l don't know if it was at the
direction of or through consultation with.

Q. Did you believe you had
authority to give that access without -- with
the approval of general counsel'.’

A. No.

Q. The questioning left off at
your last deposition one area which l probably
will eventually get back to, but l am going to
move into some other areas and l am going to
try to when possible tell you when I'm
changing either topics or areas of questioning
in advance so that it is not so jarring or you
can understand the questions in context.

As l understood it from earlier
testimony and other depositions, Roe changed
her residential housing during her freshman
year. l don't know if you're familiar with
that testimony or not.

MR. PICCERILLI:

form.

BY MR. MIRABELLA:
Q. Outside of the testimony are

Objection to

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Community Standards?

A. Yes.

Q. Do you know on how many
occasions'.’

A. I do not.

Q. Do you know if it's been more
than one?

A. There's been more than one

report shared. I don't know that l would
characterize that as complaining about another
student.

Q. All right. There has been more
than one report. What do you mean?

A. There's been --

Q. And so it's perfectly clear, I
don't want to hear anything identifying the
other student.

A. Sure. Yes.

Q. So just tell me what you can
share about any other communications from Roe
that you're aware of to Community Standards.

A. As you mentioned, there was a
history with roommates in first housing. l
don't know the specifics of that. l don't

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you aware that Roe changed her residential
housing‘.’

A. Yes.

Q. All right. Roe also testified,
l will represent to you, that she had a very
difficult -- I shouldn't paraphrase. l think
that bullying was the word that she used in
connection with her original housing and her
suite mates. Did Roe file a complaint or
articulate a complaint or communicate a
complaint to Community Standards about her
suite mates or about her housing or about any
issue other than the one she brought about
concerning John Doe?

MR. PlCCERILLI: Objection to
form.
THE WITNESS: Are you asking

about -- that's a pretty broad range.
BY MR. MIRABELLA:

Q. lt's a very broad question. lt
is a broad question. lwas trying to actually
make it less broad. Are you aware that Roe
has articulated or communicated any complaints
about other students other than John Doe to

232

know how that initially came to the

university's attention. A lot of that is
addressed through residence life as proxies

for Community Standards process. So l don't
know the particulars, but l know that there
was that instance. And there was another
instance where a student entered her room with
the door locked and that was reported to the
institution for follow-up - with the door
unlocked, l should say. l misspoke.

Q. Are both those in the StarRez
database'.’

A. Yes, they are.

Q. Can the StarRez database, can
you run a query identifying with Roe's student
l.D. number as to any other complaints or
issues that she has been either the
complainant in or respondent in?

A. Yes.

Q. Has Roe been the respondent of
any matters in the Office of Community

Standards‘.’
A. Yes.
Q. Can you tell me how many?

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A. No.
Q. Because you can't tell me or
you don't know?
A. l do not know.
Q. But at least one'.’
A. Yes.
Q. Can you tell me, without
identifying anything about the complainant,
the nature of the Community Standards issue?
A. The only issues -
MR. CHESNEY: Object to form.
THE WITNESS: The only one that
l recall was drug related, marijuana
related, but l couldn't speak to
specifics about that incident or other
incidents.
BY MR. MIRABELLA:
Q. Roe testified that she was on
probation for using marijuana at St. Joe's.
Did that probation come from an investigation
that happened through Community Standards?
MR. CHESNEY: Object to form.
THE WITNESS: lcouldn't answer

that.

235

A. I don't know who ultimately
was - it was a shared project with residence
life, because it's also used for housing
assignments. StarRez, the Rez part of it is
residential. The primary focus of the product
is for housing assignments.

Q. You are not directly involved
with residential life, correct?

A. Correct.

Q. Can you explain your
understanding of how residential life uses the
database?

A. For the housing assignments.
So that is where you live -- where a student
lives, that's recorded within StarRez. That's
where the billing, check-in, checkout, that's
what determines the cost of room for the
student that's billed.

Q. The StarRez numbers that are
assigned to the SMP investigations, where do
they come from or how are they generated?

A. 1t's sequential, so whatever
report that's generated it's one more StarRez
number.

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BY MR. MIRABELLA:

Q. Because it's a poorly phrased
question or because you don't know?

A. ldon't know the particulars
about the incident,

Q. So let me ask it a different
way. lfa student is on probation -- and l'm
just going to say for smoking marijuana -- is
there any other office at the school that
would investigate and impose a sanction for
doing that outside of Community Standards?

A. No.

Q. Tell me a little bit about how
the StarRez database - first off, when was it
started?

A. January 2015 - 2011. Sorry.
l misspoke. January of 2011 we started using
StarRez as our tracking software.

Q. What had you used before that,
if anything?

A. An in-house system through
what's called Banner.

Q. Who was responsible for getting
StarRez up and running‘.’

236

Q. What if it's not a complaint
involving sexual misconduct? Does it still
get a StarRez number'.’

A. Yes.

Q. What if it is an anonymous
complaint, does it still get a StarRez number?

A. If it is communicated to
Community Standards, yes. lf it is reported
to the Title IX coordinator that may not be
within our system, That's a separate tracking
that the Title lX coordinator maintains.

Q. Does the Title lX coordinator
always share Title [X complaints with
Community Standards?

A. Not always.

Q. Can you explain how that works,
because there's some overlap, I would assume,
but l don't work in Title lX or in your
office, lf you can just explain how the
parallel systems work?

A. Yeah. They are not really
parallel systems. So if a complaint goes to
the Title lX coordinator and not anyone else,
so a student goes to the Title lX coordinator

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and shares or discloses an incident, if there

is no known respondent, so there would be no
Community Standards process, it would not be
shared with my office, because there would be
no Community Standard or disciplinary process
to address the complaint. All right. Or if

it's a non-student complainant it would not be
shared with my office, because there's no
student respondent to be addressed through a
disciplinary process. So those complaints may
not be in our StarRez system if reported
directly and exclusively to Dr. Perry, the

Title lX coordinator.

Q. And could there be other
circumstances that you're unaware of where the
Title IX coordinator doesn't share a
complaint with your office?

A. Yes.

Q. To your knowledge, does the
Title IX coordinator have a way of cataloging
or tracking or identifying all of the
complaints that are shared with her office
that are not shared with Community Standards?

A. Yes.

239

So a pipe bursts and there's a report
generated on that, that's in StarRez as well.

Q. Fire code violations, which
one --

A. Oh, it would be Community
Standards. Anything that would have a
Community Standards follow-up would be going
through Community Standards. We use StarRez
as a warehouse for all incident reports that
involve students or student residence halls.

So if there is a -- like l said, a pipe bursts

or a broken window, like, accidental, ceiling
tile broken, accidental, those are all in
StarRez as well. So that's part of the
numbering.

Q. I didn't intend to get into
this in much detail, so l wasn't planning on
marking it as an exhibit. The division of
student life puts out an annual report. l
guess annually. Are you familiar with that?

A. Yes.

Q. You're welcome to see it to
review it. l want to ask you just one
question about one of the entries and then you

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Q. Do you know how that system is
organized or -

A. Not specifically.

Q. ls it some sort of computer
software?

A. l am not sure.

Q. But you know some system
exists?

A. Yes.

Q. The Sta rRez system started
in - was started in 2011, correct?

A. January of2011.

Q. The numbers on each incident
are handled sequentially. How many StarRez
numbers are generated roughly per year, just
by way of estimate, through Community
Standards?

A. So the StarRez - it's
important to note that the StarRez software
also houses reports that are not handled
through Community Standards. So our residence
life office uses it as a warehouse for other
reports that might come th rough, whether it's
facility related or residence hall related.

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can take as much time with it as you want. So

it has a Community Standards by the numbers
that says, "16442 incident reports addressed
through Community Standards process (7 percent
decrease from last academic year)."

MR. PICCER[LLI: Can we have an
identification of the document'.’

MR. MIRABELLA: Yes. We may
have to mark that whole thing as an
exhibit just so -

MR. PICCERILLI:

before you ask him questions about it?
MR.MIRABELLA: we‘llmarkrhac

Can we mark it

as Exhibit-1 -- I'm sorry - whatever
sequential number we are up to from
the other deposition.

(Wh¢;-e“u¢§m, Exhibit Bordak-2
was marked for purposes of
identification.)

Bv MR MIRABELL_A: m
Q. Mr. Bordak, did you have a
chance to look at that statistic or data

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point?

A. lt closed. l want to make
sure - this is the page you're looking at?

Q. Yes.

A. l just want to make sure. lt
would be Page 4 of that document.

Q. Can you just read into the
record the Community Standards paragraph so l
can ask you about it in a little bit of
context?

A. Sure. The header is "Community
Standards," the first bullet, "16442 lncident
Reports Addressed Through Community Standards
Process (7 percent decrease from last academic
year ." The second bullet, "757 Unique
Undergraduate Day Students Addressed Through
the Community Standards Process (8 percent
decrease from last academic year, 15 percent
of undergraduate day enrollment)." And the
third bullet, "336 Violations of The Alcohol
and Drug Policies (23 percent decrease from
last academic year)."

Q. The first number, is that
16,000?

243

(Whereupon, Exhibit Bordak-3
was marked for purposes of
identification.)

BY MR. MIRABELLA:

Q. Mr. Bordak, we are on the video
and l don't want to rush you, but l know we
have some time constraints. Do you need time
to review this before l ask you some questions
about it?

MR. PlCCERILLI: He should
review it at least briefly.
MR. MIRABELLA: Sure.
THE VIDEOGRAPHER: Off the
record, 8:51.

(Off the record)

THE VIDEOGRAPHER: On the
record, 8:53.
BY MR. MIRABELLA:
Q. Mr. Bordak, you had an
opportunity for a few minutes to review these

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A. No. l think that's a typo on
this document. lthink 442 sounds like a more
appropriate number. 1 wonder if that is 16,
17 in the production of this document, that
there was an error in this. I can't say for
certain, but we would not have 16,000 reports
in an academic year.

Q. Right. And that also seemed to
reconcile with the StarRez sequential
numbering system.

A. l am inclined to say that the
442 is more in line with what we would see in
a year.

Q. And to be fair, you already
said, the best you can tell, it appears to be
some type of typo, but you're confident that
the 16,000 is not reflective of--

A. Yes.

Q. We'll leave that. I am
finished with questioning on that for a
moment. Just leave that with the court
reporter.

MR. MIRABELLA: So let's mark

his as Exhibit-3.

244

two pieces of paper marked as Exhibit-3 Can
you identify for the record what they are'.’

A. The first page is a summary
document that we create for sexual misconduct
investigations to kind of have in one place
all of the dates and information regarding an
incident more easily accessible. And the
second page is where we log when the
respondent and complainant review the
investigative reports just for our recording.

Q. Let's start with the top sheet,
the Community Standards summary. Are these
prepared for every matter that Community
Standards investigates or that there is a
matter looked into by Community Standards?

A. As the title would suggest,
it's for sexual misconduct policy
investigations. So all sexual misconduct
policy investigations have these documents
created.

Q. Were these documents created
before the interim sexual misconduct policy
was put in place in 2015?

A. No.

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Q. Was there a similar or some
sort of analogous record created for sexual
misconduct investigations before 2015?

A. No.

Q. ls there a Community Standards
summary sheet for investigations of Community
Standards violations that don't involve sexual
misconduct?

A. No.

Q. l am going to ask you some
questions about the information. Who prepared
this document Bates labeled 332?

A. 1 did.

Q. Do you prepare all the
Community Standards summaries for sexual
misconduct policy investigations‘.’

A. l do.

Q. So I am going to ask you about
the interim measures box, even though that's
just the first thing listed. Do you see where
I'm referring to? It's sort of the upper
left.

A. Yes.

Q. What's the "Sent to banned"

247

Q. All right. Moving down the
document a little bit, it has incident date,
report date, and then a 60-day date. Do you
see that?

A. Yes.

Q. And then beneath that it has
outcome final date. Can you explain to me
what that means?

A. The incident date is the date
of the incident. The reported date is the
date that it was reported to the university.
The 60 day is 60 day from reported date. The
outcome final date is when, if there is no
appeal -- well, even if - so when the outcome
is final. So at the conclusion of an appeal
period if there was an appeal and an outcome
wasn't changed or an appeal and there was an
amendment and - so when the outcome is final
we reco rd that date.

Q. There is Title IX guidance
about the importance of timely investigations
and the term 60 days is frequently used. ls
it your understanding that the 60 days
includes the appeal period or does not include

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refer to'.’

A. So hannedalias@sju.edu is an
email alias created by security and that is an
email alias distribution list that any contact
restrictions or area restrictions or interim
measures that public safety would need to be
aware of that we send it to.

Q. All right. And what is sent to
public safety, what information?

A. If it's a contact restriction
it would be student name. There are contact
restrictions in place between student name and
student name.

Q. Anything further?

A. No.

Q. And beneath that it says,
"Recorded in StarRez." That just means that
the contact restrictions being communicated to
the safety office was sent?

A. We also record it in StarRez as
an interim measure so that if something were
to happen, a violation of that contact
restriction or an area restriction, we would
have a record that it was in place.

248

the appeal period under Title IX?

A. lncludes the appeal period.

Q. Moving down in that same side
of the document, it says "Complainant PlM
Notice." Do you see that?

A. Yes.

Q. And then "Respondent PlM
Notice," what does that refer to?

A. Pre-investigation meeting
notice. So it would be the communication to
the student scheduling the pre-investigation
meeting.

Q. ls that communication in
writing?

A. Yes.

Q. And is that also referred to as
notice of process?

A. Yes.

Q. ls any other communication in
writing done, given to the respondent, other
than the Notice of Process Letter?

A. When the contact restriction is
put in place that's in writing.

Q. So at the time of the

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pre-investigation meeting the only
documentation from the school other than a
contact restriction would be the information
that's set forth in the notice of process?

A. Can you repeat that, please?

Q. Sure. As of the time the
respondent appears at the pre-investigation
meeting the only thing in writing from the
school that the student has -the respondent
has received is the information in writing
that's set forth in the Notice of Process
Letter?

A. Yes, unless there was
additional email communication with the
student that was more,

Q. In this case the Notice of
Process Letter was prepared or signed by you?

A. l don't recall,

Q. Would that be uncommon'.’

A. No.

Q. lf it is signed by you does
that mean necessarily that you prepared it?

A. Yes.

Q. How do you prepare the Notice

251

Title IX.

Q. What is the significance, if
any, of 60 days?

A. ln our policy we say that in
most cases matters would be concluded within
60 days and we do that to provide some notice
to students about what we anticipate at a
maximum that process might look like, but
there is always - not always, but there is
certainly times when that process concludes
outside of the 60 day. So this one is three
days outside of the 60 day.

Q. And to your understanding, is
there any direct either regulation or guidance
in Title IX that says the investigation should
be concluded within 60 days?

A. lam not sure the exact
language, but l know it's not must be
concluded.

Q. Along that same track, there
was an appeal in this case, correct?

A. Correct.

Q. All right. And the appeal was
decided prior to the time the respondent had

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of Process Letter'.’

A. We have a template that we -
when l say we, in Community Standards, and so
if it was from me I would take the template
and add any other relevant information for
this complaint and any additional information
that might need to be included that's specific
to the specific complaint.

Q. All right. We'll mark as
Exhibit-4 the Notice of Process Letter. l
want to ask you some questions about it, but I
think it's probably smarter to get through
this document first so that we can set it
aside and then change the general area of
questioning.

Continuing on with the
Community Standards summary document, is it
reasonable to infer or does SJU consider that
in this instance the outcome date was outside
of the 60-day period required by Title IX?

A. I don't believe the 60 days is
required by Title lX.

Q. And just explain what you mean.

A. Sixty days is not required by

252

an opportunity to review the investigative
file. Is that also common practice at
Community Standards?

A. That would be up to the
student, So l wouldn't say it's common
practice, We are going to proceed with our
process. If the student - when the student
comes in to review the investigative report is
up to the student.

Q. Well, it's not entirely up to
the student because he has to give Community
Standards notice, correct?

A. He has to schedule a time. And
we do that mostly so that both students
involved in the matter aren't in the office at
the same time.

Q. And if he's bringing an adviser
he has to give advance notice'.’

A. Unless circumstances call for
an expedited, which - if` a student said that,
"l really need the adviser tomorrow," we would
consider that in terms of whether it's
expedited.

Q. There were communications in

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this case about John Doe scheduling the
meeting and seeking accommodations and the
exchange of emails, correct?

A. Yes.

Q. Was he ever advised that the
appeal would be decided regardless of when he
reviewed the investigative documents?

A. He was advised of what the
appeal process is and the appeal process is
outlined in the policy. So he wasn't advised
that it would proceed, but he was also not
advised that it would be stopped.

Q. There is a time limitation
after the outcome meeting set forth in the
policy as to when the complainant or
respondent can review the file'.’

A. l believe, yes.

Q. All right. And that's five
days? ls that the time limitation'.’

A. l believe so. l don't want to
misspeak. If you have a policy, l can
reference.

Q. l don't have it handy. But
there is some set time limit, correct?

255

the appeal was decided?

A. At that point he wasn't -
neither student were able to submit anything
additional in writing to be heard at the
appeal or reviewed during the appeal and so
whether he reviewed the documents on a Tuesday
or a Saturday, it wouldn't have changed the
fact that he would not have been able to
provide additional documentation. So, as we
saw it, we didn't feel we needed to tell him
that it was proceeding. He wouldn't have had
an opportunity to share after the review
anyways.

Q. So [ am correct he was notified
that the appeal would continue regardless of
when he saw the tile?

MR. P[CCERILLI: Objection to
form.
THE WITNESS: Yes. Canl
clarify?
BY MR. MIRABELLA:

Q. Yes.

A. He wasn't notified by me, but l
can't speak -- l am not aware of notification

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A. Yes.

Q. Was is the purpose of that?

A. So that the process doesn't
prolong even further.

Q. But in this case John Doe asked
or required additional time beyond the five
days because of the issue with accommodations

and his adviser, correct?
MR. PICCERILLI: Objection to
form.
THE \VITNESS: Can you repeat
that again'.’
BY MR. MIRABELLA:

Q. Sure. ln this case John Doe
was communicating that he wanted
accommodations in connection with his review
and he had a request and he, in fact, received
an additional time window to go review the
file, correct?

A. Correct.

Q. And in that process was he ever
advised that although he was being granted
additional time to review the file it would
not affect the timing of how it went and how

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from others. but he was not notified by me.

Q. In the bottom of that same page
where it says, "Witnesses added as
participants in StarRez," do you see that box?

A. Yes.

Q. What does that mean?

A. That was really put on the
document as a reminder to add as witnesses in
StarRez those that came through the
investigative report. We didn't - we in our
system record all of the people, all of the
students involved and indicate participant
types. And so in an investigative report it
might outline two or three students who are
interviewed by the investigator as a witness
and we want to add them into our system,
identifying them as witnesses in the matter.
And so that is just a reminder. Really, this
sheet is a compilation of important dates. If
people, you know, had questions on dates it's
in one place and that's also a reminder for
some of our housekeeping things, to make sure
that they are squared away in StarRez.

Q. All right. Back to the

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question for a second. Who may or may not
constitute a witness as far as this document
is concemed?

MR. PICCERILLI: l'm sorry.

Could I hear that question back again?

(Whereupon, the court reporter
read back from the record.)

MR. PlCCERILLI: Thank you.

THE W'ITNESS: They would be
identified in the investigative report

in a section called "Witnesses

lnterviewed."
BY MR. MIRABELLA:

Q. In the Doe case the only
witnesses were the complainant and the
respondent, correct?

A. l don't recall specifically.

Q. But a complainant and
respondent are also considered witnesses?

A. They are considered
complainants and respondents in terms of
coding in our system, A student might share

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Q. But that checklist item was
taken care of'.’

A. Yes.

Q. l thinkl understand the
answer.

A. Yes.

Q. All right. Same document,
right side. StarRez number, we talked about
that earlier?

A. Yes.

Q. All right. And, again, that's
the sequential numbering system we were
discussing, correct?

A. Correct.

Q. When does the StarRez number
come to life, when they go to the Title lX
officer, when it comes to your office? How
does that happen?

A. When it comes to my office. lf
the initial report for a matter is to an RA,
for example, and the RA creates their report
on that information shared with them, that
creates a StarRez number right there. lf it
does not go to an RA who creates a report but

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something as if they witnessed it, but if
they're the complainant in the matter or the
respondent in the matter they are called the
complainant and the respondent,

Q. All right. So l am back to,
can you tell me who the witnesses were that
were added?

A. lam telling you, l can't
recall in this matter whether there were any
witnesses. Okay. lthinkl see what
you're - by checking this box does not mean
affirmatively that witnesses were added. lt
was that that consideration was taken care of
in this document. l recognize that that
wording might be speaking to an affirmative
that l added witnesses. That may not be the
case. It may just be that that consideration
of adding witnesses was taken care of and that
there could have been none added.

Q. Correct. If` there were
witnesses, they were added. lf there were
none, they weren't added because there weren't
any?

A. Right.

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goes to the Title lX coordinator or to public
safety, we would create that StarRez report
and assign it a number when we put it into our
system.

Q. When do you put it into your
system if it comes from Title IX?

A. Within the day that we received
it.

Q. Can you tell from this document
when you received any information about this
investigation or about this complaint?

A. l can't.

Q. Can you tell from this
document, given all the dates and timing, a
time frame? For example, it seems safe to
assume that it was before the notice - it was
on or before the notice went out as to the
pre-investigation meeting?

A. Yes. It would be safe to -- it
is on or just before the initial review date,
because out of practice our initial review
takes place right - unless the notice was on
a Sunday and our initial review was Monday
morning, then the date is different. So it is

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around February 26, 2018.

Q. l missed that. Thank you. So
the initial review date in that box, back to
the left side of the document, that refers to
the initial review at the Office of Community
Standards?

A. With the Title IX coordinator.

Q. Correct. But there is --
someone in the Office of Community Standards
is aware of the incident?

A. Right.

Q. Can you tell from this document
when the Title IX coordinator's report was
received by your office?

A. I can't.

Q. What is the - how does that
work?

A. lt is -

MR. PICCERILLI: Objection to
form.

THE WITNESS: In most cases
it's an email. 1t's a report from the

Title IX coordinator that's emailed to

Community Standards, to me,

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A. Yes.

Q. Do you take that information
and communicate or send it to anyone outside
your office, assuming there is no contact
restrictions issue?

A. There are times when I might
share that with public safety to create a
public safety report and a public safety
tracking of a complaint. There are times when
Mary-Elaine, as Title lX coordinator,
communicates that with security. ln this
instance 1 did not communicate the report with
anyone outside.

Q. How come in some instances it's
sent to security and some instances it's not?
A. In all instances it's sent to

security. ln some instances Mary-Elaine does
it. ln some instances l do it.

Q. All right. And when and why in
the process is security notified?

A. They are - shortly after the
complaint and the why is for Clery reporting
purposes. And there are some times that
security might get a report - l don't know in

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accompanied with a conversation with

the Title IX coordinator about the

report she is sending.
BY MR. MIRABELLA:

Q. So ifa complainant goes to the
Title lX coordinator and the Title IX
coordinator prepares a first report and then
that's then communicated or emailed to you,
along with a telephone conversation normally?

A. Yes.

Q. So is it reasonable to infer
that as of the date of the initial review you
had the Title lX coordinator's written
complaint of the incident?

A. Yes.

Q. Do you communicate - do you do
anything with that outside of your office?

A. Anything with what?

Q. Let me rephrase the question
for you. Title lX coordinator gets a
complaint, She does whatever she does with
it, but one of the things she does with it is
email it to your office and discuss it with
you, correct?

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this instance - with very vague information,
not - the security doesn't know everything,
but they know enough to meet Clery obligations
of whether a timely warning would need to go
out or - so that they know that a complaint
has been tiled. So it's important -- as our
public safety and security is our Clery
compliance office it is important that they
know of all complaints under our sexual
misconduct policy, so it reported to them.

Q. Do they generate an incident
report?

A. They do.

Q. Do they generate - are all
complaints sent to public security or just
the ones - l mean security office -- orjust
the ones under the SMP?

A. I can't speak to the others.
That would be a process that - because l
don't know of those -- l don't know of those
when they happened. [ don't know what Dr.
Perry does with those reports as far as
reporting to security.

Q. l meant it slightly

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differently. If a complaint comes into
Community Standards that doesn't involve
sexual misconduct are those always sent to
security?

A. lf it involves something that
would be a potentially Clery-reportable crime,
yes.

Q. Does Community Standards get
the incident report generated by the security
office after the complaint is sent to them?

A. We do.

Q. When do you receive it'.’

A. We should receive it right
afterwards, right after it's generated. In
this instance Community Standards did not
receive the security report.

Q. Do you know why?

A. l don't.

Q. Why is it sent back to
Community Standards from security as a general
matter?

A. Because it's a document that is
related to the matter that we are saving
reports on. And typically these reports --

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get the report for sexual misconduct or Title
IX than the alcohol. 1 don't know

specifically.

Q. A large group or a smaller
group?

A. Smaller, smaller group,

Q. Have you seen -- you've seen

over the years in your position the reports
that come back from the security office for
sexual misconduct complaints, correct?

A. Yes.

Q. In this instance - and l can
show it to you if you haven't reviewed it--
it indicates that a sexual assault was
committed, not that there was an allegation or
a complaint. Is that typically the way the
incident reports read or are generated?

A. My understanding is that it is
exactly as reported to the Title IX officer,
included in the security report. So if the
complaint was X happened, the security report
would include that a complaint was X happened.

Q. And who is, to your knowledge,
responsible in the security officer presently

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not typically -- they are a copy and paste of
Dr. Perry's complaint. There is no further
investigation. There is no further
information. It's really a -- it's really a
reporting matter, a tracking matter that
public safety also has on their end and it's

in a report generated and a number generated
for potentially Clery-reportable crimes.

Q. Do you know where else security
sends the incident report?

A. l don't know.

Q. l know it's not your area. You
are not working in security. You mentioned
Clery reporting. Are you aware of any other
internal SJU offices that would get the
incident report directly from security?

A. Not specifically for Title lX
and sexual misconduct, because I do know that
they are treated a little differently, in that
the broad - the people that would get an
alcohol violation, that's confronted by
security, which would be a Clery-reportable
disciplinary referral. It's a violation of
liquor law. A different group of people might

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for the Clery reporting?

A. Ultimately, the director of
public safety and security.

Q. Who is that?

A. Arthur Grover.

Q. Can l move your attention to -
direct your attention to the bottom right of
the document, that box, "File saved to
StarRez."

A. Yes.

Q. The investigation packet sent
to an investigator, generally speaking, what's
comprised of that?

A. The initial complaint and
student contact information. The investigator
doesn't have access to our system to get email
addresses or phone numbers for students, so
out of process we share that information as
well as the initial complaint.

Q. So the initial complaint, in
this instance Dr. Perry prepared it as a
result of an interview with the respondent,
correct?

A. Correct.

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Q. What else would have been sent
to the investigator?

A. Whatever was a part of the
initial complaint. I don't know specifically
in this case, but sometimes it could be an RA
report if the RA is involved. lt can be other
documents that would kind of collectively be
called the complaint.

Q. All right. What about, is the
notice letter sent to the investigator?

A. Yes.

Q. ls the PlM checklist?

A. Yes.

MR. PlCCERILLl:
the whole question.
THE WITNESS: Sorry.
BY MR. MIRABELLA:

Q. As a general matter, are any
other of those documents, types of documents
sent to the investigator?

A. Yes. As you're asking that l
am recalling specifically - and if you have
the specifics for this case l'm happy to look
at them -- the complaint, student contact

Let him ask

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you mean by something that's not a document.

Q. A photograph.

A. That would be considered a
document.

Q. What about a piece of physical
evidence, like, you know, a broken door lock?

A. We've never, in my experience
in over ten years in the office, have had any
physical evidence like that, so l don't know
what we would do in that instance. But,
clearly, we can't save that to an electronic
software.

Q. Correct. l guess -- so my next
question was, is there a way to identify that
in the electronic inventory that such a thing
exists?

A. Oh, sure. l am sure we would
have it referenced somewhere. Where we would
actually store that artifact, l am not sure.

Q. Were you involved in working
with counsel to produce the documents for the
investigation in this case that were produced
in litigation?

A. Yes.

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information, and we share procedural documents
with the investigator, f`or his knowledge, so

that pre-investigation meeting notice, the
checklist, blank adviser forms, because if a
student came with an adviser the investigator
would need to complete that form. l believe
that's it.

Q. The next box,
"Banned/Restriction email sent to banned email
alias," can you explain what that means'.’

A. That's what we were talking
about earlier, that the contact restriction
email that was sent to the alias saying "X
student has a contact restriction with X
student," that that notice is saved to the
file.

Q. The next box is "All documents
received from investigator." Do you see that?

A. Yes.

Q. What if there's things that are
pieces of` evidence that are not documents?

Are those retained and, if so, how are they
identified'.’

A. l don't know that l know what

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Q. ls it fair to assume that
everything that's in this bottom right box is
part of` the documentation that was produced?

A. l don't want to say yes or no
without looking at what l had produced, but
yeah.

Q. I don't want to spend the time
going through 1,000 pages.

A. So, for instance, the email
sent to the banned email alias, l think that
might be included, but -- those pieces - so,
clearly, the investigative packet, the
documents received from the investigator, the
appeals, the responses, the summary document
that we are looking at, the notices.

Q. So other than the
banned/restriction category, it looks as
though, to the best of your understanding,
everything else has been produced?

A. Yes.
Q. Briefly, the next page.
A. Yes.

Q. ls this part of the StarRez
system information'.’

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A. These are both separate Word
documents that are saved.

Q. All right. And the fact that
they were produced sequentially is not
relevant to their use in any way?

A. No.

(Whereupon, Exhibit Bordak-4
was marked for purposes of`
identification.)

BY MR. MIRABELLA:

Q. Mr. Bordak, before l ask you
about the Notice of Process Letter l just
wanted to go back to an area l touched on. To
your knowledge, has Jane Roe made complaints
of sexual misconduct against any other student
besides John Doe?

A. Not to my knowledge.

Q. And that, as l understand the
way the StarRez system is set up, would not
be - should not be cumbersome to confirm,
correct?

A. As far as our records would be.

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actual exhibit, Exhibit-4, do you think with a
pen you could identify the areas that are not
part of the template quickly or is that
difficult to do?

A. l could.

Q. So starting in - and l don't
mean with the respondent's name or l.D.
number. Starting with the first paragraph,
what part of that is not part of the template?

A. Like l said, the name, the
occurrence date, and the location.

Q. So the name is not in the first
paragraph, l hope?
A. The name of the complainant is.

Q. Oh. Got it. Okay.

lV[R. PlCCERlLLI: That's been
redacted.

lV[R. MIRABELLA: lt has been
redacted.

BY MR. MIRABELLA:

Q. So the redacted name of the
complainant, the date, and the location is not
part of the template?

A. Correct.

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So, again, if there was a complaint to the

Title lX coordinator that was not shared with
Community Standards l would have no record of
it in Sta rRez.

Q. Correct. But -- and l
understand that answer. But if you were --
you could run a query in StarRez and it
wouldn't take hours to do?

A. Correct.

Q. Okay. And if it was determined
to be discoverable and relevant - l don't
know if your counsel would agree or not-- if`
you ran a query in StarRez as to any
complaints in Community Standards by Jane Roe,
again, that would not be difficult to do?

A. Right.

Q. All right. Notice of process
letter marked as Exhibit-4, l am going to ask
you some questions about it. Do you want us
to turn off the videotape so you can review it
first or do you think you're okay with going
forward?

A. l am fine.

Q. All right. On your - on the

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Q. Next paragraph, same question.

A. That's template.

Q. Next paragraph, that starts
with pre-investigation meeting, same question.

A. The name.

Q. All right. And beneath that is
a little sort of bullet box with the date of
the meeting, correct?

A. Right. So that information,
the date of the meeting, the location, and who
it's with would be -- would be adjusted for
the matter.

Q. Correct. The next section is a
section called "Advisers" and there is two
paragraphs. ls any of that not part of the
template‘.’

A. No.

Q. And then the next section,
there's two paragraphs. lt's still in the
same page, "Restrictions and Retaliation," is
any of that not part of the template?

A. No.

Q. And the second page, it starts
with "Support and Resources," is anything on

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this page not part of the template?

A. No.

Q. ls the template that you used
to send the Notice of Process Letter the same
used in all sexual misconduct cases?

A. The template is, yes.

Q. So whether it's sent by you or
Emily Forte or somebody else in your office,
they use the same template?

A. Yes.

Q. ls there anyplace in the
template to put in the information about the
specific provisions of the SMP that have been
violated or alleged to have been violated?

A. We don't do that. l mean -

Q. Why?

A. Because we are providing notice
that conduct is implicating the specific code,
being the sexual misconduct policy, our
expectation is that once the investigation
begins the investigator is sharing more
specific conduct for a response.

Q. The sexual misconduct policy
includes sexual assault, correct'.’

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A. We don't see that as our role
within the process. We don't want to
compromise the investigation by sharing more
information. We leave that to the
investigator to provide that notice.

Q. When does the investigator
provide that notice?

A. lt's our expectation, when the
adviser, when he or she is meeting with the
students, that that notice takes place.

Q. Now, Ms. Forte identified that
meeting as a hearing.

A. Yes.

Q. So it's your understanding that
the specific provision of the sexual
misconduct policy that's being violated, that
information is provided to the respondent at
the time of the hearing?

A. The investigation is the
hearing, but it's also pretty fluid, where the
student has the opportunity to share
additional information, follow-up, come back.
And so there's notice, but it's not the only
time that the student has the opportunity or

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A. Yes.

Q. lt includes -- do you know the
four categories off the top of` your head?
There's four broad categories that fall within
the SMP, correct?

A. Well, if you're looking at the
title, yes, sexual assault, sexual harassment,
sexual exploitation, domestic violence, dating
violence, or stalking.

Q. So l guess that -- now, do each
of those categories have their own definition
sections, sexual assault?

A. Yes.

Q. And sexual harassment as well,
correct?

A. Yes.

Q. l heard your answer. l am
going to go back to it and l don't like to
repeat my own questions, but l just want to
see if l can clarify it a little bit. ls
there any reason why when the notice is sent
out to the student, process notice, that your
office doesn't tell them which of the five
policies this is falling under‘.’

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is expected to respond to the information, is
that moment. Where in a hearing it's more,
"Here's your hearing. Here's your time.
Hearing concludes." Where the investigation
is more kind of continuations of hearings.

Q. All right. Have you reviewed
Ms. Malloy's findings?

A. Yes.

Q. Can you tell me where in her
findings she indicates that she informed the
respondent that the violation was under the
category of sexual assault?

A. lcan't. ldon't have it
committed to memory. l've read the report,
but l can't speak to it.

Q. Do you believe it's in there?

A. l can't speak to that.

Q. Would it be your expectation
that she would inform the respondent that the
specific category he's accused of being
violated is sexual assault?

A. lt would be my expectation that
the investigator share the conduct for
response through the investigation process,

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what the complaint is, sharing the complaint,
and have the student have an opportunity to
respond to the complaint and share
information.

Q. What about the complaint is
your expectation that the investigator will
share?

A. The complaint, the specifics
that he or she, as the investigator, feels is
important for the student to respond to. We
don't micromanage the investigation. We have
no reason to doubt or suspect that they are
not providing students an opportunity to
respond to the complaint. We don't share that
initially.

Q. You have no reason to think
that?

A. l have no reason to think that.

Q. So in other cases has the
investigator shared the specific allegations
with -- that you're aware of- with the
respondent as a matter of course?

A. Again, without looking at the
specific investigative reports -- l don't have

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meeting?

A. During the investigation.

Q. No. ls it your expectation or
policy that the investigator provide it in
advance of the first meeting with the
respondent?
MR. PICCERILLI: Can I hear

that question back, please?

(Whereupon, the court reporter

read back from the record.)
BY MR. MIRABELLA:

Q. What was the answer, then?

A. Can you read back the answer?

Q. Sure. How about l just
rephrase the question so we can move on?

ls there any expectation in the

Community Standards office that the
investigator is expected to provide the
specific violation section of the sexual
misconduct code in advance of` the first
meeting?

A. lt's our expectation that it's

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these committed to memory. l read them. We
conclude a matter. These are - they're

longer documents. We have a number of them l
produced for the weekend. l don't have them,
so l can't answer with any certainty whether
she has or she hasn't.

Q. All right. So in this case the
sexual misconduct policy is what, about 60
pages. give or take?

A. Give or take. l would say
take. l think it's about 52, 50.

Q. And in those 52 pages is the
definitions on explanation of the five
categories listed here in this letter,
correct?

A. Within the policy, correct,
yes.

Q. And that information is shared
with the respondent not before the meeting
with the investigator, the specifics, correct?

A. The specifics of the complaint,
no. We leave that to the investigator to
share the specifics of the complaint.

Q. At the time of' the first

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covered over the course of the investigation.
We don't say at the start, "You do this, next
you do this, next you do this" for the
investigator. They are the trained
investigator, so we do - they know our policy
they know the process, and we have the
expectation -- l have the expectation that

they are providing adequate notice and l have
no reason to suspect or think that they are
not.

Q. Well, in this case do you
believe they provided adequate notice to John
Doe?

A. l believe notice was provided
for his response.

Q. No. lsaid, do you believe
adequate notice was provided to .lohn Doe?

MR. PlCCERlLLl: Objection to
form.
THE WITNESS: Yes.
BY MR. MIRABELLA:

Q. What notice was provided to
John Doe in advance of the meeting with the
investigator?

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A. We provided notice that there
is conduct that implicates the policy and then
NLs. Malloy would have to answer about her
notice. Again, my expectation and my
understanding - and l have no reason to doubt
that -- is that over the course of the
investigation there Was information shared
with both parties for their response.

Q. Not over the course of the
investigation. At any time -- is it your
understanding that at any time prior to her
interview with Mr. Doe or during her interview
with Mr. Doe she provided to him the specific
factual allegations that Mrs. Roe asserted
against him?

MR.PICCERILLI: Objection.
THE WITNESS: Without the
investigative report in front of me -

l don't have it committed to memory.

So the investigative report would

outline what Liz did as the

investigator.
BY MR. MIRABELLA:
Q. Here is SJU0331. lt's your

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A. That was the back end. That's

not part of 7.

Q. So the question was: You were
the sanctioning officer in this case, correct?

A. Correct.

Q. All right. And so you reviewed
the investigative findings, correct?
A. l did.
Q. Did you ever discuss the
investigation with Ms. Malloy'.’
A. Can you - with?
Q. Ms. Malloy?
A. Oh. Sorry. l didn't hear at
the end. No.
Q. So my question to you is: Did
Ms. Malloy, to your knowledge, ever inform
Mr. Doe of the specific section of the sexual
misconduct policy under which he was accused?
MR. PICCERILLI: Objection to
form.
MR. MIRABELLA: 1 would be
happy to try to correct that, Al.
MR. PlCCERlLLl: Well, the
point is, l think he can read the

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checklist. This way you can identify for me
which document or documents you believe you
would need to answer the question.

A. Documents 6 and 7 on here,
Pages 13 and 23, it's a summary of the
investigation prepared by the investigator and
summary of findings of fact, determinations of
credibility, rationale and outcome prepared by
the investigator.

Q. Document 6 and 7?

A. Document 6 and 7. Do you want
me to repeat? Document 6 is summary of
investigation prepared by investigator and
Document 7 is summary of` findings of fact,
determinations of credibility, rationale and
outcome prepared by investigator.

Q. So what pages are those?

A. Thirteen and 23.

Q. So l'm going to hand you what's
been Bates labeled previously SJU334
sequentially through 360. lf need be, we'll
make a copy and have it marked as an exhibit.
And, first, just to confirm if you believe
this is 6 and 7 as you understand it.

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report, but l think it's a question
for Ms. Malloy to answer as opposed to
this particular witness.

MR. MlRABELLA: This particular
witness was the sanctioning officer
and he's already testified about his
expectations of what the investigator
does and should do. l think it's an
appropriate question.

THE WITNESS: Right. Well, l
think it's appropriate for me to read
the 28 pages, because l have not read
this in some time and so for me to try
to pull a sentence out that speaks to
it, l think it would be hard.

MR. MIRABELLA: All right. l
think that's perfectly reasonable.
We'll go off the video and you can
read through it.

THE VIDEOGRAPHER: Off the
record, 9:39.

(Off the record)

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THE VlDEOGRAPHER: We are on

the record, 9:48.
BY MR. MlRABELLA:

Q. Mr. Bordak, can you answer the
question?

A. Can l have that repeated,
please?

N[R. PlCCERlLLI: Also, before
you do that, l don't know if you put

it on the record already, you may

have, the Bates stamp numbers?

MR. MIRABELLA: Sure. lthink

ldid, but we can do it again,

BY MR. MIRABELLA:

Q. Mr. Bordak, just indicate what
documents you have in front of you based on
the number. lt's sequential, so the first one
and the last one.

A. lt's 344 through 359.

Q. And that's SJU?

A. SJU.

(Whereupon, the court reporter
read back from the record the pending

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Q. Do you recall making any
changes to it?

A. l recall making changes to the
templates. We have many templates and l
recall making changes to templates as we move
through the semester. l don't know whether
there's been changes to the template since
this matter.

Q. Template for the Notice of
Process Letter?

A. Right.

Q. Do you know - how hard is it
for you to determine that? 1 don't mean right
bere. l mean at your office.

A. Sure. l could see what -

MR. PlCCERILLI: l'm sorry.

THE WITNESS: lcould determine
whether there has been updates since.

MR. MlRABELLA: Just a request
on the record for the template of the
current Notice of Process Letter, if

there have been any changes, or a

confirmation that the template hasn't

changed,

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question asked prior to going off the
record at 9:39 a.m.)

THE WITNESS: According to the
investigative report -- so it's not
included in the investigative report,
so l can't speak to what Ms. Malloy
might have done or not done that's not
represented in the report.

BY MR. MIRABELLA:

Q. All right. Let's turn our
attention to a different topic for a few
minutes. Oh, the charge letter, which we've
started off the discussion that led us into
the investigative report -

MR. PlCCERILLl:
Bordak-4?

MR. MIRABELLA: Yes.

BY MR. MIRABELLA:

Q. Charge letter - it's really
the Notice of Process Letter. Has that letter
changed from March 1, 2018 until the present,
the template?

A. l do not know,

That's

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BY MR. MIRABELLA:

Q. All right. So the
pre-investigation meeting, l wanted to talk to
you about that for a little bit. l know this
was covered. l was present and l had reviewed
your testimony. l don't intend and don't want
to cover the questions that were already asked
and answered and l apologize if there is a
little bit of overlap. The pre-investigation
meeting also has a document called the
"Pre-investigation Meeting Checklist,"

correct?

A. Yes.

Q. That document, is that document
also a template‘.’

A. Yes.

Q. All right. Has that template
changed since this incident occurred?

A. l can't recall. Same answer.

Q. Could you check and advise
counsel as well?

A. Yes.

Q. Before the interim sexual
misconduct policy came into effect, was there

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any formal process for pre-investigation
meetings of complaints involving sexual
misconduct?

A. Yes.

Q. All right. And can you
describe, was there a checklist utilized?

A. Yes.

Q. And was there a Notice of
Process Letter sent out?

A. Yes.

Q. All right. Did the Notice of
Process Letter have any information additional
to the information that's contained that we
just went through in this Notice of Process
Letter‘.’

A. That would be already answered.
lt's different information. lt's a procedural
checklist and so the pre-investigation meeting
checklist pulls language from the sexual
misconduct policy. With that not in place,
the checklist then would have pulled from the
processes outlined in the student handbook.

So it's different.
Q. Were the specific provisions of

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the specific conduct,

Q. Was the respondent entitled to
see the incident report or any of the
documentation prior to the administrative
hearing?

A. Yes.

Q. And how did that -- was that
set forth in the student handbook or was
that-- how was that memorialized, that
process or procedure?

A. l don't believe it was in the
student handbook.

Q. All right. Then how did the
people in Community Standards know that that,
in fact, was the policy? Do you follow me?

MR. PlCCERlLLl: ldon't.

Objection to form.

BY MR. MIRABELLA:

Q. All right. Under the old
system the respondent was entitled to see the
evidence prior to the administrative hearing,
correct?

A. Correct.

Q. All right. And was that

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the sexual misconduct or the student handbook
alleged to have been violated set forth in the
Notice of Process Letter?

A. Yes.

Q. Were any of the factual
allegations, the specific factual allegations
against the respondent set forth or contained
in the Notice of Process Letter?

A. No.

Q. Was that information provided
to the respondent prior to an administrative
hearing?

A. Not in specific terms.

Q. What about in general terms?

A. We would share with a student
that they have alleged to have violated the
alcohol policy, but not all of the different
ways that they were alleged, or that a student
that was alleged to have violated the drug
policy, but not all of the ways. And similar
in sexual misconduct, we would tell the
students that they were alleged to be in
violation of` violating - a sexual offense, l
believe it was called at that time, but not

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communicated to the respondent?

A. Yes.

Q. And when was that communicated
to the respondent?

A. lf they came in for what we

called a prehearing meeting they were told at
that time or if students asked we would
answer, but we didn't necessarily tell the
students,

Q. All right. But if they asked
or it came up they would be notified, for
example, the way you give at a prehearing

meeting?
A. Yes.
Q. Now, after the implementation

of the SMP that policy changed?

A. Well, right, the policy that
became the sexual misconduct policy.

Q. l'm sorry. No. For the -
whether the respondent was entitled to see the
investigative file prior to the either
interview with the investigator or
investigator hearing changed from prior to the
policy, correct?

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A. Yes.

Q. All right. Why?

A. l can't answer that.

Q. Who changed it‘.’

A. l wasn't part of the policy
development.

Q. How was it memorialized?

A. l don't know what you mean by
"memorialized."

Q. How did you know it changed?

A. The sexual misconduct policy
had a policy prescribed through and we're,
like -- l mean, as l recall - we are talking
a few years now - we were educated on the
process and the process would be that the
investigator would [sic| share the specific
conduct so as to not compromise the
investigation.

Q. ls that written down anywhere?

A. Not to my knowledge.

Q. And so how did you learn of it
for the first time?

A. We had meetings to
operationalize that when the interim sexual

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information with those students in that moment
takes away from the intention of that meeting
being processed. Once we start sharing
specific information the students then want to
respond and that then puts that administrator
who is doing the pre-investigation meeting as
a potential witness in the matter that they
have been shared information. We treat those
conversations as purely process and let the
investigator handle the complaint, the
allegations, the responses, the conversations
with the students about what happened. Ours
is a purely process conversation.

Q. As part of the process
conversation why couldn't the students be told
that they are entitled to see the
investigative file if they schedule an
appointment in advance of their meeting with
the investigator?

A. They are not told. l am not
going to answer why they shouldn't be.
They're not.

Q. Do you know -

A. That's our process. That's our

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misconduct policy took effect. lt wasn't an
arbitrary decision of mine to just not share
documents. That was part of our meetings to
operationalize the interim sexual misconduct
policy at that time.

Q. Who do you recall informing you
of that change?

A. l don't recall specifically.

Q. Who -- if not specifically,
what level of SJU administrative personnel
would have been involved in that kind of a
change?

A. The Title lX coordinator, my
supervisor, l am sure general counsel was part
of conversations

Q. And your understanding was that
that decision was made so as to not compromise
the investigation?

A. ln part, yes.

Q. Any other part?

A. Because we were not the
investigators holding the pre-investigative -
the administrator having the pre-investigation
meeting was not the investigator. To share

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policy. That was determined - that was not
determined by me. l am in full support of
that. l think it's in compliance for what we
need to do for our policy and for our
students, but l can 't speak to -

Q. That's not the policy and
that's not an area that you -- you don't get
to dictate policy; is that correct?

A. Not for the sexual misconduct
policy, correct.

Q. Who does?

A. There is a writing group that
involved faculty staff, administration,
probably starting in the fall of 2014, for
implementation of the interim sexual
misconduct policy in the spring of '15.

Q. Was Carey Anderson part of the
writing group'.’

A. l don't recall.

Q. Dr. Forte -- Dr. Perry, l
believe, identified a professor, but l don't
recall the name right off the top of my head.
The individuals that comprised that writing
group, that list exists somewhere?

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A. l would assume so. l don't
have access. l don't know who was on that
writing group.

Q. So when the new policy came
into place, the interim policy and then the
sexual misconduct policy, there were meetings
about it, how to implement it, correct?

A. Sure. Yes.

Q. And at some point did you
become responsible for training others in your
office as to how to implement it?

A. Yes.

Q. Are there any other specific
policies such as the one we were talking about
earlier, access to the investigation
materials, that you learned about and that you
had to train people in your office about that
aren't memorialized elsewhere?

MR. PlCCERILLl: Can l hear
that back, please? lt was a little

bit long.

(Whereupon, the court reporter
read back from the record.)

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evidence prior to a hearing or an
investigative interview, correct?

A. Yes.

Q. And were there other changes to
the manner in which the investigation was
undertaken that you learned about that you had
to teach your staff members'.’

A. Yeah. l would say all pieces
of the policy. Right. l mean, we were
implementing an investigative model which was
new and so who the investigators would be, you
know, what that - those pre-investigation
meetings, kind of all of those pieces along
the process, we would - l would be
responsible for ensuring that the folks
involved in that process would know it.

Q. The manual - is there anything
in your office that you utilize when you train
new assistants about the SMP and the
investigative process?

A. We have the policy itself, 1
mean, that's the foundational document for the
training, the checklist, the notices, and we
have a flow chart that's really, maybe, a

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MR. PlCCERlLLl: Objection to
form.

THE WITNESS: There is policy
and there is practice and so we don't
have in writing all of our practice,
but our practice is in line with what
we are required to do by policy.

BY MR. MIRABELLA:

Q. Okay.

A. So -

Q. Let me rephrase the question.
All right. Any ones that involve with respect
to sexual misconduct investigations?

MR. l’lCCERILLl:
the form.

THE WlTNESS: l still don't
understand what you're asking.

BY MR. MlRABELLA:

Q. Let me try -- it's not the best
of my questions. During the meetings about
the new policy of sexual misconduct you
learned what the school‘s position was with
respect to the disclosure of investigation

Objection to

304

four- or five-box flow chart that does a step
by step about the process.

Q. Do you have any internal
manuals that you use or refer to?

A. Not for the sexual misconduct
policy.

Q. Do you have any external

publications that you utilize or refer to in
connection with the sexual misconduct policy?
MR. PlCCERlLLl: Objection to
form.
THE WITNESS: Not for the
sexual misconduct policy.
BY MR. MIRABELLA:

Q. lwant to ask you some
questions about the pre-investigative meeting
checklist.

A. Okay.

Q. As you mentioned, you might --
strike that. Have you ever changed it?

A. Yes.

Q. All right. ls anyone besides
you responsible for the content of the
pre-investigative meeting checklist at this

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time?

A. No.

Q. Has anyone besides you been
responsible for any changes to it?

A. No.

Q. The initial checklist, did you
draft that or was that something provided to
you?

A. l drafted that.

Q. And l think you answered as to
the notice letter, but maybe you did to the
checklist too. Have there been any changes to
it over the years?

A. Yes, there has been changes. l
don't know when those changes have occurred.

Q. Off the top of your head?

A. Right.

Q. Has there been more than one
change?

A. Yes.

Q. lf you decide as director of
Community Standards to change that checklist
do you have to have interdepartmental review
or interschool review of your changes?

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of identification.)

BY MR. MIRABELLA:

Q. Mr. Bordak, why don't you take
a moment to look at both documents. l am
going to retrieve, unless you need them, those
records. Thank you. Have you had a chance to

look at it?
MS. SCHIMELFENIG: ls there a
question pending?

MR. MIRABELLA: Has he had a
chance to look at the document?

MS. SCHIMELFENIG: I'm asking
because l need to take a break. ls
there a question pending?

MR. MIRABELLA: We are not
breaking now. You can step out if you
need to, but we are really tight on
time.

MS. SCHIMELFENIG:
talk to -

MR. MIRABELLA: This is not
going into my time.

MS. SCHIMELFENIG:

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A. No.
Q. And do you keep copies of the
old checklist for reference so that you can
sort of continue to see how the document
evolves?
A. lt's my intention to do that.
To be honest, there may have been times where
a change has been made and l haven't or have
forgotten to memorialize a previous version,
but it's our intention to have previous
copies.
Q. Did you change the checklist
after the Powell complaint was filed?
MR. PlCCERlLLI:
answered.
THE WITNESS:
BY MR. MIRABELLA:
Q. Oh. Was that the answer? All

Asked and

l can't recall.

right.
MR. MlRABELLA: So 5 and 6 is
what we are going to mark next.

(Whereupon, Exhibits Bordak-5
and Bordak-6 were marked for purposes

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talk to my outside counsel. Entirely
appropriate. Thankyou.

MR. MIRABELLA: lt's not
inappropriate, but l get the time
back,

Tl'lE VIDEOGRAPHER: Off the
record, 10:06.

(Off the record)

MR. FIEC'ERILLI: we are back.
THE VIDEOGRAPHER: On the
record, 10:07.
BY MR. MIRABELLA:
Q. Mr. Bordak, have you had a
chance to look at 5 and 6?
A. Yes.
Q. All right. Just identify for
the record what each document is.
A. Document 5 is the
pre-investigation meeting checklist completed
by Doe and an email sent by Emily Forte to Doe
attaching an electronic copy of the completed
document. And Number 6 is a pre-investigation

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meeting document f`or a previous matter under
the interim sexual misconduct policy.

Q. Comparing the documents. first
off, one is a checklist for the interim policy
and one is the checklist for the subsequent
sexual misconduct policy, correct?

A. Yes.

Q. All right. So not all the
paragraphs line up in terms of the checklist.
You would agree with me that there were
changes to the checklist made after the matter
dated March 16 of 2015, correct?

A. Yes.

MR. PlCCERILLI:
date of the signatures on -

lV[R. MIRABELLA: Yes.

MR. PlCCERILLI: - Bordak-6?

Okay.

BY MR. MIRABELLA:

Q. l want to direct your attention
to the Paragraph 11 on Exhibit-6. Do you see
that?

That is the

A. Yes.
Q. All right. And does that

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checklists?

A. Yes.

Q. On Exhibit-S, the one used in
the Doe case, on Page 3 of 4, the second
paragraph, do you see that?

A. "lf during the course"?

Q. Right. ls there anything like
that set forth in either Paragraph 11 of
Exhibit-6 or anywhere else in Exhibit-6 or was
that added, if you know, after the Powell
complaint?

A. l don't know if it was added
after the Powell complaint or after the
institution of the sexual misconduct policy.

Q. ls there anything in --

A. The interim sexual misconduct
policy.

Q. Got it. But you might be able
to confirm or verify that by reference to
earlier checklists‘.’

A. Perhaps, yes.

Q. All right. Do you recall
making - now having these two documents in
front of you, the Powell checklist, the Doe

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roughly correspond to Paragraph 13 on the John
Doe checklist?

A. Roughly. l mean, there's a lot
more within Paragraph 11 on Document 6 that it
looks like was made into separate items within
Document 5.

Q. All right. ls there
anything --

MR. PlCCERILLI: Hold on a
second. l think Document -- ltem
Number 13 goes onto the next page.

THE WITNESS: You're right.

BY MR. MIRABELLA:

Q. So back to Exhibit-S, Paragraph
11, second page, Do you see the first
paragraph - l'm sorry --the second
paragraph, "lf during the course of the
investigation"?

A. Yes.

Q. Was that paragraph added after
the Powell complaint was filed‘.’

A. l'm sorry. Can you repeat that
question?

Q. Sure. So these were two

312

checklist - making any changes to the
checklist after Powell?

A. Again, l don't know whether it
was after Powell or after the implementation
of the sexual misconduct policy and not the
interim sexual misconduct policy. Much of
this language changed, but it was policy
language that directed the checklist.

Q. When you say, "much of this
language changed" you are pointing to a
document. Which one do you mean?

A. So from Document 6 to Document
5 there were changes, but much of that is
represented in policy language changes. We
went from an interim sexual misconduct policy
to a sexual misconduct policy and so l don't
know whether the changes are directly related
to that or a specific matter.

Q. Just so l understand your
answer, if, for example, the second paragraph
of Page 3, Exhibit-S, if that, in fact, is
also something that was added to the sexual
misconduct policy that was not part of the
interim sexual misconduct policy, that change

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might have been done in relationship to the
policy change, correct?

A. Yes.

Q. And you don't know when that
change took place and if it was policy driven
or not at the moment, correct?

A. Yes.

Q. All right. For the moment, l
thinkl am finished with 5 and 6.

(Whereupon, Exhibit Bordak-7
was marked f`or purposes of
identification.)

BY MR. MIRABELLA:

Q. Mr. Bordak, what's been marked
as Exhibit-7 is some documentation from the
appeal packet and it includes, l believe, more
than one person's response to the Doe appeal
in this matter. l am primarily going to ask
you questions about your response. lt was
just easier to copy it this way. You're, of
course, free to refer to whatever you want to
refer to as l ask you some questions. Do you

315

Q. Did you have an opportunity to
review your appeal response dated April 26,
2018?

A. Yes.

Q. All right. And how many -
it's two pages in length or -

A. Three.

Q. Three pages, l guess, correct?

A. Yes, three.

MR. PlCCERILLI: Can you ask
the witness to state which SJU
numbers?

MR. MIRABELLA: This is going
to attached, but sure. lt's SJU584,

85 and 86, correct?
THE WITNESS: Yes.

MR. PlCCERILLI: Thank you.
BY MR. MIRABELLA:
Q. First, as a general matter,

what is this document and its use?
A. lt is, as titled, the
Sanctioning Officer Appeal Response. When an
appeal request is submitted that is sent to
the sanctioning officer and the investigator

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want to read your appeal response before we
get into the questions and answers? l think
it's a page or page and a half.

A. Yes, if you don't mind, just a
moment.

Q. No. Absolutely.

MR. MIRABELLA: Off the video,
please.

THE VIDEOGRAPHER: Off the
record, 10:14.

MR. PlCCERILLI:
off the video, ljust want to make
sure you're going to attach whatever
is marked as an exhibit to the
transcript.

MR. MIRABELLA:
hope so.

THE VIDEOGRAPHER: We are on
the record, 10:17.

BY MR. MIRABELLA:

Q. Mr. Bordak, off the record, do
you have in front of you -- what's the exhibit
number we are up to, 7?

A. Seven.

While we are

l certainly

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for response to the pieces raised in appeal.

Q. The Community Standards office ,
are they always the sanctioning officer in
cases of sexual misconduct?

A. They - so we work with
professional staff members in residence life
that are also trained, but in that moment they
are acting as agents of Community Standards.
So it's a correct statement, that Community
Standards, but it's more than just me and
Emily.

Q. How many other individuals'.’

A. At that time, one.

Q. And does the sanctioning
officer always do a reply to an appeal in a
situation where there was a finding of
responsibility‘.’

A. The sanctioning officer would
respond if asked by the vice president of
student life's office to respond. So l
received as a sanctioning officer a copy of
the appeal request and complainant's response
to the appeal request for my response as a
sanctioning officer. l didn't take it on

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myself to respond. l was prompted a response
through the appeal process by Kiersten White,
who was moderating the appeal process.

Q. All right. And - understood.
Who moderates -- what individual, what offices
share the responsibility for being an appeal
moderator?

A. lt's Dr. White and - well,
it's Dr. White and in her absence another
associate - assistant vice president, Dr.
John Jeffery, serve as moderators of the
board.

Q. And what department or what --
Dr. White is someone you report to, correct?

A. Yes.

Q. And what is her title?

A. Assistant vice president for
student life.

Q. All right. And she reports to
Carey Anderson?

A. Correct.

Q. And what's his title?

A. Vice president for student
life.

319

Q. ls there any policy provision
in the SMP that provides for responses to
appeals from the sanctioning officer?

A. No.

Q. ls there any policy or
provision in the SMP to notify the respondent
that others at the school may be in the
position to file responses to his appeal
beside the complainant?

A. Not as written in the policy.
lt does speak about additional documentation,
but not explicitly.

Q. Are they -- as a matter of
policy are the respondents told that others
may be responding to the appeal'.’

A. lf the respondent participates
in a meeting or requests to learn more about
the appeals process we would share all of
those particulars, but we don't share all of
the particulars about the appeals process
because many students might not be interested
in knowing about the appeals process.

Q. The document -- the SMP
provisions about the appeal are set forth very

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Q. And additional titles, but
okay. So you said you were prompted for a
response. ls it an invitation, a request, or
are you expected to respond to the appeal as
the sanctioning officer when so notified? And
l will object to my own question. Can you
tell me how -- do you have a choice?

MR. PlCCERILLI: Let me object
to his question too.

MR. MIRABELLA: lam objecting
to my own question.

THE WlTNESS: l do. There have
been times when - there are times,
scenarios where a sanctioning officer
could say, "l have no response."

BY MR. MIRABELLA:

Q. Back to the better and simpler
part of the question. Do you ever respond
when not prompted or requested?

A. No.

Q. And the prompt or request has
to come from the person serving as the
moderator?

A. Yes.

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explicitly in the SMP, correct, about the
process for the respondent and the complainant
and the time period?

A. Yes.

Q. Who else is -- may be requested
by the moderator, if not by name by title or
role, to respond to the appeal?

A. The sanctioning officer and the
investigator. Because this response is not a
support of an outcome, it's a response to
things raised through the appeal, and so the
only person that could answer a question about
X is the sanctioning officer. So it makes
sense and is our process to ask the
sanctioning officer to respond to X and that's
what this document is. There is questions
about and assertions that the Office of
Community Standards did X, so l was asked to
respond to those pieces about what was
purported that the Office of Community
Standards did. So this isn't an advocacy of
an outcome but a response to items raised in
an appeal.

Q. Since the sexual misconduct or

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interim sexual misconduct policy has been in
place has any appeal resulted in a finding of
non-responsibility?

A. l don't know the specifics of
all the appeals.

Q. Has any appeal, to your
knowledge, ever reversed a finding‘.’

A. lcan't get - l don't know
specifics. l mean, truly, l have been doing
this over a decade, l don't know.

Q. But the SMP policy in the
StarRez system show, you know, roughly 40
cases involving sexual misconduct. Are you
aware of any of those ever being reversed on
appeal'.’

A. l don't remember specifics.

Q. ls that something - so there
might be, there might not be?

A. Yes.

Q. You simply have no recollection
due to the volume of cases?

A. Yes.

Q. And can that be searched easily
through the StarRez system?

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there was pieces of the appeal that Emily and
Emily alone could respond to.

Q. And then the last one is the
response of the investigator, correct?

A. Yes.

Q. And so l have it as a general
matter, then, there are not any other
individuals who would, to your knowledge, be
asked by a moderator to file a response to an
appeal? The sanctioning officer, the
investigator, the pre-investigation meeting,
and the complainant would comprise, generally
speaking, all the individuals who might be
asked to respond?

MR. PlCCERlLLI:
that question back, please?

(Whereupon, the court reporter
read back from the record.)

Can l hear

MR. PlCCERILLI:
form.

Objection to

THE WITNESS: To my knowledge,

and my understanding, l am -- but

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A. Yes.

Q. ln this appeal -- before l get
into more details with your response l want to
ask you some other questions about the other
documents. So the next page or the first page
is St. Joe's 0583. l'm sorry. That's the
second page. That appears to be the
complainant's response to the appeal, correct?

A. Yes.

Q. All right. The second response
is, as we discussed, is yours. lt's three
pages in length, correct?

A. Yes.

Q. And then there is a response
from Emily Forte'.’

A. Yes.

Q. And l think l understand or l
know the answer, but, still, why is the
pre-investigative meeting person providing a
response?

A. So that determination of the
ask for the response was made by Dr. White.
My understanding, as Emily's supervisor and
director of Community Standards, was that

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keeping in mind lam not in charge of

the appeal process. So Dr. White

would be in a better position to
respond to when there's a request for
information.

BY MR. MIRABELLA:

Q. And can you tell in the StarRez
system under - for the investigations under
the SMP that have -- how many have been
appealed and how many have not been appealed ‘.’

A. Yes.

Q. ls the practice of inviting
responses to the appeal, which is done by the
assistant vice president -- and if you already
answered this. l'm sorry -- memorialized
anywhere or set forth anywhere in the SMP
policy or elsewhere?

A. No.

Q. Do you know what guidance,
written guidance, if any, the assistant vice
president -- l'm sorry - the moderator has
available to them to determine who should or
should not be invited to provide a response to
an appeal?

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A. Not that l can answer.

Q. And is that practice of`
inviting responses to an appeal been in place
since the institution of the interim sexual
misconduct policy?

A. Yes.

Q. Was that practice in place
prior to the institution of the sexual
misconduct policy?

A. Yes.

Q. Can you describe a little bit
how it would have worked prior to the interim
SMP?

A. The same way that it works now
without the investigator. And this is the
same for appeals that are non-SMP. lf a
student in their appeal submission request
brings up something about process or something
about bias or something that only one person,
the hearing officer, is in the position to
respond to they are asked to respond. So it
would be the same, same, minus the
investigator.

Q. Prior to the SMP were the

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A. l can't off the top of my head
without referencing documents.

Q. ls that a cumbersome search to
undertake?
A. No.

Q. Prior to 2015 do you know if
there were ever any appeals that result -- in
a sexual misconduct case involving a reversal?

A. Again, without reference to
documents l can't answer.
Q. Are you aware of any criticism

of the handling of sexual misconduct cases
prior to the institution - under the old

system?
MR. PlCCERILle Prior to the

interim sexual -
BY MR. MIRABELLA:

Q. Before 2015,

A. Yes.

Q. Okay. Specific ones orjust
generally?

A. Community Standards is a

difficult office, many criticize -- there are
criticisms about our processes.

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students advised that others would have an
opportunity other than those who were
identified in the policy to respond to the
appeal?

A. No.

Q. The Sta rRez system started
roughly in 2011?

A. Yes.

Q. Can you search the system for
the result of sexual misconduct violations and
results that go back beyond 2015?

A. Yes.

Q. Would that be difficult to
search‘.’

A. No.

Q. Can the system be searched,
under the StarRez system back to 201 1, for
situations involving assault but not sexual
misconduct?

A. Yes.

Q. Do you know if prior to 2015
there were ever any findings of sexual
misconduct responsible against a female
respondent?

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Q. l don't remember if l recall
this from your testimony or somebody else's.
Somebody complained about a potential conflict
of interest with the role of an adviser or a
hearing officer being an adviser to a student.
Was that your -

A. Yes. l shared that last week.

Q. Mr. Bordak, if the Community
Standards office gets an anonymous complaint
of sexual misconduct does it get a StarRez
number?

A. Depends on how it's reported.

Q. Can you explain?

A. lf it's -- basically, if it's
reported to Dr. Perry as the Title lX
coordinator exclusively, it may not get a
StarRez number. lt may not be put in our
system, because there is no grievance
procedures or disciplinary process to address
it. lf' the anonymous complaint goes to an RA
the RA is compelled to report that through our
system, which then creates a StarRez number.

Q. ls there a way for an anonymous
complaint to be sent directly to the Office of

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Community Standards about sexual misconduct?

A. Yeah.

Q. Okay. And if that happens does
it create a StarRez number?

A. lt would.

Q. All right. What if the
anonymous complaint does not identify or the
respondent cannot be identified in the
anonymous complaint?

A. We would still create a report
without any individuals attached to it by
name.

Q. l don't know if you can answer
this simply or not. When you are entering
into the database information about Community
Standards violation complaints. are there
broad - any broad categories that the StarRez
system uses in terms of sexual misconduct,
alcohol or things of that nature that get
tagged a certain way‘.’

A. ldon't know -- l don't know
what you mean.

Q. l'm not sure l know what l mean
either. Let me go on to -- l am not sure ifl

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involved in any of those?

A. ln my role as director l Was
involved in terms of director of the office,
but l was not directly involved in the
complaint or process.

Q. Other than being involved as
director of the office and - what office does
she work in at SJU, Katie Bean's office?

A. l'm sorry?

Q. l'm sorry. Jane Roe's office,
she works for Katie Bean, correct -- or she
worked in Katie Bean's office?

A. Correct.

Q. What is that office called?

A. Student Outreach and Support.

Q. And where is that office
physically located?

A. ln Campion Student Center.

Q. And Campion Student Center is
large, correct?

A. lt is.

Q. Where is your office located?
A. ln 243.

Q. Of Campion Student Center'.’

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can better clarify that question. So when
you're entering something in the StarRez
system certain drop-down boxes appear at the
beginning?

A. Yes.

Q. What type of information is
prompted from the initial -- when you are
initially entering the data, just so l have a
better understanding of how it works?

A. So we have -- l think there is
three, three or four folders that you
essentially click and drop down. The sexual
misconduct policy is in a folder called "All
Other Violations." The ones that we do
subcategories for are alcohol, drug, and
weapon, because we need to identify specific
crimes for Clery reporting for those
instances.

Q. Okay. l asked you earlier
questions about Jane Roe and other issues
or -- either complaints or violations or
claims in Community Standards, correct?

A. Yes.

Q. All right. Were you directly

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A. ln Campion Student Center.

Q. ls the Student Outreach office
in the same floor?

A. Yes. lt's right around the
corner.

Q. Did you ever meet or interview
her or speak with her prior - let's say
prior to the -- l don't know if you did with
Jane Doe, but - with John Doe - prior to the
complaint involving John Doe?

A. Casually as a worker in the
office, but there's 20 or so workers in the
building. And so l knew her as somebody who,
l would go into the Student Outreach office
and say, "ls Katie in?" but not any prolonged
conversation, certainly not anything in-depth.

Q. Did you ever speak to her
directly about any of the other Community
Standards issues that we discussed earlier'.’

A. Not that l recall,

Q. Did you know anything about her
background or history whatsoever prior to the
John Doe complaint being filed?

A. l did.

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Q. And how did you come to learn
it?

A. As the director of Community
Standards l am aware of all of the incidents.
Even ifl am not directly the administrative
hearing officer for it, it's conduct that's
alleged on campus and so l know about it.

Q. Thank you. l was trying to go
in a different direction with the question.

Did you know anything about her history, as
reported in her deposition already, of either
drug use or an abusive ex-boyfriend, things
that occurred prior to her arrival at SJU,
prior to this complaint being filed in the
John Doe case?
MR. CHESNEY: Object to form.
THE WITNESS: As l recall, l
knew about the substance piece because
that came up through the previous

marijuana matter that we discussed. l

don't know that l knew about the

previous ex-boyfriend. lf l did, it

was, like, a fleeting FYl, as sort of

something that happened, but it wasn't

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something other than documents, perhaps from
any of your colleagues'.’

A. Well, it could have been, yes.

Q. Do you know one way or the
other?

A. l don't.

Q. And l didn't mean to suggest
somebody was sharing confidential information
that shouldn't have been. ljust meant in the
normal course of your business was there
anybody who might have been communicating with
Community Standards about those issues?

A. Right, and l appreciate the
clarification. lt would have been within
educational need to know that l talked with a
colleague about a student who has a
preexisting concem, that now there is a
conduct concern and so it would have just been
out of course, to do what is best for the
student and connect dots and offer resources.

Q. Did you ever -- strike that.
Where does Marci Bermey work?

A. The same office as Katie Bean.

Q. l promise, we will get to your

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something that l recalled.

MR. MIRABELLA:
follow up, but we need to change the
DVD.

THE VIDEOGRAPHER: This
completes DVD number one of the
recorded deposition of William Bordak
for day two. We are now going off the
record at 10:36.

l am going to

(Off the record)

THE \711)_EBGRAPHER: This is ovl)

number two of the recorded deposition

of William Bordak for day two. We are

now on the record at 10:42.

BY MR. MIRABELLA:

Q. So, then, the source of` the
information about her substance abuse history
would have been through documentation, not
through an interview or conversations with
her?

A. Yes.

Q. Were any of the sources from

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appeal letter in a second. The appeal
decision makers, can you just describe for me
how that group is assembled? l don't mean for
the appeal. l mean, who is eligible, what
training do they have, and what offices do
they work in?

A. The appeal panel is drawn from
a board that exists called the Community
Standards board. lt's a dual functioning
board, where they can be a hearing board as
well as an appeal panel. lworked on the
recruitment of those individuals. The faculty
are appointed by faculty senate. The
administrators on the board are appointed by
vice president for student life associate
provost. The student members on the board are
drawn from -- undergraduate student members
are drawn from another board that we have
called the peer review board, which means that
they're well trained in our process, more than
another student might be, and so it's -- and a
graduate student that's selected by myself.
The - it's an 11-person board.

Q. And is the turnover every year

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or how does it works‘.’

A. Faculty, staff, and
administration are on two-year appointments.
Students are on one-year appointment. .lust
with graduation it's easier to have the
students on a yearly term.

Q. And when are they trained or
how does the training take place?

A. lt's ongoing training. We
train at the beginning of every academic year,
so early September, on process, any changes to
the student handbook, any policy revisions
that might have taken place over a summer, and
then there is ongoing training through the
fall semester on other items that would make
them better prepared for their service on the
board.

Q. The 11 members that make up the
board, is it always the same categories, like,
two students, two faculty? How did that work?

A. Yes. There is always - there
is always a set number of faculty, set number
of staff administrators, and set number of
students,

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training, ls there any documentation in your
office that you use to train them with?

A. Yes.

Q. And can you briefly identify
what's used?

A. We use -- kind of the first
step of the training is the policy and so the
policy is a big training document and on the
policy, that flow chart l referenced earlier.
Keeping in mind that this appeal panel would
serve for nonsexual misconduct policy cases as
well, the student handbook serves as a
training document. And for the follow-up
trainings we have materials that are provided
by the Title lX coordinator that serve as more
specific Title lX related considerations.

Q. So when you earlier said the
policy, you mean the SMP policy?
A. Yes.

Q. The flow chart, the policy, the
student handbook. From your office are any
other written materials provided for training?

A. We create a PowerPoint from
information within the student handbook and

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Q. And what is your understanding
of how they are selected for each appeal?

A. There is a general request for
availability. l mean, the primary
consideration is availability and so there is
a first ask for availability and then those
names of the panel members are shared with the
students if the students had any objections to
Share.

Q. Are the names of the
complainant and respondent shared with the
community board members -- Community Standards
board members?

A. Once an appeal panel is
selected, the three to hear the appeal is
selected, the names are shared. The names are
not shared on the initial ask to all 11
members.

Q. ls there any reason why the
names are shared once a panel is selected? ls
that to make certain that there is no
conflicts?

A. Yes.

Q. You talked about the ongoing

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typical training materials.

Q. ls there anything in the
PowerPoint that's not from the student
handbook’.’

A. Yes.

Q. What types of- how long is
the PowerPoint?

A. lt's lengthy. lt's meant to be
kind of multipart, we won't get through the
whole PowerPoint during this training kind of
thing. And keeping in mind that the board,
their specific trainings are on appeals and
their specific trainings are on being a
hearing board member, ln terms of the appeal,
there is a PowerPoint that basically takes the
appeal process into a PowerPoint. lt's easier
to digest, it's easier for us to present the
material, and there might be some other
elements that are not direct from the
handbook.

Q. l understand you said it's
lengthy. Are we talking, is it like
the PowerPoint- in terms of length, 50 pages
or how would it print out?

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A. l would be guessing, but 20, 30
slides.

Q. Are any of the slides just
related to appeal of sexual misconduct cases?

A. l can't recall with
specificity.

Q. ls any section of the
PowerPoint just related or directed to the
appeal of sexual misconduct violations?

A. l can't recall with specificity
on that.

Q. All right. Who created the
PowerPoint teaching tool?

A. There is a lot of tools. lt
would have been created by me or Dr. Perry or
Marci Bermey, in Student Outreach and Support
who had other materials around Title lX
considerations.

Q. l know you are not the Title IX
coordinator, but what is your understanding of
what documents or types of documents the Title
lX coordinator would provide to the Community
Standards board members as it relates to
sexual misconduct?

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letter - appeal reply - excuse me -

response.
lV[R. PlCCERILLI: This is
Bordak-7 again, correct?
MR. MIRABELLA: l believe so.

THE W'ITNESS: Yes.
BY MR. MIRABELLA:

Q. l direct your attention to -
we are on the first page, We are looking
at -- l am looking under Paragraph 1,
"Regarding Appeal." Do you see that?

A. Yes.

Q. Are there any restrictions or
limitations on what you can address in your
appeal reply when you prepare it?

A. l have to answer the questions.
l mean, l am responding to the appeal of the
student and so --

Q. Sure.

A. -- that's my limit.

Q. Correct. So if you had a
conversation with Dr. Perry and you wanted to
comment on it, even though it was Dr. Perry's
words you could comment on that in your

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l don't recall with specifics.
Do you know if there are any?
Yeah.

. All right. How difficult would
it be to identify those documents?

A. Not difficult.

Q. All right. ls it reasonable --
or maybe it isn‘t, actually. Do you know all
the members of the Community Standards board '.’

A. Yes.

Q. Do you know them because they
are on the Community Standards board or
because you work at the same university? l am
trying to get a sense for their interaction
with your office and your personal knowledge
of them.

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A. lwould say l know them in both
capacities. lt's a small campus. l pride
myself in getting to know faculty and getting
to know people outside of my office. So, you
know, l know them because they're on the
board, but l also know them because l try to
get to know people on campus.

Q. All right. Back to your appeal

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letter?

A. l could.

Q. And in this letter, the second
sentence under paragraph one, can you read
that into the record?

A. "Upon initial review by the
Title lX coordinator and the director of`
Community Standards it was determined that the
conduct alleged would constitute a violation
of the St. Joseph's University sexual
misconduct policy, policy regarding sexual
assault, sexual harassment, sexual
exploitation, domestic violence, dating
violence, or stalking."

Q. So am l correct - and correct
me if l'm wrong -- you are indicating in that
sentence in response to the claim that the
complaint did not fit the definition of sexual
assault that you believed - that it was your

opinion that it did?
A. Yes.
Q. And you also were indicating

that it was the opinion the Title lX
coordinator, wlro was Dr. Mary-Elaine Perry,

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that it did as well'.’

A. Yes.

Q. And then you go on to also
indicate that it's the opinion of the
investigator, correct?

A. Yes.

Q. What was your basis for
concluding that it was the opinion -- never
mind. l see your basis. You comment on the
investigator's report, correct?

A. Yes.

Q. And l think you already told me
you didn't have any conversations with
Ms. Malloy about her investigation in this
matter, correct?

A. Right.

Q. My understanding from Dr.
Perry's testimony is that as the Title lX
coordinator she's supposed to stay out of the
disciplinary process. ls that your
understanding?

A. 1 don't know what - "stay out
of"' is kind ofa loaded -

Q. Sure.

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Title lX coordinator's opinion about the
definition?

A. l do, because in the appeal it
was raised that, quote, someone in the office
of Community Standards made that decision and
so l thought it was appropriate to say that by
policy it was the Title lX coordinator in
consultation with Community Standards about
the process and the complaint.

Q. And in that same section, next
paragraph, "The breadth of conduct," do you
see that?

A. Yes.

Q. Can you read that into the
record? l just want to ask you some questions
about it.

A. "The breadth of conduct that is
prohibited under the policy was discussed
with," redacted, "during his pre-investigation
meeting (Appeal Packet, Page 46) on March 6,
2018."

Q. And then right beneath that,
what appears to be -- is that something that
was embedded from the pre-investigation

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A. Ultimately, she's responsible
for the university's compliance under Title lX
and so she does have an interest in ensuring
the disciplinary process proceeds
appropriately and so in that sense she is in
the process, but she's not in the day-to-day
weeds of the operations of the disciplinary
process.

Q. She doesn't serve as a hearing
coordinator - l mean of a hearing board
member, correct?

A. Right.

Q. And she doesn't respond to
appeals, correct?

A. Right.

Q. And she doesn't do the
investigations and didn't do -- strike that.

She didn't do the investigations under the
old - before the SMP, correct?

A. Correct.

Q. And am l correct in assuming
that your reference to Dr. Perry's opinion
about this was included because you felt it
was relevant and appropriate to allude to the

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meeting checklist?

A. Yes.

Q. And is that a reference to what
you're talking about in terms of the breadth
of the conduct?

A. Yes.

Q. And what is the breadth of
conduct, then, that was referred to?

A. That sexual misconduct can
include sexual assault, sexual harassment,
domestic violence, dating violence, sexual
exploitation, stalking, retaliation, and
intimidation.

Q. Why did you believe it was
appropriate to investigate this matter as a
sexual assault and under the sexual misconduct
policy?

A. l don't want to mis-cite the
definitions in the sexual misconduct policy,
but there is a place regarding nonconsensual
sexual contact and it was my estimation that
the complaint as alleged should be
investigated as potentially nonconsensual
sexual contact.

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Q. And what about the contact was
sexual, as far as your understanding of it as
alleged?

A. lt was in the context of a
kissing, sexual encounter. lt wasn't - you
know, the same conduct taken outside of that
kissing would have made it maybe look
differently, but within the context of kissing
l absolutely saw it as potentially conduct
that was nonconsensual sexual contact.

Q. Did the complainant indicate
that the squeezing -- that she believed that
squeezing her neck was sexual or sexually
aimed?

A. l don't know her specific
language, but as l looked at it and l looked
at it with Dr. Perry and the definitions in
the policy and we determined it to be.

Q. There have been Community
Standards violation claims that you and Dr.
Perry didn't agree or had a difficult time
deciding if they should go under the SMP or
not‘.’

A. l would - not that we have

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the sexual misconduct policy.

Q. l understand. lf the
allegation was that they were talking and the
squeezing of the neck occurred but there was
no kissing, what policy or policies might that
have implicated, if any, under the Office of
Community Standards?

A. We certainly have policies and
expectations around physical contact, abuse,
threatening, endangering others that it could
be addressed under.

Q. Would it still have been sent
to an outside investigator?

A. No.
Q. Would the - what's dating
violence?

A. ldon't -- l'm not going to
misspeak the policy. There's a definition in
the policy I can reference.

Q. l guess my question is: Do you
believe that the conduct as alleged had fallen
under the definition of dating violence‘.’

A. Again, without looking at the
document - l don't want to misspeak -- but my

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disagreed on. lwould say - l would change
the word "disagreement" -- or "difficult," l
think you said. Some of these are more
complex and so they require more of a
conversation and looking at the policy
definitions.

Q. ls there a general presumption
that if it's a close call it goes under the
SMP?

A. Yes, but there also has to be
conduct implicated under the policy. We are
not going to always err on the side of, "Well,
we will send it to an investigation," but it
has to reach a threshold of conduct that could
implicate the policy.

Q. If the conclusion in this case
was that the squeezing of the neck was not
part of an intimate or sexual act, would it
have been investigated under the Community
Standards general provisions, outside of the
SMP?

A. lt's hard to talk in
hypothetical, but if it was outside of a
sexual encounter l don't see it as initiating

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understanding is dating violence speaks to a
preexisting social relationship that 1 don't
believe was present in this matter.

Q. Directing your attention down
to paragraph two -- oh, l'm sorry. l forgot
to ask you: Are there any limitations on
which members of the Community Standards board
hear appeals involving cases involving sexual
misconduct?

A. No.
Q. All right. Let's move to the
next page.
MR. PlCCERILLI: 585?

MR. MIRABELLA: Yes. Thank
you.
BY MR. MIRABELLA:

Q. All right. The first full
paragraph, can you just read that into the
record?

A. Yes. Redacted, "expressed in
his appeal that the ‘entire process is biased
against the accused and in favor of the
accuser. l was not allowed to know the
details of the claims against me until after l

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was convicted ...' The process administered
was equitable, fundamentally fair, and
included equal protections for both the
respondent and complainant."

Q. What do you mean by the term
"equitable"'.’

A. At every step in the process,
at every engagement with the one student we
engaged with the other. Both students were
invited to a pre-investigation meeting. Both
students were invited to share with the
investigator, both in the moment and in the
time following if they had additional
information to share. Both students were
shared the outcome on the same timeline. So
that equitable and equal protections is - are
similar.

Q. Was the respondent told that if
they want the matter can be referred to law
enforcement?

A. Yes.

Q. So the respondent can say, "l
don't want to" - "l think this should go to
the DA's office" or whatever, not just the

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to points raised by" redacted "in his appeal
regarding the information shared or not shared
during the investigation process. l am unable
to respond to these points."

Q. And this is an area you and l
have always discussed earlier in the
deposition, correct?

A. Yes.

Q. ljust want to make sure l am
clear on one thing. Your sentence says the
Office of Community Standards - it speaks
about prior to or during the pre-investigation
meeting that the details are not shared,
correct?

A. Correct.

Q. ls it also correct that the
details are not shared after the
pre-investigation meeting and before the
respondent meets with the investigator'.’

A. Not by the Office of Community
Standards.

Q. And the only other source of
sharing of that information, if not from
Community Standards, would be the

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complainant?

A. Yes.

Q. So the complainant in this case
provided certain evidence in the statement,
correct?

A. l can't recall specifically.

Q. And you have some training
under Title lX, correct?

A. Yes.

Q. And Title lX requires that the
investigations be equitable, correct?

A. Yes.

Q. And Title lX also requires that
the investigations be fundamentally fair,
correct?

A. As l understand it. l am not
sure the exact language that's used.

Q. All right. The next paragraph
says -- can you read that into the record?

A. Yes. "The Office of Community
Standards does not share the details of the
complaint with the respondent prior to or
during the pre-investigation meeting, The
investigator is better positioned to respond

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investigator, correct?

A. Yes.

Q. How long does it take you to
prepare a reply like this to an appeal?

A. Couple hours.

Q. And how long does the appeal
panel have access to the information they are
being asked to decide on?

A. lt varies. At least a few
days.

Q. Are they provided with, if you
know, the documentation necessary to review
for the appeal or is it made available to them
online?

A. We use - it's made available
to them online in a password-protected form,
given the secure nature of the documents,
protected nature of the documents. We also
have a printed copy of the documents available
during the meeting.

Q. During the actual meeting, when
the panel comes together'.’

A. Yes.

Q. You don't serve as a moderator,

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though, correct?

A. No.

Q. Has anyone internally at SJU
ever expressed concern about the appeal
responses being done without notice to the
respondent?

A. No.

Q. Do you believe that having the
procedure in place that St. Joe's has for the
appeal reply, as we have discussed, that the
moderator invites, in any way interferes with
an equitable investigation?

A. No.

Q. Has anyone ever raised or
talked about changing the process so that the
respondent would have an opportunity to
respond to the investigator's initial findings
before an outcome or a finding of
responsibility?

MR. PlCCERILLI: Can you repeat

that, please?
(Whereupon, the court reporter
read back from the record.)

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BY MR. MIRABELLA:

Q. Outside of what you may have
learned through privilege grounds, do you know
why?

A. No.

Q. Do you believe that having the
respondent -- giving the respondent an
opportunity to reply in writing to the
investigator's preliminary findings before
there is an outcome or a finding of
responsibility would be in any way undermining
of the process?

A. No.

Q. Do you believe that it would be
beneficial for the investigator in coming to
her findings and conclusions and reaching a
just outcome?

MR. PlCCERILLI:

back, please.
MR. MlRABELLA: Do you want me

Read that

to just rephrase it? lt was too long.
BY MR. MIRABELLA:

Q. Do you think it would be a good
thing --

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THE WlTNESS: Yes.
BY MR. MIRABELLA:

Q. When was that raised and by
who?

A. 1 recall a privileged
conversation at the invitation of general
counsel to discuss the Q&A in fall of 2017.

Q. And was anything changed?

A. ln terms of".’

Q. To change the process so that
the respondent would have an opportunity to
respond to the investigator's report before an
outcome or before it's considered the
findings.

A. No.

Q. Do you know why'.’

MR. PlCCERILLI: Wait a minute.

MR. lVllRABELLA: Outside of
what l - is there an objection to
privilege?

MR. PlCCERILLI:
an objection on privilege grounds.

Yes. there's

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MR. PlCCERILLl:

l may. lf you can just keep your

voice up a little bit, because

sometimes it's hard to hear you.

MR. MlRABELLA: Really?
MR. PlCCERILLI: Yes.
BY MR. MIRABELLA:

Q. That question got kind of long
and sideways. Let me try it again, Do you
believe that -- do you believe or have an
opinion as to whether giving the respondent an
opportunity to respond to preliminary findings
before there is an outcome or a finding of
responsibility would be a good thing for the
investigative process?

A. You know, l am not the
investigator and so l am hesitant to answer in
terms of the impact something might have on
the investigation.

Q. The conversation that came up,
the privileged one, that was before the
incident with John Doe, correct?

A. Yes.

Q. And that, l think you

Excuse me, if

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referenced, maybe the Dear Colleague Letter'.’

A. Yes.

Q. l want to go back to - maybe
not. Bear with me here. As part of the
sexual misconduct policy investigation is the
respondent advised in writing at any point
that the meeting with the investigator is, in
fact, the equivalent of a hearing?

A. We don't use that language, but
in the explanation of what the investigation
is we are covering all aspects, that would
also have been covered in a hearing. We don't
call it a hearing, but it is through its
nature a hearing.

Q. What is your understanding --
and this is not your direct responsibility,
just your understanding as the director of
Community Standards as to why Mr. Anderson
would -- reviews all the appeals initially, at
least for sexual misconduct cases?

A. l can't answer.

Q. Are you aware that he reviews
them?

A. l don't know. Like, truly,

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IX?

A. Yes.

Q. All right. Can you identify
the significant ones? And l don't --
significance - l mean the ones that
involved - that either you got materials at
or that you found helpful or maybe you
traveled to?

A. Not recently, that l can recall
with specificity.

Q. Any in 2018?

A. ln February there was a
conference that l know l attended. l don't
know whether they were specific to that. l
get emails every day from the Association of
Student Conduct Administration that is kind of
conversation about it. So it's not that l am
not ever engaging in learning or research on
Title IX.

Q. And your responsibilities in
the Office of Community Standards are broader
than Title lX, correct?

A. Yes.

Q. Have you ever attended any of

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once the matter is concluded at Community
Standards it moves to appeal and l respond
when asked - if asked to respond.

Q. ln this instance, respondent
first was able to get academic - first was
able to arrange with his adviser an
opportunity to see the investigative file
after the appeal was concluded. Are the
respondents notified after the fact, after the
outcome of` the appeal that there were other
individuals who provided responses to the
appeal?

A. No.

Q. Mr. Bordak, have you attended
any webinars or participated in webinars or
seminars or presentations by outside groups --

A. Yes.

Q. - or firms -

MR. PlCCERILLI:
second.
THE WITNESS:
paused.
BY MR. MIRABELLA:
Q. Fair enough - involving Title

Hold on a

l thought he

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the ATIXA presentations'.’

A. No.

Q. Do you have any of the ATlXA
reference materials or publications in your
office?

A. Not that l regularly reference.
They may be in a binder on the bookshelf
somewhere that l have gotten over the years.
So l can't say yes or no.

Q. Fair enough.

A. But it's not desk side that l
reference.

Q. This came up and didn't get
fully flushed out. What materials do you have
in your office about Title lX -- l don't mean
today, l mean as of April 30 and before of
2018 -- that you might reference from time to
time?

A. Not that l reference. l mean,
l have a binder and a folder of copies of Dear
Colleague Letters or resolution agreements
that were read for informational purposes or a
privileged setting, but not something that l
reference regularly.

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Q. Any other authorities, authors,
speakers in connection with Title lX that you
recall being helpful or informative that you
have used or watched?

A. Not that l can recall,

Q. You mentioned you took- one
of your graduate classes was with Dr.
Anderson?

A. Yes.

Q. And there was some discussion
of the Title lX in that class?

A. Yes.

Q. The class covered more than
simply Title lX, correct?

A. Yes.

Q. l'm sorry. l don't remember
the answer. Was there any handouts in
connection with the Title lX materials?

A. There were not handouts. There
were electronically available PowerPoints that
may have had a slide or two on Title L‘(. l
can't be certain.

Q. And what about the coursebook,
anything on Title IX, if there was a

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lt cost money. l'm keeping it. So l do know
the name.

Q. Can you tell me?

A. No. l could find the name.

Q. Would you do me a favor and
provide - would you provide the information
as to the title of the coursebook to your
counsel and also the edition or the copyright
edition, so the fifth or the sixth or
whatever?

A. Yes.

Q. Thankyou. ls this appeal
letter similar in scope - and l understand
based on your earlier testimony that when you
do the appeal reply its content‘s driven by
issues to implicate your responsibilities in
the Office of Community Standards, correct?

A. Yes.

Q. So the scope of the letter
would change depending upon what's raised in

the appeal?
A. Yes.
Q. As a general matter, is this

consistent with the type of letters that you

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coursebook?
A. Yes.
Q. What was the name of the
coursebook?
MR. PlCCERILle l'm sorry.
What is the - hold on a second. What
is the question that you're answering,
whether there was a coursebook or was
it whether or not there was Title
[X _
MR. MIRABELLA: Al, don't
worry. I'm going to ask him.
BY MR. MIRABELLA:
Q. Was there a coursebook'.’
A. Yes.
Q. Did it have anything on Title
lX?
A. Yes.
MR. PlCCERILLI: Thank you.
BY MR. MIRABELLA:
Q. Can you name the coursebook or
identify it in some way that will allow me to
find it'.’
A. Yeah. l mean, l still own it.
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prepare in appeal responses?

A. Yes.

Q. Can you just refresh my
recollection about your testimony? Are there
ever pre-investigation investigations done in
connection with complaints involving sexual
misconduct under the new sexual misconduct
policy?

A. Can you repeat that? l don't
understand your question.

MR. PlCCERILLI:
the form.
BY MR. MIRABELLA:

Q. You don't understand my
question? Sure. ln a situation where Dr.
Perry receives a complaint that implicates
sexual misconduct are there circumstances
where your office or the office of-- school
safety office does an investigation prior to
initiating - prior to referring it out to an
investigator?

A. Yes.

Q. All right. What circumstances
might prompt that? And l apologize. l think

Objection to

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some of this was covered and l think l know
the answers to some of it.

A. ln an instance where the
complaint is unclear, because maybe the
complainant shared with not Dr. Perry but with
an RA, and maybe in that moment it's not quite
clear what their complaint is, our public
safety investigator or, frankly, somebody else
in residence life might follow up with a
complainant together or Dr. Perry might follow
up with the complainant to get more
information. We don't really call that an
investigation. lt's more of a collection of
information to determine the procedural route
and so in instances where it's not clear and
we would benefit from more information.

Q. What ifthe complainant can't
identify with specificity the respondent? And
ldon't mean, like, has no idea. l mean,
like, provides some details, but it can't -
it's not perfectly clear that it involves a
specific respondent that can be identified by
the complainant?

A. There are times when we've gone

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not surveillance - video footage of campus
security?

A. l can't recall.

Q. What about card swipes?

A. l can't recall with
specificity.

Q. Since you've been in the Office
of Community Standards do you recall any of
the investigations involving sexual misconduct
implicating security cameras?

A. l don't know what you mean by
"implicating security cameras."

Q. Somebody wanted to see security
camera footage of the outside of a building,

A. l can't recall.

Q. Back to some of my earlier

questions. lf there was security camera
footage relevant to the investigation that was
requested in a particular investigation, under
the StarRez system could you determine that?

A. No.

Q. But you believe if you brought
up the whole case you would see that there was
a reference to video footage?

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to the outside investigator to investigate
those matters when we were - when the
complainant was and, thereby, we were
confident that it was likely a student, the
investigator would do that investigation, even
if at the end of the investigation it was

still unable to determine the name or identity
of the respondent,

Q. What information is the
investigator entitled to other than what is
provided directly to the investigator by the
witnesses and by your office?

A. They are entitled to what they
need and so we really leave it up to them
to - within the scope of their investigation
if they find something relevant and wanted
that information, they have the ability to
request it, and that could be card swipe
histories on campus. l know they have asked
for a variety of things related, but it's up
to them to determine.

Q. To your knowledge, since the
SMP has come into effect, the interim SMP, has
an investigator asked for any surveillance --

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A. Yes. lf within the
investigative report there was mention of a
video footage, then, yes.

Q. But there is no box in the
StarRez system for that type of evidence that

gets checked?
A. Right.
Q. ls the complainant ever advised

orally that the advisers, any advisers or
support person they engage cannot be a

witness?

A. Yes.

Q. How is that process handled in
general'.’

A. During the conversation about

the advisers during the pre-investigation
meeting and it's listed in the policy as a
condition of advisers. So during the
conversation about advisers that's touched
upon.

Q. What about the -- there is -
what kind - strike that. Certain individuals
at the school in the Student Outreach Office
have specific training to serve as support

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people?

A. Yes.

Q. What is that called and what
type of training do they have, to the extent
you're familiar with it?

A. l don't know exactly what they
are called. My understanding is that the
Student Outreach and Support trains folks
across the university as staff members that
will reach out to students to ensure that we
are being equitable and that we are providing
support and resources to both students
involved and so if somebody is needed to reach
out to the student, really just to avail
themselves as a support resource. lt's not a
procedural resource.

Q. Understood.

MR. MIRABELLA: Off the record
for a second.
THE VlDEOGRAPHER: Off the

record, 11:23.

(Off the record)

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sexual assault also includes nonconsensual
sexual contact. Nonconsensual sexual contact
means any sexual touching with any object by a
person upon another person without consent or
forcing any person to touch you or the
individual in a sexual manner. lt is defined
as engaging in any sexual contact other than
intercourse with another person without that
person's consent and/or cognizance. lt
includes any nonconsensual sexual contact,
including any improper touching of intimate
body parts. lt also includes the
nonconsensual removal of another's clothing,
indecent contact, i.e., the unwanted touching
ofintimate body parts, including but not
limited to genital, buttocks, groin, or
breasts or causing another to have indecent
contact with those intimate body parts."

Q. Can you zero in on the portion
of the definition that you believe is
applicable to the allegations of Ms. Roe
against Mr. Doe?

A. Where it says "lt includes any
nonconsensual sexual contact, including any

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THE VIDEOGRAPHER: We are on

the record, 11:32.
BY MR. MIRABELLA:

Q. Mr. Bordak1 l am going to hand
you a couple of pages from the sexual
misconduct policy. lt's SJU1180 and 1181. l
want to direct your attention to the
definition of sexual assault, specifically,
the definition that you were discussing
involving nonconsensual sexual conduct, l
think that's Subpart l. Can you look at that
for a moment? lt starts at the bottom of the
page and goes onto the next page. l am going
to ask you just to read the first portion from
the bottom, the ii at the bottom of the first
page and top of the first page into the
record, to frame the questions.

A. The entire paragraph here --

Q. No.

A. - of ii‘.’

Q. Just start and go a sentence at
a time. l don't think we need to read the
whole thing, but you can decide that.

A. "For purposes of this policy

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improper touching of intimate body parts."

Q. Was it your belief that the
touching of Roe's neck was an intimate body
part?

A. lt was my belief that it was
enough of a complaint and suggestion that it
was to go to an investigation for the
investigator to determine. So l was not
determining the consensual nature. lwas not
determining the specifics of sexual contact or
intimate body part. But it was suggested that
it was in the complaint enough for there to be
an investigation.

Q. There was nothing in
the complaint -- strike that. The complaint
did indicate that the touching part, not the
application of the force, but that the
touching part was consensual1 correct?

A. l don't recall specifically.

Q. Assume for purposes of moving
this along that there was no indication that
it was not consensual that, in fact, the
investigator found that it was consensual, the
touching. What part of the complaint did you

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feel triggered the sexual misconduct policy?
l guess, to be fair to you, you said based on
the complaint, correct?

A. Yes.

Q. And the complaint included an
allegation that John Doe had his hand on .lane
Roe's neck while they were kissing, correct?

A. Yes.

Q. And is that generally the part
of the complaint you're referring to?

A. Yes, but without the f`ull
complaint in front of me l don't know if
that's exhaustively it.

Q. The full complaint, you're
referring to Dr. Perry's complaint that she
sent to your office?

A. Yes.

Q. The initial complaint which is
Page 3, this is SJU document 0335, and l
believe that's what you are referring to as
the initial complaint?

A. Yes.

Q. All right. Can you tell me
what in the initial complaint you relied on to

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back of John Doe's shoulder and while they
were making out applied force and, you know,
broke skin, that could potentially implicate a
sexual misconduct violation'.’
MR. CHESNEY: Object to form.
MR. MIRABELLA: There's no
suggestion that happened here.
MR. PlCCERILLI: Let me object
to the form too. You can answer.
THE WITNESS: Yes. Yes. Given
the facts as you presented, yes.
BY lVlR. MIRABELLA:
Q. All right. Mr. Bordak, l know
this has come up at some of` the depositions,
but it's still not perfectly clear to me. Wbo
was responsible for hiring and overseeing
Ms. Malloy's involvement in the investigation?
A. l was not part of the -
MR.PlCCERlLLI: Objection.
BY MR. MlRABELLA:
Q. At St. Joe's, at SJU.
MR. PlCCERILLI:
investigation or -- is that what you
meant to say?

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reach your own conclusion that this implicated
the sexual misconduct policy definition of
sexual assault?

A. "They began making out, which
was fine, then somehow he put his hand on her
throat and began squeezing her neck."

Q. And what is that-- how did you
interpret that under the definition?

A. l interpreted the making out
being a context under which sexual contact can
occur. The definition in the policy says it
includes but not - "unwanted touching of
intimate body parts, including but not limited
to, genitals, buttocks, groin, or breasts." l
saw in my read that neck could potentially be
included as an intimate body part given the
context of making out in a sexual situation,

Q. Could the back of somebody's
shoulder be an intimate body part under
similar circumstances?

A. Potentially, yes.

Q. So if the allegations were that
Jane Roe had her - hypothetically, there is
no allegation - had her fingemails on the

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MR. MIRABELLA: Want me to
break it down?
MR. PlCCERILLI:
BY MR. MIRABELLA:

Q. First off, when there has been
an investigation triggered under the sexual
misconduct policy who at SJU does Ms. Malloy
report to?

A. "Report to" is - l don't know
what you mean by "report to." For purposes
of - so let me answer this way: For purposes
of the process and a pending investigation,
she works directly with me, but lwould not
say that Liz reports to me.

Q. And if there was an
interruption or an issue with the completion
of an investigation who at SJU would take
responsibility for interfacing with the
investigator or the investigator's firm?

A. ldon't understand your
question.

Q. Sure. lf for some reason,
hypothetically, Ms. Malloy started but didn't
complete an investigation who at SJU would

Sure.

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follow up to make certain it got completed?

A. Potentially me, potentially Dr.
Perry, as Title lX coordinator.

Q. Who selected, if you know, at
SJU Ms. Malloy to perform the investigations?

A. l do not know who selected.

Q. Do you know what her
qualifications are'.’

A. l don't. l have a copy of her
resume or itemized, but l have no reason to
doubt her qualifications, as she's been - the
institution has selected her and supported her
in the role.

Q. Were you ever asked to assess
her qualifications?

A. No.

Q. Or review her resume or CV
prior to her initiating an investigation?

A. No.

Q. Do you know if she's certified
as a Title IX investigator?

A. l don't know if that
certification exists, so no.

Q. And if it exists, do you know

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anticipate timing,

Q. All right. And do you know
what the department or what position, whether
it be the vice president of student life or
someone else, who was responsible for
retaining her firm as the outside
investigators?

A. l don't know,

Q. Do you know if any other firms
or individuals have been retained - l
understand Ms. Malloy has changed firms. Let
me ask that a different way. Are you aware of
any other - investigators from any other law
firms performing investigations?

A. No.

Q. And have you worked with any of`
the other investigators at her firm?

A. Yes.

Q. And do you know who they are?
A. Yes.

Q. Can you name them?

A. Andrew Shapren was an

investigator, Rose lsard was an investigator,
and Andrew Rolfes was an investigator.

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if she has it'.’

A. No.

MR. PlCCERILLI:
BY MR. WHRABELLA:

Q. Have you ever heard her speak
or give a presentation?

A. No.

Q. Have your met her in person?

A. Yes.

Q. And how often and how long have
you known her?

A. l have known her since we
started the investigations. l didn't know her
prior to. And l see her in person when she
comes to campus to interview students, She
stops in our office to get a key to the
conference room across the hall and often
stops in and says hello.

Q. Does she share the progress of
an investigation with you during the
investigation?

A. Timeline, yes, but not any
depth, She might say, "l anticipate another
week" and that's helpful for us to just

Objection.

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Q. And have any of those
individuals performed investigations in the
last two years?

A. Yes.

Q. Who decides which investigator
performs which investigation?

A. Ms. Malloy,

Q. ls she considered the point
person at her firm for the outside
investigators?

MR. PlCCERILLI:
BY MR. MIRABELLA:
Q. Or is there a different title?
MR.PICCERILLI: Objection.
BY MR. MIRABELLA:

Q. ls she the lead investigator,
that's what l want to know?

MR. PlCCERILle Objection.

THE VVlTNESS: She is my main
liaison. So l don't know - l feel
uncomfortable giving her a title like

lead or liaison. She's the one who l

contact and she looks at her

availability and the availabilities of

Objection.

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other investigators as well as

conflicts with -- potential conflicts

With students and makes the

determination on who will be the

investigator.
BY MR. MIRABELLA:

Q. Have there been any since the
SMP has taken place conflicts with students
since - that you're aware?

A. Yes.

Q. Do you know how many times it's
happened?

A. There was once.

Q. Was the conflict that the
investigator or the student knew each other or
something else?

A. The investigator had been an
investigator in a matter that involved the
student before. So let me clarify. There may
have been more than one, as l'm talking.

l was asking you by memory.
Yeah.

Sure.

But those have come to our

.>@.>'Q

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Q. l was going to say. The
meeting you do remember, when was that, toward
the beginning of the new process or more
recently?

A. So l know we had a meeting in,
l think, last summer and it was typical, sort
of "Let's talk about the year." That's the
last time l recall having quote, unquote
training conversation.

Q. Do you recall what subjects
were covered at that meeting?

A. l can't recall with specifics.

Q. Were there any discussions, if
not specifically generally, about changing the
process in any way?

A. Not that l can recall.

Q. Was Ms. Malloy involved as the
investigator for the sports team?

A. Yes.

Q. That investigation ended up in
both an SMP model and a Community Standards
model, correct?

A. Yes.

Q. Has that ever happened before?

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attention, as we have done this for a few

years, the investigator might know some of the
parties involved and we have avoided assigning
them the investigation.

Q. How did Malloy become familiar
with and knowledgeable about the SJU
procedures'.’

MR. PlCCERILle
BY lV[R. MIRABELLA:
Q. What is your understanding -
MR. PlCCERILle Basis.
BY MR. MIRABELLA:

Q. What is your understanding of
how Malloy was introduced to SJU's process?

A. l don't have an understanding
or recollection,

Q. Have you ever served in that

Objection.

role?

A. l have met with Liz on
occasion, with Dr. Perry, to talk through,
kind of, the procedures and the policy, but l
wasn't - l don't recall being a part of the
initial training, Again, this is a few years
ago. l can't remember.

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A. Yes.
Q. How often, do you know?
A Not often.

MR. PlCCERILLI:
second. Let's go off the video,

please.
THE VIDEOGRAPHER: Off the

record, 11:44.

Hold on one

(Off the record)

THE vISE?)GRAPHER: we are on

the record, 11:46.
BY MR. MIRABELLA:

Q. Mr. Bordak, was Ms. Malloy the
investigator in the situation involving one of
SJU's sports teams?

A. Yes.

Q. And l asked you about dual -
in situations where there was a process under
the SMP and through Community Standards and
you said there has been other occasions,
correct?

A. Yes.

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Q. Were the other occasions before
or after -- had to be after the SMP was
instituted, correct?

A. Yes.

Q. And you mentioned at least one
and you said there could have been others.
You're not sure'.’

A. Yes.

Q. Can that be checked in the
StarRez system‘.’

A. Yes.

Q. ln this instance you were
directly involved in the Community Standards
violations investigations?

A. Yes.

Q. And what was your involvement?
l know there has been some testimony. lwant
to try to move this along.

A. My involvement was the
administrative hearing officer for the conduct
that was in the complaint that did not meet
the definition of conduct prohibited by the
SMP. So l was not -- we were not looking at
the same conduct, l was looking at the

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A. No.

Q. Did it include the specific
provisions of the Community Standards conduct
code?

A. Yes.

Q. Were they advised that they are
entitled to access to evidence of the
violation [sicj of those claims against them
prior to any hearing?

A. l can't recall specifically,
but it would have been our process to do that,
yes.

Q. And did hearings take place in
connection with those claims?

A. Yes.

Q. Do you know how many?

A. l don't recall.

Q. Were you the hearing officer
for all the hearings?

A. Yes.

Q. How are the hearings
memorialized or documented when they occur?

A. We don't have a transcript.

They are not recorded and so the documents and

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nonsexual misconduct policy complaints.

Q. And there was both claims
asserted - investigated against the team as a
whole, correct?

A. Yes.

Q. And against at least two
individuals on the team?

A. Yes.

Q. And in that process were the
two individuals provided with written notice
of the violations and claims asserted against
them that were not part of the SMP'.’

MR. PlCCERILLI: You mean the
claims were not SMP claims?
BY MR. MIRABELLA:

Q. The non-SMP part of the claims
that fell within your purview.

A. They were given notice of the
violations of the code that they are alleged
to have violated.

Q. How were they provided that?

A. ln written notice.

Q. Did that written notice include
the specific factual allegations?

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the student's file is the memorializing of the
hearing.

Q. All right. And is it
reasonable to conclude there were at least two
hearings'.’

A. Yes.

Q. And do you know if there was
any witnesses who provided testimony other
than the respondents?

A. As 1 recall, yes.

Q. All right. And am l correct
that, as to the individual students, there was
a finding of not responsibility for both of
them?

A. l can't recall specifics.

Q. But that can be determined‘.’
A. Yes.

Q. And that would be in StarRez?
A. Yes.

Q.

Do you recall anything about
the other situation involving a dual process,
where there was SMP and non-SMP violations?
A. Yes.
Q. Without identifying the student

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involved can you describe the specifics or a
little more about the case?

A. Yes. There was two matters
that l recall now. One was a sexual
misconduct policy complaint by a respondent
who at the time was banned from campus for a
previous and pending matter and that
respondent was under the influence of drugs at
the time and so we addressed - l addressed
the drug policy and the violation of that ban
separate from the sexual misconduct complaint
that was investigated,

Q. That's after 2015, or January?

A. Yes.

Q. Was that - with respect to the
allegations, that person for the non-SMP
violations received a Notice of Process
Letter, right?

A. Yes.

Q. Were the specific code
violations described or identified in the
letter?

A. The violations were listed.

Q. Were any of the factual

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No.

Can they take notes of their
review?
Yes.

. And can their adviser, if they
have one, see those documents?

No.

ls anyone else entitled to see
those documents besides the complainant and
the respondent in that situation?

A. And university staff who have a
need to see them, no.

Q. lt seemed as though, based on
the documentation produced, that Ms. Malloy's
investigation of the sports team athletes was
done individually, as separate investigations.
Was your investigation done the same way,
separately, or was your matter handled under
the non-SMP, separately or collectively?

A. Separate hearings, but,
obviously, a simultaneous collection of
information, right, because a conversation
with one was about the same complaint as
others and so they were separate matters.

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allegations listed?

A. No.

Q. And the same question, was that
individual advised or would have been advised
that they were entitled to see the specific
evidence against them prior to any
administrative hearing?

A. Yes.

Q. Do you know if that individual,
in fact, did review the evidence?

A. l don't recall that he did.

Q. ln those situations where the
student does review the evidence prior to a
hearing, how is that arranged and what's the
process for it?

A. They can contact Community
Standards and we can schedule a time for them
to review the documents.

Q. Are the same limitations -
similar limitations placed on them in terms
of, can they copy the documents?

A. No.

Q. Can they photograph the
documents?

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Q. ls there any advantage to
whether they're channeled separately or
collectively to the institution in terms of
being thorough?

A. Well, for the students. The
students have their own individual processes.
lt's inappropriate to lump students together
in the same hearing at the same time.

Q. All right. There was slide
shows presented to the students at the
beginning of the year that you're aware of
about sexual misconduct, through your office
or in conjunction with your office?

A. So beginning of the year - we
do something in the summer during orientation,
ls that what you're referencing?

Q. Yes.

A. Okay. ljust wanted to be
clear. Yes, l'm aware.

Q. And the slide show talks about,
amongst other things, the definition of sexual
assault, correct?

A. As l recall, yes.

Q. Have you changed that or is the

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slide show still being utilized?
MR. PlCCERlLLl: Changed from
when'.’
MR. MlRABELLA: From when
Mr. Doe would have seen it.
THE WITNESS: l don't know. l
am not responsible for that.
BY MR. MIRABELLA:
Q. This past year did you see it
when it was presented?
A. This summer?
Q. Yes.
A. No.
Q. Did you see it -- have you ever
seen it presented'.’
A. This summer?
Q. No, or prior summers,
A. Prior summers, yes.
Q. ls it your belief that claims
of sexual assault or sexual misconduct,
generally speaking, are underreported'.’
A. lt is.
Q. ls it your belief that that
holds true on the SJU campus as well?
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complainant or respondent holds any special
student leadership positions?

A. Not all leadership positions.
We only record select positions within our
system,

Q. Which ones are the ones that
are recorded'.’

A. We record athletes and we
record Greek life, because we want to be able
to engage those campus partners should
something come up with those students. But we
don't -- it's not used as a warehouse for
involvements across campus, so l wouldn't be
able to --

Q. How does one fall in or outside
the athlete category, for example, if they are
on an athletic team?

A. Right.

Q. What about - what are the
student orientation leaders referred to? Are
they red shirts or something?

A. Red shirts.

Q. ls that information noted in
the StarRez system?

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A. l have no reason to think that
a national trend wouldn't also speak to our
campus, no.

Q. So, as to generally, you don't
dispute it, but you don't believe that
necessarily holds true on SJU's campus?

A. l do think it holds true on our
campus. l have no reason to think that the
national trend would be different on our
campus.

Q. Did you have any involvement in
the grant application?

MR. PlCCERlLLl:

are we referring to?
MR. MIRABELLA: The $300,000

Which grant

grant.

THE WITNESS:
the writing group. l provided
information when requested by that
writing group specific to Community
Standards.

BY MR. MIRABELLA:
Q. ls there any way under the
StarRez system to determine whether the

l was not part of

400

lt is, yes.

How is it input'.’

Manual.

So you could run a query as to
whether a complainant or respondent was a red
shirt?

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A. Yes.

Q. What is a red shirt?

A. Orientation leaders. They are
students who facilitate small groups, lead
small groups during our summer orientation
program.

Q. And has that input information
been the case since the StarRez system
started?

A. l can't answer that.

Q. But it is as far as your
familiarity with it and use of it in the past
yea rs, yes‘.’

A. Yes.

Q. All right. 1 want to ask you
very briefly, because we are tight on time,
about the Q&A that came out along with the
Dear Colleague Letter in 2017.

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401

MR. MIRABELLA: Let's go off
the video.

THE VIDEOGRAPHER: Off the
video, 11:57.

(Whereupon, Exhibits Bordak-8
and Bordak-9 were marked for purposes
of identification.)

THE_in)i:'oGRAPHER: we m on

the record, 11:58.
BY MR. MIRABELLA:

Q. Mr. Bordak, l want to ask you
some questions about the Dear Colleague Letter
issued in 2017 marked as Exhibit-8 or -- l'm
sorry - 9 and then the question and answers
is 8. Let me indicate to you that-- we are a
little pressed for time - and l see that the
Q&A has writing on it on Page 4. lf counsel
objects, we can try to find a clean one, but l
can put on the record right now that you have
not written on it, you have not circled it or
underlined it, and l would like to proceed
with the questioning.

403

meeting to discuss. My understanding, even
separate from that privileged conversation. is
that these are guidance documents, not meant
to replace or purport to be law, but documents
that institutions can look at for guidance.

Q. All right. l am going to
direct - did, in fact, you review Exhibit-9,
the Dear Colleague Letter, when it came out?

A. l did.

Q. ls there anything in the letter
that stood out to you as being consistent with
your understanding of what would constitute a
fair and equitable investigation?

A. No.

Q. Let's go to the Q&As, which is
Exhibit-8, specifically, Question 6, "What
constitutes an equitable investigation?" the
bottom of Page 3. Do you see that?

A. Yes.

Q. l am going to ask you some
questions about information in the document.
l am going to try to do it in a way that makes
it easy for you to answer or disagree or
agree. So the body of Page 4 is the answer

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MR. PlCCERILLl:

problem with that.
BY MR. MlRABELLA:

Q. And, just to keep things clear
for the record and for the exhibits, l will
not ask you to write on this document. So we
can say right now that any of the handwritten
lines or anything else were not yours,
correct?

l have no

A. Yes.

Q. All right. Other than in the
meeting with counsel, did you have any
independent knowledge of the issuance of the
Dear Colleague Letter which is Exhibit-9 when
it came out in 2017'.’

A. Yes.

Q. How were you familiar with it
and what is your understanding of its purpose'.’

A. So when it came out, l am on
the email listservs and distribution lists and
professional associations that, of course,
shared "This is pending" and "This has been
released" and my recollection is shortly
thereafter general counsel called a privileged

404

section to what is posed on Page 3, "What
constitutes an equitable investigation?" l am
going to direct your attention to the fourth
full paragraph, Do you see that?

A. Yes.

Q. All right. And it talks about
a number ofthings. Let me ask you, do you
agree that "For an investigation to be
equitable the school should provide written
notice to the responding party of the
allegations constituting a potential violation
of the school sexual misconduct policy,
including sufficient details and with
sufficient time to prepare a response before
any initial interview"? Did l read it

correctly?

A. You did. What was the start of
your sentence?

Q. Sure. Do you agree that in an

equitable investigation a school should
provide written notice and then the remainder
of the sentence'.’

A. l think it's possible to
provide an equitable investigation without

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sharing the specifics of the conduct on the
onset.

Q. Sure. Did St. Joe's provide
John Doe written notice of the allegations
constituting a potential violation of the
school's misconduct policy and including
sufficient details and with sufficient time to
prepare a response before any initial
interview'.’

A. Yes.

Q. What was that written notice'.’

A. So, l provided in the
pre-investigation notice a piece that was -
there was conduct that was alleged to have
taken place that would fall under the sexual
misconduct policy and that is an allegation
constituting a potential violation. There is
enough details there that the complainant's
name is on there, the time, the location, so
the respondent knows what matter we are
talking about, And the sufficient time to
prepare, the investigation isn't right away,
there is a time between the pre-investigation
notice and the investigation.

407

Q. -- "the specific section of the
code of conduct allegedly violated" - that's
not in your letter, correct?

A. ldisagree. lt is.

Q. l'm sorry. Where is it in your
letter, the specific -

A. The specific code is the
violation of the sexual misconduct policy.
That is a code. So if we were to send a
letter that says, "You're in violation of the
Community Standards" that would not be a
specific code.

Q. l'm sorry. So the specific
section of the code you believe is adequately
captured by the information in your notice
letter, correct?

A. Yes, the section of the code of
conduct is, the sexual misconduct policy, as
opposed to the alcohol policy or the drug
policy or littering. Right. We specifically
say the section of the code of conduct being
the sexual misconduct policy.

Q. l thought the sexual misconduct
policy was its own policy With subdivisions’.’

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Q. The written notice is the
Notice of Process Letter?

A. The written notice is, yes.

Q. The Notice of Process Letter?

A. Yes.

Q. All right. And is it your
belief and position that it includes
sufficient details with sufficient time to the
respondent to prepare a response before an
initial interview?

A. At that point in the process,
yes. We do not provide exhaustive accounts of
what's being complained, so as not to
compromise the investigation. So at that
point our written notice is, in my estimation
and in my view, does include sufficient
details with a sufficient amount of time to
prepare.

Q. Now, the next sentence defines
and it expands on what is sufficient details
in the Q&A. lt says, "Sufficient details
include the identities of the parties" - and
that's in your notice letter, correct?

A. Yes.

408

A. The section of- the code of
conduct includes many policies, one of which
is the sexual misconduct policy. So the
section of the code of conduct is the sexual
misconduct policy.

Q. All right. The 50 or so page
policy you talked about earlier?

A. ls the section of the code of
conduct. The code of conduct includes all of
our policies.

Q. lt goes on in the Q&A to say,
"The precise conduct allegedly constituting
the potential violation." Was that included
in your notice letter?

A. No.

Q. ls that included in the
pre-investigation meeting checklist letter'.’

A. No.

Q. ls that ever provided in
writing to the respondent?

A. No.

Q. Date and location of the
incident, that's in the notice letter,
correct?

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A. Yes.

Q. lt goes on to state, "The
investigation" - and l am skipping a few
sentences, so follow with me, a few sentences
down. "The investigation should result in a
written report summarizing the relevant
exculpatory and inculpatory evidence" and then
it says, "The reporting and responding parties
and appropriate officials must have timely and
equal access to any information that will be
used during the informal and disciplinary
meetings and hearings." Do you see that?

A. Yes.

Q. Do you believe the school
accomplished that here?

A. Yes.

Q. All right. Now, the next page
it says, "What procedures" -- on Question 8 --
"should a school follow to adjudicate a
finding of responsibility for sexual
misconduct?" Do you see that?

A. Yes.

Q. And do you see the answer
section?

411

A. No. And this is a guidance -

l feel strongly that we were compliance with
our obligations under Title IX. This is a
guidance document and when this came out l
recall that there were no changes that were
needed to our policy to be -- to remain in
compliance. And, in fact, the investigative
model is supported in these documents as
something that is an appropriate model.

Q. ln all due respect, not the
investigative model that's used by SJU.

A. l disagree with --

Q. ln fact, it's normally known to
investigators and normally the respondent has
an opportunity, as does the complainant, to
see preliminary findings and respond in
writing and they don't in your case, correct?

MR. PlCCERILLI: Hold on for a
second. Hold on. l am going to

object to that. That wasn't a

question. That was a speech. l am

objecting to any questions that you -

any answers that you may have given, l

ask that they be stricken.

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A. Yes.

Q. l'm going to direct your
attention to the second paragraph. Can you
read that into the record?

A. "'l`he decision makers must offer
each party the same meaningful access to any
information that will be used during informal
or formal disciplinary meetings and hearings,
including the investigation report."

Q. All right. Was that done here?

A. Meaningful access to the
information that will be used, yes.

Q. Were they provided access to
the investigation report before -

A. No.

Q. They were not?

A. No.

Q. And then it says, the next
sentence, "The parties should have an
opportunity to respond to the report in
writing in advance of the decision of
responsibility or," l guess, "in advance to a
live hearing to decide responsibility." Was
that done here?

412

MR. MIRABELLA: All right. 1
object to any motion to strike any

part of the answer.

BY MR. MIRABELLA:

Q. Was John Doe ever given the
photographs that were provided to Malloy prior
to meeting with l\/Ialloy'.’

A. No.

Q. Was John Doe ever given the
complaint that Perry prepared in response to
her interview with Roe prior to meeting with
Malloy?

A. No.

Q. Was John Doe ever given any
text messages or information that Roe provided
to Malloy when she met with her, before
meeting with Malloy'.’

A. No.

Q. So that's all information that
Roe had access to that Doe did not have access
to at the time of his meeting with Malloy,
correct?

A. l mean, l can't recall all of
those questions prior to. lf they all came

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from Roe, then yes. lf they - that would
stand to reason they came from Roe.
Q. Then Doe did not have access to
them prior to his meeting with Malloy‘.’
A. Prior to?
Q. Correct.
A. Yes.
Q. And there is nothing in
Malloy's findings to indicate that she shared
any of that evidence or documentation with
Doe, correct?
MR. PlCCERILLI: Objection to
form.
THE WITNESS: Again, l don't --
even though we just looked at, like, l
did read - l didn't read through for
specificity.
BY MR. MlRABELLA:
Q. How about this, if she doesn't
say she showed it to him, would you agree,
then, that there is no evidence in writing
that she showed it to him?
MR.PlCCERlLLl: Objection.
Calls for speculation.
415

record, 12:09.

(Off the record)
THE VIDEOGRAPHER: On the

record, 12:12.

BY MR. MIRABELLA:

Q. Mr. Bordak, what resources and
who do you consult with to determine the
appropriate sanctions?

A. l consult with my supervisor in
terms of-- ultimately, it's the sanctioning
officer's decision on the sanction, but there
is value in verbally processing a situation
and so l have at times talked with my
supervisor about those sanctions. l've shared
those sanctions with the Title IX coordinator,
but it's not to seek permission or
endorsement. Really, it's to say "Here's what
the sanctions are," yeah.

Q. ln this instance the finding
was responsibility for sexual assault, but the
sanction - one of the sanctions and the
principal sanction was probation, not

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BY MR. MIRABELLA:

Q. All right. Well, go back to
the exhibit. Take a look and let me know if
there is any indication that Malloy shared any
of that information, that specific information
with Doe.

A. Well, it's not in the
investigative report, but l can't speak to --
it would be speculative if it happened outside
of that report. So l can't answer whether or
not she shared specific information, yes or
no.

Q. Didn't you read her appeal
review'.’

A. lam not her. So my only
estimations would be based on the information
that she provided. So even if l reference her
appeal review l would be saying, "ln her
appeal review she says this."

MR. MlRABELLA: All right.

Let's go off the video. l think we're

about done. ljust want to take a

look at my notes.
THE VlDEOGRAPHER: Off the

416

separation from the school, correct?

A. Yes.

Q. What was your reasoning behind
that?

A. 'l`here were elements of the

investigative report that was - l treated --

so we have factors in sanctioning that are
outlined within the policy and one of those
factors and, actually, the predominant factor
is egregiousness of the violation. And so
there were pieces of the investigative report
that mitigated that egregiousness for me, one
of which that l do recall specifically was
mention of the intention, that it was not the
intention of the respondent to engage in the
conduct or have the bruising resulting. And
so that was really important for me. We are
not trying to ruin lives. We are not trying

to remove students from our campus community.
What we are doing is holding students
accountable for our shared expectations, our
policies, and if we can do that and hold
students accountable without separating from
the campus that's -- that's what we did here.

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Q. Was it your finding as part of`
the sanctioning process that there was no
intention to commit the act or something else'.’

A. There is a specific line
that -- l am not recalling the specific
wording - within the investigative report,
where Ms. Malloy did indicate intention - or
lack of intention and so l did treat that as a
mitigating factor of the egregiousness, that
what could have been a separation from the
university was not.

Q. You said there's factors in the
policy?

Yes.
What policy?
ln the sexual misconduct

.>.O.>

policy.

Q. ls there any other policy that
you consulted with in connection with the
sanctioning?

A. No.

Q. Or any other policy at the
school that exists that people could consult
with in terms of sanctioning?

419

recall -- the purpose of the conversation was
a confirmation of parental notification.

Q. Who called who, though? l'm
sorry. l interrupted your answer.

A. As l recall, it was a bit of
phone tag over the course of an afternoon and
l recall calling Doe's mother later that
evening from home after work to ensure that
there was notice that night.

Q. So she may have called you
during the day, but you are not certain‘.’

A. No, she did. And it was phone
tag. lt was left messages.

Q. And you don't know ifyou would
have described the incident to Doe's mother as
very rough kissing or rough kissing?

A. l don't recall the specific
language used.

Q. So you may have, you may not
have? You just don't remember?

A. Yes.

Q. Did you ever raise your voice
to Doe's mother'.’

A. No.

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A. No.

Q. Do you recall speaking to Doe's
mother on telephone?

A. Yes.

Q. Do you recall how you described
the incident to her?

A. l don't.

Q. Did you ever use the word - do
you know if you used the term "rough kissing"?

A. ldon't recall.

Q. Did you believe that what
occurred here was rough kissing‘.’

A. l don't know how l would
categorize it.

Q. How many times -- you spoke to
Roe's [sic| mother at least once'.’

A. Roe's mother'.’

Q. l'm sorry. Doe's mother. My
apology.

A. Doe's mother once, at least
once, correct.

Q. And do you remember anything
about the conversation‘.’

A. Not with specificity. l do

420

Q. Was the conversation polite and
respectful --

A. l think so.

Q. - on both ends?

A. l think so. l understood.
There was a frustration with me not being able
to share specific information and me not being
able to share the documents with Doe's mother.
And so l would consider it respectful on both
sides, but there was a palpable kind of
tension around the outcome.

Q. And do you recall any other
communications either with Doe or with Doe's
mother about the case or the investigation?
l'm sorry. ljust brought in Doe. Let me ask
you the question. lwithdraw that question.

MR. PlCCERILLI: You may.
BY MR. MIRABELLA:
Q. When you - you were present at
the outcome hearing, correct?
A. Yes.

Q. All right. And what did you
advise Doe as to the implications of the
sanctions?

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MR. PlCCERILLI:
object to the form of the question. l
don't know that it's an outcome
hearing as such.
MR. MIRABELLA: Obj ection
accepted.
THE WITNESS: l don't recall
specifically. We would have gone over
the outcome letter from start to
finish and provided an opportunity for
Doe to review the investigative
report. l don't recall specific
conversations. But, again, we would
have gone over each piece of that
outcome letter, including the
sanctions.
BY MR. MIRABELLA:

Q. Did Doe ask about his
eligibility - continuing eligibility to go
with his class to lreland?

A. l don't recall.

Q. So he may have, he may not
have? You just don't remember?

A. Correct.

ljustwant to

423

history.

Q. Why was that relevant at that
time?

A. We do a full disclosure of the
history because of the status change with the
student.

Q. But if he's not on probation -
if that had been the only disciplinary issue
in his record he would not -- he was not on
probation when this happened, correct?

A. Correct.

Q. And so would that have affected
his eligibility to go on the trip?

A. l felt like the full disclosure
was within an educational need to know to the
director of the Center for National Programs.

Q. Did you have an opinion or a
feeling as to whether or not you believed, as
the director of Community Standards, it was
appropriate for him to go or not go on the
trip?

A. l don't have an opinion on this
matter, on that.

Q. So that office would have made

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Q. lf it came up, do you know what
you might have - what the school's policy was
that you might have informed him of'.’

MR. PlCCERILLI: Objection.
THE WlTNESS: l would have
advised him that the Center for

National Programs would be the office

to contact if he had concerns about

his traveling, that that was not a

decision that l made.
BY MR. MIRABELLA:

Q. Were you involved in that
decision?

A. lnsofar as sharing the change
in status with lntemational Programs, yes.

Q. And just briefly, what was the
change in status?

A. From not on disciplinary
probation to on disciplinary probation.

Q. When that information was
conveyed a disciplinary report involving
drinking was also provided to that office,
correct?

A. lt was a full disclosure of

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the decision and you would have been fine with
whatever decision they made?

A. Yes.
MR. MIRABELLA: No further
questions.

MR. CHESNEY: One
clarification. l believe in your last
questions you may have said "Roe" and
not "Doe" one or two times. ljust
want to make sure, were all the
questions you made about Doe -- l
think you said Roe's mother, at least
at one point.

MR. MIRABELLA: Thank you for
mentioning that.

BY MR. MIRABELLA:

Q. Mr. Bordak, l asked you a
series of questions about the end of the
process involving Doe's mother, Doe himself,
and related questions. lf l inadvertently
said "Roe," l meant "Doe" and l think you
understood that to be the case as well, right?

A. Yes.

MR. CHESNEY: ljust wanted to

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be clear. Thank you.

MR. PlCCERILLI: Perfectly fine
by me.

MR. MIRABELLA: Then we are
going to attach as exhibits the -
whatever the next sequential numbers
are. The definition section of the
sexual misconduct policy involving
nonconsensual sexual contact will be
the next exhibit and then the final
exhibit will be the - l believe
that's the Roe -- the Perry
documentation of the Roe complaint and
that's SJU, so we are clear on the
record, 0335.

MR. PlCCERILLI: l think -- are
we on the video record? l think we
should go off the video record.

THE VIDEOGRAPHER: This
completes the videotape deposition of
William Bordak We are now going off
the record at 12:20.

(Off the video record)

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of identification.)

(Deposition concluded. Time
noted, 12:21 p.m.)

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MR. MFRXBELLA: we were just
identifying some of the documents that
were used and we are going to mark
them as exhibits. Exhibit-Z, which
was used, it's the Division of Student
Life Summary Report, 2016 and '17.
lnstead of attaching the entire
document we are just going to attach
as an exhibit the cover page and Page
4 of that document as an exhibit.

With respect to the definition of

sexual assault contained in the SJU
sexual misconduct policy, that's
SJU001180, that was referenced, and
1181, it's going to be attached as
Bordak-10. And the report prepared by
Dr. Perry from Roe is going to be
Bordak-11 and that's SJU0335. l think
that's it.

MR. PlCCERILLI: Agreed.

(Whereupon, Exhibits Bordak-10
and Bordak-11 were marked for purposes

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CERTIFICATE

_ 1 do hereby certify th_at l nm a
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WITNESS m hand and official
seal this day of July 018.

<%signature%>

Notary Pu[§l{gberly A- Wornczyk

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lNSTRUCTlONS TO WlTNESS

Please read your deposition over
carefully and make any necessary corrections.
You should state the reason in the appropriate
space on the errata sheet for any corrections
that are made.

After doing so, please sign the
errata sheet and date it.

You are signing same subject to the
changes you have noted on the errata sheet,
which will be attached to your deposition.

lt is imperative that you return the
original errata sheet to the deposing attorney
within thirty (30) days of receipt of the
deposition transcript by you. lf you fail to
do so, the deposition transcript may be deemed
to be accurate and may be used in court.

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ACKNOWLEDGMENT OF DEPONENT

l, WILLIAM BORDAK, do hereby certify
that l have read the foregoing pages 217 to
427 and that the same is a correct
transcription of the answers given by me to
the questions therein propounded, except for
the corrections or changes in form or
substance, if any, noted on the attached

Errata Sheet.
i)XiE """"""""""""""""""
SlGNATURE
Subscribed and sworn to
before me this ______ day of ______
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My commission expires:

Notary Public

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ERRATA

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